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9    and On Behalf of All Others Similarly Situated
10                         UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12   LAURA HABBERFIELD, an                      CASE NO.: _________
     individual, KEONA KALU, an
13   individual, KATIE RUNNELLS, an
     individual, JUANITA CARMET                 CLASS ACTION COMPLAINT FOR
14   CACHADINA, an individual, SARAH            DAMAGES AND INJUNCTIVE
     HUEBNER, an individual, YESENIA
15   VALIENTE, an individual, VERONICA          RELIEF
     WALTON, an individual, LISA                DEMAND FOR JURY TRIAL
16   MURPHY, an individual, NICOLE
     HILL, an individual, NICOLE
17   STEWART, an individual, on behalf of
     themselves and all others similarly
18   situated,
19                     Plaintiffs,
           vs.
20
     BOOHOO.COM USA, INC., a Delaware
21   corporation,   BOOHOO.COM          UK
     LIMITED, a United Kingdom private
22   limited company, BOOHOO GROUP
     PLC, a Jersey public limited company,
23   PRETTYLITTLETHING.COM             USA
     INC.,     a  Delaware      corporation,
24   PRETTYLITTLETHING.COM
     LIMITED, a United Kingdom private
25   limited company, NASTYGAL.COM
     USA INC., a Delaware corporation,
26   NASTY GAL LIMITED, a United
     Kingdom private limited company, and
27   DOES 1-10, inclusive.
28                     Defendants.

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 1         Plaintiffs Laura Habberfield, Keona Kalu, Katie Runnells, Juanita Carmet
 2   Cachadina, Sarah Huebner, Yesenia Valiente, Veronica Walton, Lisa Murphy, Nicole Hill,
 3   and Nicole Stewart (collectively, “Plaintiffs”), on behalf of themselves and all others
 4   similarly situated, hereby allege the following at all times relevant to this complaint:
 5
     I.    BACKGROUND
 6
           1.     This action is brought against defendants Boohoo.com USA, Inc.,
 7
     Boohoo.com UK Limited, Boohoo Group PLC, PrettyLittleThing.com USA Inc.,
 8
     PrettyLittleThing.com Limited, NastyGal.com USA Inc., and Nasty Gal Limited
 9
     (collectively, “Boohoo Companies,” or “Defendants”) for their false and deceptive pricing
10
     practices in connection with their sale of clothing, accessories and other items on their U.S.
11
     websites http://us.boohoo.com., https://www.prettylittlething.us, and http://nastygal.com
12   (collectively, the “U.S. Websites”)1 Defendants do so by advertising fake and inflated
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     comparison reference prices to deceive customers into a false belief that the sale price is a
14
     deeply discounted bargain price. For example, anyone visiting Boohoo’s site on a given
15
     day during a “50% OFF EVERYTHING SALE” who buys a dress “on sale” for $20 based
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     on a crossed-out reference price of $40 is being misled. This is deception because that
17
     dress has rarely, if ever, been sold in the recent past on the site for $40. Further, because
18
     Defendants’ websites are the only channel through which Boohoo products are sold,
19
     Boohoo cannot justifiably claim that another retailer has sold that dress for $40. In other
20
     words, Defendants’ “sales” are not really sales at all. They are a scam. All the reference
21
     prices on Defendants’ websites are fake. They are not original, regular, retail, or former
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     prices. They are inflated prices posted to lure unsuspecting customers into jumping at a
23
     fake “bargain.” That is, Defendants engage in this deceptive advertising and pricing
24
     scheme to give customers the false impression that they are getting a deal or bargain when
25
     in reality they are being swindled by fake sales and promotions. As a result, customers are
26
     1
     Defendants also uses mobile applications to showcase their U.S. Websites’ products and
27 make sales to U.S. residents of those products. Therefore, in the Complaint, wherever
28 there is a reference to “websites,” this refers to sales using both the website and the mobile
   application.
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 1    deceived into spending money they otherwise would not have spent, purchasing items they
 2    otherwise would not have purchased, and/or spending more money for an item than they
 3    otherwise would have absent the deceptive marketing. By this action, Plaintiffs seek to put
 4    an immediate end to Defendants’ untruthful marketing practices and recover restitution and
 5    damages on behalf of all persons who have fallen victim to Defendants’ sham sales by
 6    purchasing products on Defendants’ websites during the class periods defined below.
 7
      II.   PARTIES
 8
            2.     Plaintiff Laura Habberfield is a citizen of the State of New York.
 9
            3.     Plaintiff Keona Kalu is a citizen of the State of New York.
10
            4.     Plaintiff Katie Runnells is a citizen of the State of New York.
11
            5.     Plaintiff Juanita Carmet Cachadina is a citizen of the State of Florida.
12
            6.     Plaintiff Sarah Huebner is a citizen of the State of Florida.
13
            7.     Plaintiff Yesenia Valiente is a citizen of the State of Florida.
14
            8.     Plaintiff Veronica Walton is a citizen of the State of Maryland.
15
            9.     Plaintiff Lisa Murphy is a citizen of the State of Massachusetts.
16
            10.    Plaintiff Nicole Hill is a citizen of the State of Michigan.
17
            11.    Plaintiff Nicole Stewart is a citizen of the State of Ohio.
18
            12.    Defendant Boohoo.com USA, Inc. (“Boohoo USA”) is a Delaware
19
      corporation and is headquartered in the County of Los Angeles within the State of
20
      California, where it has its principal place of business.
21
            13.    Defendant Boohoo.com UK Limited (“Boohoo Limited”) is a private limited
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      company organized and existing under the laws of the United Kingdom. Boohoo Limited
23
      is the parent company of Boohoo USA.
24
            14.    Defendant Boohoo Group PLC (“Boohoo Group”) is a public limited
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      company incorporated and domiciled in Jersey, a British Crown Dependency. Boohoo
26`
      Group is the parent company of Boohoo Limited and Boohoo USA and the online brands
27
      boohoo, boohooMAN, PrettyLittleThing, Nasty Gal, Karen Millen, Coast, and Miss Pap.
28
            15.    Defendant PrettyLittleThing.com USA Inc. (“PLT USA”) is a Delaware
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1    corporation and is headquartered in the County of Los Angeles within the State of
2    California, where it has its principal place of business. PrettyLittleThing.com USA Inc. is
3    a subsidiary of Boohoo Group PLC.
4          16.    Defendant PrettyLittleThing.com UK Limited (“PLT Limited”) is a private
5    limited company organized and existing under the laws of the United Kingdom. PLT
6    Limited is the parent company of PLT USA.
7          17.    Defendant NastyGal.com USA, Inc. (“Nasty Gal USA”) is a Delaware
8    corporation and is headquartered in the County of Los Angeles within the State of
9    California, where it has its principal place of business.
10         18.    Defendant Nasty Gal Limited is a private limited company organized and
11   existing under the laws of the United Kingdom. Nasty Gal Limited is the parent company
12   of Nasty Gal USA.
13         19.    The true names and capacities of defendants DOES 1 through 10, inclusive,
14   whether individual, plural, corporate, partnership, associate or otherwise, are not known to
15   Plaintiffs, who therefore sue said defendants by such fictitious names. Plaintiffs are
16   informed and believe and thereon allege that each of the defendants designated herein as
17   DOE is in some manner responsible for the acts and occurrences set forth herein. Plaintiffs
18   will seek leave of court to amend this Complaint to show the true names and capacities of
19   defendants DOES 1 through 10, inclusive, as well as the manner in which each DOE
20   defendant is responsible, when the same have been ascertained. DOES 1 through 10 shall
21   be included within the definition of “Boohoo Companies” and “Defendants.”
22         20.    Upon information and belief and at all times relevant to this Complaint:
23   Boohoo USA, Boohoo Limited, Boohoo Group, PLT USA, PLT Limited, Nasty Gal USA,
24   and Nasty Gal Limited operated as one big company to market and sell products throughout
25   the U.S., including California. The Boohoo Group “subsidiaries” (e.g., Boohoo USA and
26` Boohoo Limited) operated like divisions or departments within the larger Boohoo
27   company.
28         21.    Upon information and belief and at all times relevant to this Complaint: Each
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 1    of the Defendants herein was an agent, servant, employee, co-conspirator, partner, joint
 2    venturer, wholly owned and controlled subsidiary and/or alter ego of each of the remaining
 3    Defendants, and was at all times acting within the course and scope of said agency, service,
 4    employment, conspiracy, partnership and/or joint venture.
 5           22.   Upon information and belief and at all times relevant to this Complaint:
 6    Defendants, and each of them, aided and abetted, encouraged and rendered substantial
 7    assistance in accomplishing the wrongful conduct and their wrongful goals and other
 8    wrongdoing complained of herein. In taking action, as particularized herein, to aid and
 9    abet and substantially assist the commission of these wrongful acts and other wrongdoings
10    complained of, each of the Defendants acted with an awareness of its primary wrongdoing
11    and realized that its conduct would substantially assist the accomplishment of the wrongful
12    conduct, wrongful goals, and wrongdoing.
13    III.   JURISDICTION AND VENUE
14           23.   This Court has subject matter jurisdiction over this action pursuant to the Class
15    Action Fairness Act of 2005 and 28 U.S.C. § 1332 because the total matter in controversy
16    exceeds $5 Million and there are over 100 members of the proposed class. Further, at least
17    one member of the proposed class is a citizen of a State within the United States and at
18    least one defendant is the citizen or subject of a foreign state.
19           24.   Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part
20    of the events or omissions giving rise to the claim occurred in this judicial district. Venue
21    is also proper pursuant to 28 U.S.C. § 1391(b)(1), (c)(2), and (c)(3) because Defendants
22    are subject to the Court’s personal jurisdiction in this judicial district, and because one of
23    the defendants resides in this judicial district while the other defendant is not resident in
24    the United States.
25    IV.    GENERAL ALLEGATIONS
26`          A.    Background of Boohoo
27           25.   The “boohoo” brand and company launched in 2006 and is in the business of
28    marketing and selling “boohoo” clothing and other products on the Internet. Defendants
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 1    Boohoo Group, Boohoo USA, and Boohoo Limited (“Boohoo”) exclusively sell their
 2    boohoo clothing and other boohoo products online. Boohoo’s marketing emphasizes its
 3    bargains and its vast online presence, including over 10 million followers on social media.
 4          26.    Boohoo’s online store for United States customers was launched in 2012 and
 5    can be found at http://us.boohoo.com. According to its website, Boohoo opened an office
 6    in New York City in 2015. On its website, Boohoo also states “[w]e moved to LA”—an
 7    apparent reference to the company moving its United States headquarters to Los Angeles,
 8    California. On information and belief, Boohoo began selling products to customers in the
 9    United States via its http://us.boohoo.com website by at least March 13, 2012.
10          27.    Boohoo offers customers a wide range of boohoo apparel, accessories, and
11    other products for both men and women. Products for women include, among other items,
12    dresses, tops, jeans, sleepwear, swimwear, and shoes. Similarly, for men, Boohoo offers a
13    broad range of products including, among other items, shirts, jackets, tracksuits,
14    sweatshirts, pants, and shoes. Because Defendants sell their “boohoo” products (i.e.,
15    “boohoo”-branded items or items made primarily for Boohoo containing other branding)
16    exclusively, or almost exclusively, on their website, there is no other regular price or
17    market price for their products they sell other than the price on the company’s own website.
18          B.     Background of PrettyLittleThing
19          28.    Upon information and belief, the “PrettyLittleThing” brand launched in 2012.
20    PrettyLittleThing   or    “PLT”    (referring     to   PrettyLittleThing.com      USA,   Inc.,
21    PrettyLittleThing.com Limited, and Boohoo Group PLC) is in the business of marketing
22    and selling “PrettyLittleThing” clothing and other products on the Internet.
23          29.    PLT    exclusively    sells   its   “PrettyLittleThing”   clothing    and   other
24    “PrettyLittleThing” products online. PLT’s marketing emphasizes its bargains and vast
25    online presence, including millions of followers on social media.
26`         30.    Upon information and belief, PLT’s online store for United States
27    customers—found at https://www.prettylittlething.us—was launched in 2016 and PLT
28    began selling products to customers in the United States through its online store by at least
                                                   -5-
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 1    that year.
 2    PLT offers customers a wide range of “PrettyLittleThing” apparel, accessories, and other
 3    products for women, including, among other items, dresses, tops, jeans, jewelry, workout
 4    gear, sleepwear, swimwear, and shoes. As noted, because PLT sells its “PrettyLittleThing”
 5    products (i.e., “PrettyLittleThing”-branded items or items made primarily for PLT
 6    containing other branding) on its website, there is no other regular price or market price for
 7    the products it sells other than the price on the company’s own website.
 8          C.      Background of Nasty Gal
 9          31.     Nasty Gal (referring to NastyGal.com USA Inc., Nasty Gal Limited, and
10    Boohoo Group PLC) is an online clothing, shoes, and accessories company founded in
11    2006 in San Francisco. In 2010, the company moved its headquarters to Los Angeles and
12    in the ensuing years, opened retail stores in the Los Angeles area (which have since closed).
13          32.     The company is now based in Los Angeles and according to public filings, the
14    company acknowledges that “[t]he brand has its roots in Los Angeles” with its principal
15    market in the U.S. All products are sold under the company’s own “Nasty Gal” label.
16    Nasty Gal exclusively sells its products on its website at http://nastygal.com. Nasty Gal’s
17    marketing emphasizes its bargains and vast online presence, including 6 million followers
18    on social media. The company claims it has nearly one million active customers.
19          33.     Nasty Gal offers customers a wide range of apparel, shoes, and accessories for
20    women.       Products include, among other items, dresses, tops, jeans, workout gear,
21    sleepwear, swimwear, and formal and casual shoes. Because Nasty Gal sells its “Nasty
22    Gal” products (i.e., “Nasty Gal”-branded items or items made primarily for Nasty Gal
23    containing other branding) exclusively, or almost exclusively, on its website, there is no
24    other regular price or market price for the products they sell other than the price on the
25    company’s own website.
26`         D.      Defendants’ False and Deceptive Pricing Scheme
27          34.     Unfortunately, Defendants’ business model relies on deceiving customers
28    with fake sales. On a typical day, the three websites at issue prominently display on their
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 1   landing page some form of a sale where all or nearly all products are supposedly marked
 2   down by a specified percentage—for example, 40, 50, or 60% off. All or nearly all
 3   products on the sites are represented as being marked down by the specified percentage
 4   discount from a substantially higher reference price (hereafter, the “Reference Price”). The
 5   supposed markdowns are represented to the customer by prominently displaying a crossed-
 6   out Reference Price next to the sale price reduced by the specified percentage discount.
 7   Alternatively, Defendants run the same fake promotions by providing customers with site-
 8   wide promo codes and/or discounts—typically for 40, 50, or 60% off—which customers
 9   may use to obtain reductions off items from the Reference Price. Defendants employ these
10   deceptive tactics to convey to customers that the product had previously sold in the recent
11   past at the Reference Price, but is being sold to the customer at a substantial discount.
12         35.    However, this Reference Price is almost always, if not always, a falsely
13   inflated price because Defendants very rarely—if ever for a week or two at the beginning
14   of the life cycle of a product but certainly not for the majority of the product’s life cycle—
15   sell their products at the Reference Price. The law prohibits this as the primary purpose of
16   the Reference Price is to mislead customers into believing that the displayed Reference
17   Price is an original, regular, or retail price at which Defendants usually sell the item or
18   previously sold the item in the recent past. As a result, Defendants falsely convey to
19   customers that they are receiving a substantial markdown or discount, when in reality the
20   alleged discount is false and fraudulent. Moreover, because Defendants’ products are sold
21   only through their own websites, the Reference Price cannot mean the prevailing market
22   price of the product at any outlet other than Defendants’ websites. Compounding the
23   deception, Defendants’ websites will often display a ticking countdown clock, or advertise
24   messages like “Don’t Miss Out!” or “Hurry. Offer Ends Soon!” to give customers a sense
25   of urgency to take advantage of the fake promotions, when in reality, Defendants run a
26` promotion or sale on all, or nearly all, items on their sites everyday or nearly everyday.
27         36.    For example, on March 27, 2020, Boohoo’s landing page prominently
28   displayed the statement “60% OFF EVERYTHING!” On the individual product pages of
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 1    all (or nearly all) boohoo products offered on the site, as well as on the thumbnail displays
 2    of each product when presented as a list, Boohoo represented each product as being “60%
 3    OFF” and included this representation beside the crossed-out fake Reference Price. Thus,
 4    for a product being offered for $20.00, Boohoo displayed the following:
 5                              $20.00 (60% OFF) $50.00
 6          37.     Defendants further reinforce the false conception that the customer has
 7    received a deep discount off of an original, retail, or regular price during the order process.
 8    More specifically, Defendants include a line item for the “Discount” or “Promotions
 9    included” that the customer has received, which computes the amount of the supposed
10    “Discount” or “Promotion” corresponding to the percentage markdown from the false
11    Reference Price the customer purportedly benefited from according to each product’s
12    individual product description page. This phantom “Discount” or “Promotion” appears in
13    the final order confirmation and receipt displayed to customers and delivered to customers
14    by e-mail after the order has been completed and payment has been made. By doing so,
15    Defendants not only deceive the customer with the sham sale, but then further use that
16    deception to build goodwill to lure customers back for more fake “sales” and “discounts.”
17          38.     These pricing and advertising practices reflecting high-pressure fake sales are
18    patently deceptive. They are intended to mislead customers into believing that they are
19    getting a bargain by buying products from Defendants on sale and at a substantial and deep
20    discount. The truth is that Defendants rarely, if ever, sells any of their products at the
21    Reference Price. The Reference Price is, therefore, an artificially inflated price. In turn,
22    the advertised discounts are thus nothing more than phantom markdowns.
23          39.     By way of further example, on May 14, 2020, PLT’s landing page
24    prominently displayed the statement “GET 50% OFF EVERYTHING,” “Hurry! Limited
25    Time Only.”
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12    The same message is displayed in a prominent banner near the top of the page throughout
13    the website. Two examples are provided below.
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12          40.    PLT uses discounts from falsely inflated Reference Prices to represent fake
13    sales to customers. The Reference Price reflects a fake former price. For example, as shown
14    in the graphic below, on May 14, 2020, Defendants represented that PLT’s “pink peach
15    skin pocket flared pants” were originally priced at $42.00, when in reality, upon
16    information and belief, those pants were never (or almost never) sold for $42.00 within the
17    recent past, if ever, including within ninety days prior to the date of sale.
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 1         41.    Using signs, banners, promo codes, discounts, crossed-out prices, and other
 2   similar methods throughout the shopping and ordering process, PLT continually reinforces
 3   the false perception that the customer is receiving a deep discount off of a former retail or
 4   regular price when this is not true at all. Even at checkout, PLT usually displays a crossed
 5   out Reference Price as a fake former price and includes a line item for the total “Discount”
 6   that the customer has allegedly received. The following graphic reflects an example:
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24   By doing so, PLT not only deceives the customer with the sham sale and fake former
25   pricing, but then further uses that deception to build goodwill to lure customers back for
26` more fake “sales” and “discounts.”
27         42.    By way of further example, on May 13, 2020, Nasty Gal’s landing page
28   prominently displayed the statement “60% OFF EVERYTHING.” On the individual
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 1    product pages of all (or nearly all) Nasty Gal products offered on the site, as well as on the
 2    thumbnail displays of each product when presented as a list, Nasty Gal represented each
 3    product as being marked down by 60% and included this representation beside the crossed-
 4    out fake Reference Price. Thus, for a product being offered for $20.00, Nasty Gal displayed
 5    the following:
 6                                       $20.00 $50.00
 7          E.     The Plaintiffs’ Purchase of Falsely Advertised Items from Defendants.
 8
                          1.    Plaintiff Laura Habberfield (New York)
 9
            43.    Plaintiff Laura Habberfield (“Habberfield”) fell victim to Defendants’ false
10
      advertising and deceptive pricing practices. On or about November 20, 2021, Habberfield
11
      visited Nasty Gal’s U.S. website to shop for clothing. Habberfield visited the site from her
12
      home in the State of New York. Habberfield saw on the website that Nasty Gal was running
13
      a “70% Off Everything” sale. Habberfield browsed the site and observed that the products
14
      offered each had a Reference Price that was crossed out and a sale price that was 70% off
15
      the crossed-out Reference Price. She found and selected a number of items (consisting of
16
      five (5) Satin Ruffle Pajama Shirt and Shorts Sets) and added them to her shopping cart,
17
      with each item displayed by Nasty Gal as having a Reference Price and a sale price of 70%
18
      off. The Reference Price was displayed as a substantially higher price containing a
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      strikethrough.
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            44.    Similarly, on or about January 14, 2022, Habberfield visited Nasty Gal’s U.S.
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      website to shop for clothing. Habberfield visited the site from her home in the State of
22
      New York. Habberfield saw on the website that Nasty Gal was running a “70% Off
23
      Everything” sale. Habberfield browsed the site and observed that the products offered each
24
      had a Reference Price that was crossed out and a sale price that was 70% off the crossed-
25
      out Reference Price. She found and selected a Satin Ruffle Pajama Shirt and Shorts Set
26`
      and added it to her shopping cart, with the item displayed by Nasty Gal as having a
27
      Reference Price and a sale price of 70% off. The Reference Price was displayed as a
28
      substantially higher price containing a strikethrough.
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 1          45.    At no point during any of her visits to the Nasty Gal U.S. website did
 2    Habberfield see a disclosure or disclaimer explaining that the Reference Price was not
 3    intended to be the former price of the product offered on the site, what the Reference Price
 4    meant, or how Defendants came up with the Reference Price.
 5          46.    Habberfield purchased the products referenced above. Before doing so, she
 6    relied on the Reference Price advertised on each product she purchased as representing the
 7    former price of the product, meaning the price at which the product had in fact been offered
 8    for sale, or previously sold, in the recent past. Habberfield thus relied on Nasty Gal’s
 9    representation that each of the products referenced above was truly on sale and being sold
10    at a substantial markdown or discount, and thereby fell victim to the deception intended by
11    Nasty Gal. The items Habberfield ordered were delivered to her in New York.
12          47.    The truth, however, is that the products Habberfield purchased were not
13    substantially marked down or discounted, or at the very least, any discount she was
14    receiving had been grossly exaggerated. That is because none of the products Habberfield
15    bought had been offered for sale on Nasty Gal’s website for any reasonably substantial
16    period of time (if ever) at the full Reference Prices. Those Reference Prices were fake
17    prices used in Nasty Gal’s deceptive marketing scheme.
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                         2.     Plaintiff Keona Kalu (New York)
19
            48.    Plaintiff Keona Kalu (“Kalu”) fell victim to Defendants’ false advertising and
20
      deceptive pricing practices. Between August 15, 2019 and December 2, 2019, Kalu placed
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      three (3) orders: two (2) from Boohoo’s U.S. website to shop for clothing, and one (1)
22
      from Nasty Gal’s U.S. website to shop for clothing.
23
            49.    On or about August 15, 2019, Kalu visited Boohoo’s U.S. website to shop for
24
      clothing from her home in the State of New York. Kalu saw on the website that Boohoo
25
      was running a “60% Off Everything” sale. Kalu browsed the site and observed that the
26`
      products offered each had a Reference Price that was crossed out and a sale price that was
27
      60% off the crossed-out Reference Price. She found and selected a Pointed Buckle Detail
28
      Court Mules and added it to her shopping cart, with the item displayed by Boohoo as having
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 1   a Reference Price and a sale price of at least 60% off. The Reference Prices were displayed
 2   as substantially higher prices containing a strikethrough.
 3         50.    On or about December 2, 2019, Kalu visited Boohoo’s U.S. website to shop
 4   for clothing from her home in the State of New York. Kalu saw on the website that Boohoo
 5   was running an “Up to 75% Off Everything” sale, plus an extra 20% off. Kalu browsed
 6   the site and observed that the products offered each had a Reference Price that was crossed
 7   out and a sale price that was at least 75% off the crossed-out Reference Price. She found
 8   and selected a Premium Feather Trim Cupped Bralet and added it to her shopping cart, with
 9   the item displayed by Boohoo as having a Reference Price and a sale price of at least 75%
10   off. The Reference Prices were displayed as substantially higher prices containing a
11   strikethrough.
12         51.    On or about August 15, 2019, Kalu visited Nasty Gal’s U.S. website to shop
13   for clothing from her home in the State of New York. Kalu saw on the website that Nasty
14   Gal was running a “55% Off Everything” sale. Kalu browsed the site and observed that
15   the products offered each had a Reference Price that was crossed out and a sale price that
16   was 55% off the crossed-out Reference Price. She found and selected a Snake Charmer
17   Chunky Choker and added it to her shopping cart, with the item displayed by Nasty Gal as
18   having a Reference Price and a sale price of at least 55% off. The Reference Prices were
19   displayed as substantially higher prices containing a strikethrough.
20         52.    At no point during any of her visits to the Boohoo or Nasty Gal U.S. websites
21   did Kalu see a disclosure or disclaimer explaining that the Reference Price was not intended
22   to be the former price of the product offered on the site, what the Reference Price meant,
23   or how Defendants came up with the Reference Price.
24         53.    Kalu purchased the products referenced above. Before doing so, she relied on
25   the Reference Price advertised on each product she purchased as representing the former
26` price of the product, meaning the price at which the product had in fact been offered for
27   sale, or previously sold, in the recent past. Kalu thus relied on Boohoo and Nasty Gal’s
28   representations that each of the products referenced above was truly on sale and being sold
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 1    at a substantial markdown or discount, and thereby fell victim to the deception intended by
 2    Boohoo and Nasty Gal. The items Kalu ordered were delivered to her in New York.
 3          54.    The truth, however, is that the products Kalu purchased were not substantially
 4    marked down or discounted, or at the very least, any discount she was receiving had been
 5    grossly exaggerated. That is because none of the products Kalu bought had been offered
 6    for sale on Boohoo or Nasty Gal’s website for any reasonably substantial period of time (if
 7    ever) at the full Reference Prices. Those Reference Prices were fake prices used in Boohoo
 8    and Nasty Gal’s deceptive marketing scheme.
 9
                         3.     Plaintiff Katie Runnells (New York)
10
            55.    Plaintiff Katie Runnells (“Runnells”) fell victim to Defendants’ false
11
      advertising and deceptive pricing practices. Between July 18, 2020 and November 17,
12
      2021, Runnells placed six (6) orders from Boohoo’s U.S. website to shop for clothing.
13
            56.    On or about July 18, 2020, Runnells visited Boohoo’s U.S. website to shop
14
      for clothing from her home in the State of New York. Runnells saw on the website that
15
      Boohoo was running a “60% Off Everything” sale. Runnells browsed the site and observed
16
      that the products offered each had a Reference Price that was crossed out and a sale price
17
      that was 60% off the crossed-out Reference Price. She found and selected a number of
18
      items (consisting of a Plus V-Neck Keyhole Back T-Shirt, Plus Extreme Rip Jean Shorts,
19
      Plus Mesh Top 2 in 1 Slip Dress, and Butterfly Detail Pool Slider) and added them to her
20
      shopping cart, with all of the items displayed by Boohoo as having a Reference Price and
21
      a sale price of at least 60% off. The Reference Prices were displayed as substantially higher
22
      prices containing a strikethrough.
23
            57.    On or about September 9, 2020, Runnells visited Boohoo’s U.S. website to
24
      shop for clothing from her home in the State of New York. Runnells saw on the website
25
      that Boohoo was running a “40% Off Everything” sale. Runnells browsed the site and
26`
      observed that the products offered each had a Reference Price that was crossed out and a
27
      sale price that was 40% off the crossed-out Reference Price. She found and selected a
28
      number of items (consisting of a Plus Denim Rip Knee & Frayed Hem Skinny Jeans, Plus
                                                 -15-
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 1    High Rise 5 Pocket Jeans, and Plus High Rise Stretch Skinny Jeans) and added them to her
 2    shopping cart, with the items displayed by Boohoo as having a Reference Price and a sale
 3    price of at least 40% off. The Reference Prices were displayed as substantially higher
 4    prices containing a strikethrough.
 5          58.    On or about January 10, 2021, Runnells visited Boohoo’s U.S. website to shop
 6    for clothing from her home in the State of New York. Runnells saw on the website that
 7    Boohoo was running a “50% to 80% Off Everything” sale. Runnells browsed the site and
 8    observed that the products offered each had a Reference Price that was crossed out and a
 9    sale price that was at least 50% off the crossed-out Reference Price. She found and selected
10    a number of items (consisting of Plus Distressed Skinny Jeans, Plus Bleach Wash Rip Knee
11    Boyfriend Jean, Premium Fluffy Trim Maxi Robe, and Plus Bonded Aviator Jacket) and
12    added them to her shopping cart, with the items displayed by Boohoo as having a Reference
13    Price and a sale price of at least 50% off. The Reference Prices were displayed as
14    substantially higher prices containing a strikethrough.
15          59.    On or about February 24, 2021, Runnells visited Boohoo’s U.S. website to
16    shop for clothing from her home in the State of New York. Runnells saw on the website
17    that Boohoo was running a “50% Off Everything” sale. Runnells browsed the site and
18    observed that the products offered each had a Reference Price that was crossed out and a
19    sale price that was advertised as being 50% off the crossed-out Reference Price. She found
20    and selected a number of items (consisting of Denim Ripped Print Jeans, Mid Rise Marble
21    Wash Mom Jeans, Buckle Strap Detail Skinny Trousers, High Waist Light Wash Distressed
22    Mom Jeans, and Mid Rise 5 Pocket Stretch Skinny Jeans) and added them to her shopping
23    cart, with the items displayed by Boohoo as having a Reference Price and a sale price of at
24    least 50% off.    The Reference Prices were displayed as substantially higher prices
25    containing a strikethrough.
26`         60.    On or about October 13, 2021, Runnells visited Boohoo’s U.S. website to shop
27    for clothing from her home in the State of New York. Runnells saw on the website that
28    Boohoo was running a “50% Off Everything” sale. Runnells browsed the site and observed
                                                 -16-
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 1    that the products offered each had a Reference Price that was crossed out and a sale price
 2    that was at least 50% off the crossed-out Reference Price. She found and selected a number
 3    of items (consisting of Candy Pink Bleached High Waist Boyfriend Jeans, Purple Bleached
 4    High Waist Boyfriend Jeans, Basics Mid Rise Super Distressed Mom Jeans, Extreme
 5    Distressed High Waist Split Hem Jeans, and Ombre Slim Fit Trousers) and added them to
 6    her shopping cart, with the items displayed by Boohoo as having a Reference Price and a
 7    sale price of at least 50% off. The Reference Prices were displayed as substantially higher
 8    prices containing a strikethrough.
 9          61.    At no point during any of her visits to the Boohoo U.S. website did Runnells
10    see a disclosure or disclaimer explaining that the Reference Price was not intended to be
11    the former price of the product offered on the site, what the Reference Price meant, or how
12    Defendants came up with the Reference Price.
13          62.    Runnells purchased the products referenced above. Before doing so, she
14    relied on the Reference Price advertised on each product she purchased as representing the
15    former price of the product, meaning the price at which the product had in fact been offered
16    for sale, or previously sold, in the recent past.      Runnells thus relied on Boohoo's
17    representation that each of the products referenced above was truly on sale and being sold
18    at a substantial markdown or discount, and thereby fell victim to the deception intended by
19    Boohoo. The items Runnells ordered were delivered to her in New York.
20          63.    The truth, however, is that the products Runnells purchased were not
21    substantially marked down or discounted, or at the very least, any discount she was
22    receiving had been grossly exaggerated. That is because none of the products Runnells
23    bought had been offered for sale on Boohoo’s website for any reasonably substantial period
24    of time (if ever) at the full Reference Prices. Those Reference Prices were fake prices used
25    in Boohoo’s deceptive marketing scheme.
26`
                         4.     Plaintiff Juanita Carmet Cachadina (Florida)
27
            64.    Plaintiff Juanita Carmet Cachadina (“Cachadina”) fell victim to Defendants’
28
      false advertising and deceptive pricing practices. Between June 6, 2017 and July 17, 2021,
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 1   Cachadina placed two (2) orders: one (1) from Boohoo’s U.S. website to shop for clothing,
 2   and one (1) from Nasty Gal’s U.S. website to shop for clothing.
 3         65.    On or about June 24, 2017, Cachadina visited Boohoo’s U.S. website to shop
 4   for clothing from her then home when she resided in the State of New York. Cachadina
 5   saw on the website that Boohoo was running a “50% Off Everything” sale. Cachadina
 6   browsed the site and observed that many of the products offered had a Reference Price and
 7   a sale price that was 50% off the Reference Price. She found and selected a number of
 8   items (consisting of a Sophie Ruffle Off Shoulder Woven Dress, Jade Floral Cold Shoulder
 9   Ruffle Skater Dress, Hannah Tie Belt Shorts, Unity Oversized Boyfriend V Neck Tee,
10   Freya Embroidered Mesh Short Sleeve Shirt, Hannah Embroidered Stripe Ruffle Shirt, and
11   Charlotte Tie Cord Choker) and added them to her shopping cart, with all of the items
12   displayed by Boohoo as having a Reference Price and a sale price of at least 50% off. The
13   Reference Prices were displayed as substantially higher prices containing a strikethrough.
14         66.    Similarly, on or about July 17, 2021, Cachadina visited Nasty Gal’s U.S.
15   website to shop for clothing from her current home in the State of Florida. Cachadina saw
16   on the website that Nasty Gal was running a sale where everything on the site was at least
17   “50% off”. Cachadina browsed the site and observed that the products offered each had a
18   sale price that was at least 50% off the crossed-out Reference Price. She found and selected
19   a Backless Puff Sleeve Polka Dot Blouse and added it to her shopping cart, with the item
20   displayed by Nasty Gal as having a Reference Price and a sale price of at least 50% off.
21   The Reference Price was displayed as a substantially higher price containing a
22   strikethrough.
23         67.    At no point during any of her visits to the Boohoo or Nasty Gal U.S. websites
24   did Cachadina see a disclosure or disclaimer explaining that the Reference Price was not
25   intended to be the former price of the product offered on the site, what the Reference Price
26` meant, or how Defendants came up with the Reference Price.
27         68.    Cachadina purchased the products referenced above. Before doing so, she
28   relied on the Reference Price advertised on each product she purchased as representing the
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 1    former price of the product, meaning the price at which the product had in fact been offered
 2    for sale, or previously sold, in the recent past. Cachadina thus relied on Boohoo and Nasty
 3    Gal’s representation that each of the products referenced above was truly on sale and being
 4    sold at a substantial markdown or discount, and thereby fell victim to the deception
 5    intended by Boohoo and Nasty Gal. The items Cachadina ordered were delivered to her in
 6    Florida.
 7          69.    The truth, however, is that the products Cachadina purchased were not
 8    substantially marked down or discounted, or at the very least, any discount she was
 9    receiving had been grossly exaggerated. That is because none of the products Cachadina
10    bought had been offered for sale on Boohoo and Nasty Gal’s websites for any reasonably
11    substantial period of time (if ever) at the full Reference Prices. Those Reference Prices
12    were fake prices used in Boohoo and Nasty Gal’s deceptive marketing schemes.
13
                         5.     Plaintiff Sarah Huebner (Florida)
14
            70.    Plaintiff Sarah Huebner (“Huebner”) fell victim to Defendants’ false
15
      advertising and deceptive pricing practices. Between April 15, 2020, and September 15,
16
      2021, Huebner placed nine (9) orders from Boohoo’s U.S. website to shop for clothing.
17
            71.    On or about April 15, 2020, Huebner visited Boohoo’s U.S. website to shop
18
      for clothing from her home in the State of Florida. Huebner saw on the website that Boohoo
19
      was running a “60% Off Everything” sale. Huebner browsed the site and observed that the
20
      products offered each had a Reference Price that was crossed out and a sale price that was
21
      60% off the crossed-out Reference Price. She found and selected a number of items
22
      (consisting of a Eva Pom Trim Off Shoulder Beach Co-ord Set, Leopard Strappy Romper,
23
      Cheese Cloth Embroidered Tassel Sun Dress, Leopard Print Smock Dress, Bardot Ruffle
24
      Detail Short Co-ord Set, Floral Cap Sleeved Shift Dress, and Bardot Off The Shoulder Frill
25
      Jersey Romper) and added them to her shopping cart, with the items displayed by Boohoo
26`
      as having a Reference Price and a sale price of at least 60% off. The Reference Prices were
27
      displayed as substantially higher prices containing a strikethrough.
28
            72.    On or about May 16, 2020, Huebner visited Boohoo’s U.S. website to shop
                                                 -19-
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 1   for clothing from her home in the State of Florida. Huebner saw on the website that Boohoo
 2   was running a “60% Off Everything” sale. Huebner browsed the site and observed that the
 3   products offered each had a Reference Price that was crossed out and a sale price that was
 4   at least 60% off the crossed-out Reference Price. She found and selected a number of items
 5   (consisting of a Mix & Match Lace PJ Shorts, Frill Hem Shorts & Cami Satin Set, Floral
 6   Strappy Sundress, Strappy Rib Mini Dress, Leopard Strappy Sundress, Broderie Trim
 7   Belted Romper, Basic Swing Dress, and Strappy Crop Top & Skater Mini Skirt Two-Piece
 8   Set) and added them to her shopping cart, with the items displayed by Boohoo as having a
 9   Reference Price and a sale price of at least 60% off. The Reference Prices were displayed
10   as substantially higher prices containing a strikethrough.
11         73.    On or about June 30, 2020, Huebner visited Boohoo’s U.S. website to shop
12   for clothing from her home in the State of Florida. Huebner saw on the website that Boohoo
13   was running a “60% Off Everything” sale. Huebner browsed the site and observed that the
14   products offered each had a Reference Price that was crossed out and a sale price that was
15   advertised as being 60% off the crossed-out Reference Price. She found and selected a
16   number of items (consisting of a Leopard Print Side Split Mini Skirt, Leopard Print Swing
17   Dress, Snake Wrap Front Thong Bodysuit, Basic Swing Dress, Strappy Swing Dress, Basic
18   V Neck Swing Dress, Snake Print Western Belt, 1 Pack Snake Print Boxers, Double
19   Layered Heart Pendant Anklet, and Croc Engraved Skinny Buckle Belt) and added them
20   to her shopping cart, with the items displayed by Boohoo as having a Reference Price and
21   a sale price of at least 60% off. The Reference Prices were displayed as substantially higher
22   prices containing a strikethrough.
23         74.    On or about July 15, 2020, Huebner visited Boohoo’s U.S. website to shop for
24   clothing from her home in the State of Florida. Huebner saw on the website that Boohoo
25   was running a “60% Off Everything” sale. Huebner browsed the site and observed that the
26` products offered each had a Reference Price that was crossed out and a sale price that was
27   at least 60% off the crossed-out Reference Price. She found and selected a number of items
28   (consisting of a Snake Print Strappy Top & Mini Skirt Two-Piece Set, Floral Chiffon off
                                                -20-
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 1   the Shoulder Mini Dress, Strappy Swing Dress, Diamante Drop Anklet, and Jersey Ruched
 2   Front Strappy Skater Dress) and added them to her shopping cart, with the items displayed
 3   by Boohoo as having a Reference Price and a sale price of at least 60% off. The Reference
 4   Prices were displayed as substantially higher prices containing a strikethrough.
 5         75.    On or about September 24, 2020, Huebner visited Boohoo’s U.S. website to
 6   shop for clothing from her home in the State of Florida. Huebner saw on the website that
 7   Boohoo was running a promotion of “40% Off Everything”. Huebner browsed the site and
 8   observed that the products offered each had a Reference Price that was crossed out and a
 9   sale price that was at least 40% off the crossed-out Reference Price. She found and selected
10   a number of items (consisting of a Lace Up Detail Skater Dress, Leopard Shoulder Pad T-
11   Shirt Dress, Backless Crop Sleeve Skater Dress, Leopard Print Bomber Jacket, Satin
12   Leopard Kimono, High Neck Cut Out Mini Dres, and 5 Pack Mixed Chain & Diamante
13   Anklets) and added them to her shopping cart, with most of items displayed by Boohoo as
14   having a Reference Price and a sale price of at least 40% off. The items with a Reference
15   Price was displayed as a substantially higher price containing a strikethrough.
16         76.    On or about January 10, 2021, Huebner visited Boohoo’s U.S. website to shop
17   for clothing from her home in the State of Florida. Huebner saw on the website that Boohoo
18   was running a “Sale 50%-80% off Every Single Thing” sale . Huebner browsed the site
19   and observed that many of the products had a Reference Price that was crossed out and a
20   sale price that was advertised as being 50% off the crossed-out Reference Price. She found
21   and selected a number of items (consisting of an Off the Shoulder Mini Dress, Leopard V
22   Neck Bodycon Dress, Bandage Rib Cut Out Shoulder Detail Mini Dress, Square Neck
23   Open Back Rib Bodycon Dress, Oversized High Neck Long Sleeve Top, Distressed Denim
24   Jacket, Double Layer Frill Bodysuit, and Babydoll & String Set) and added them to her
25   shopping cart, with some of the items having Reference Prices as displayed by Boohoo as
26` having a Reference Price and a sale price of at least 50% off. The Reference Prices were
27   displayed as substantially higher prices containing a strikethrough.
28         77.    On or about March 17, 2021, Huebner visited Boohoo’s U.S. website to shop
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 1   for clothing from her home in the State of Florida. Huebner saw on the website that Boohoo
 2   was running a “60% OFF Everything” sale. Huebner browsed the site and observed that
 3   the products offered each had a Reference Price that was crossed out and a sale price that
 4   was 60% off the crossed-out Reference Price. She found and selected a number of items
 5   (consisting of a Woven Leopard Print Ruffle Tea Dress, Tie Strap Shirred Tiered Skater
 6   Dress, High Neck Cut Out Back Midi Dress, Ruched Square Neck Rib Mini Dress, Frill
 7   Drop Hem Belted Maxi Dress, and Leopard Dressing Gown) and added them to her
 8   shopping cart, with the items displayed by Boohoo as having a Reference Price and a sale
 9   price of at least 60% off. The Reference Prices were displayed as substantially higher
10   prices containing a strikethrough.
11         78.    On or about March 28, 2021, Huebner visited Boohoo’s U.S. website to shop
12   for clothing from her home in the State of Florida. Huebner saw on the website that Boohoo
13   was running a “60% Off Everything” sale. Huebner browsed the site and observed that the
14   products offered each had a Reference Price that was crossed out and a sale price that was
15   60% off the crossed-out Reference Price. She found and selected a number of items
16   (consisting of a Side Split Cap Sleeve Midi Dress, Rib Double Strap Midi Dress, Crinkle
17   Rib Halterneck Midaxi Dress, and Ribbed Midi Dress and Duster Set) and added them to
18   her shopping cart, with the items displayed by Boohoo as having a Reference Price and a
19   sale price of at least 60% off. The Reference Prices were displayed as substantially higher
20   prices containing a strikethrough.
21         79.    On or about September 15, 2021, Huebner visited Boohoo’s U.S. website to
22   shop for clothing from her home in the State of Florida. Huebner saw on the website that
23   Boohoo was running a promotion that gave customers the choice of “60% Off Everything”
24   or “50% Off Everything” plus a reduced shipping price of $3.00. Huebner browsed the
25   site and observed that the products offered each had a Reference Price that was crossed out
26` and a sale price that was at least 50% off the crossed-out Reference Price. She found and
27   selected a Maternity Long Sleeve Rib Mini Dress and added it to her shopping cart, with
28   the item displayed by Boohoo as having a Reference Price and a sale price of at least 50%
                                               -22-
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 1    off. The Reference Price was displayed as a substantially higher price containing a
 2    strikethrough.
 3          80.    At no point during any of her visits to the Boohoo U.S. website did Huebner
 4    see a disclosure or disclaimer explaining that the Reference Price was not intended to be
 5    the former price of the product offered on the site, what the Reference Price meant, or how
 6    Defendants came up with the Reference Price.
 7          81.    Huebner purchased the products referenced above. Before doing so, she relied
 8    on the Reference Price advertised on each product she purchased as representing the former
 9    price of the product, meaning the price at which the product had in fact been offered for
10    sale, or previously sold, in the recent past. Huebner thus relied on Boohoo’s representation
11    that each of the products referenced above was truly on sale and being sold at a substantial
12    markdown or discount, and thereby fell victim to the deception intended by Boohoo. The
13    items Huebner ordered were delivered to her in Florida.
14          82.    The truth, however, is that the products Huebner purchased were not
15    substantially marked down or discounted, or at the very least, any discount she was
16    receiving had been grossly exaggerated. That is because none of the products Huebner
17    bought had been offered for sale on Boohoo’s website for any reasonably substantial period
18    of time (if ever) at the full Reference Prices. Those Reference Prices were fake prices used
19    in Boohoo’s deceptive marketing scheme.
20
                         6.     Plaintiff Yesenia Valiente (Florida)
21
            83.    Plaintiff Yesenia Valiente (“Valiente”) fell victim to Defendants’ false
22
      advertising and deceptive pricing practices. Between February 24, 2020, and January 10,
23
      2021, Valiente placed two (2) orders from PrettyLittleThing’s U.S. website to shop for
24
      clothing.
25
            84.    On or about February 24, 2020, Valiente visited PrettyLittleThing’s U.S.
26`
      website to shop for clothing from her home in the State of Florida. Valiente saw on the
27
      website that Boohoo was running a “40% Off Sitewide” sale. Valiente browsed the site
28
      and observed that the products offered each had a sale price that was at least 40% off the
                                                 -23-
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 1   advertised Reference Price based on the availability of a sitewide promo code. She found
 2   and selected a Black Knot Front Wrapped Sarong, and a White Knot Front Wrapped Sarong
 3   and added them to her shopping cart, with all the items displayed by PrettyLittleThing as
 4   having a Reference Price and a sale price of at least 40% off.
 5         85.    On or about January 10, 2021, Valiente visited PrettyLittleThing’s U.S.
 6   website to shop for clothing from her home in the State of Florida. Valiente saw on the
 7   website that PrettyLittleThing was running an “Up to 80% Off Everything Plus Extra 10%
 8   Off” sale. Valiente browsed the site and observed that the products offered each had a sale
 9   price that was substantially discounted from the advertised Reference Price. She found and
10   selected a number of items (consisting of a Caris White Long Sleeve Lace Bodycon Dress,
11   Stone Jersey Scoop Strappy Maxi Dress, Basic Black Bandeau Midaxi Dress, Basic Camel
12   Bandeau Midaxi Dress, Black High Neck Cap Sleeve Bodycon Dress, and Navy Ribbed
13   Midi Dress) and added them to her shopping cart, with the items displayed by
14   PrettyLittleThing as having a Reference Price and a substantially discounted selling price
15   based on the advertised promotion. The Reference Prices were displayed as substantially
16   higher prices containing a strikethrough.
17         86.    At no point during any of her visits to the PLT U.S. website did Valiente see
18   a disclosure or disclaimer explaining that the Reference Price was not intended to be the
19   former price of the product offered on the site, what the Reference Price meant, or how
20   Defendants came up with the Reference Price.
21         87.    Valiente purchased the products referenced above. Before doing so, she
22   relied on the Reference Price advertised on each product she purchased as representing the
23   former price of the product, meaning the price at which the product had in fact been offered
24   for sale, or previously sold, in the recent past. Valiente thus relied on PrettyLittleThing’s
25   representation that each of the products referenced above was truly on sale and being sold
26` at a substantial markdown or discount, and thereby fell victim to the deception intended by
27   PrettyLittleThing. The items Valiente ordered were delivered to her in Florida.
28         88.    The truth, however, is that the products Valiente purchased were not
                                                -24-
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 1    substantially marked down or discounted, or at the very least, any discount she was
 2    receiving had been grossly exaggerated. That is because none of the products Valiente
 3    bought had been offered for sale on PrettyLittleThing’s website for any reasonably
 4    substantial period of time (if ever) at the full Reference Prices. Those Reference Prices
 5    were fake prices used in PrettyLittleThing’s deceptive marketing scheme.
 6
                         7.     Plaintiff Veronica Walton (Maryland)
 7
            89.    Plaintiff Veronica Walton (“Walton”) fell victim to Defendants’ false
 8
      advertising and deceptive pricing practices. Between August 5, 2021 and September 11,
 9
      2021, Walton placed two (2) orders from Boohoo’s U.S. website to shop for clothing.
10
            90.    On or about August 5, 2021, Walton visited Boohoo’s U.S. website to shop
11
      for clothing from her then home when she resided in the State of Maryland. Walton saw
12
      on the website that Boohoo was running a promotion that gave customers the choice of
13
      “60% Off Everything” or “50% Off Everything” plus a reduced shipping price. Walton
14
      browsed the site and observed that all or substantially all of the products offered had a
15
      Reference Price and a sale price that was at least 50% off the Reference Price. She found
16
      and selected a number of items (consisting of a O Ring Cheesecloth Volume Sleeve Top,
17
      Mid Rise Super Distressed Boyfriend Jeans, Brushed Check Shacket, and 3 Pack Ring
18
      Detail Bucklet Belt) and added them to her shopping cart, with all of the items displayed
19
      by Boohoo as having a Reference Price and a sale price of at least 50% off. The Reference
20
      Prices were displayed as substantially higher prices containing a strikethrough.
21
            91.    On or about September 11, 2021, Walton visited Boohoo’s U.S. website to
22
      shop for clothing from her then home when she resided in the State of Maryland. Walton
23
      saw on the website that Boohoo was running a promotion that gave customers the choice
24
      of “60% Off Everything” or “50% Off Everything” plus a reduced shipping price. Walton
25
      browsed the site and observed that all or substantially all of the products offered had a
26`
      Reference Price and a sale price that was at least 50% off the Reference Price. She found
27
      and selected a number of items (consisting of Basic Regular Joggers, Heart Embroidered
28
      Joggers, Mid Rise Super Distressed Boyfriend Jeans, Cuffed Denim Joggers, Woman
                                                -25-
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 1    Rainbox Slogan T-Shirt, and Germany Football T-shirt, Long Sleeve Ruffle Detail Skater
 2    Dress) and added them to her shopping cart, with all of the items displayed by Boohoo as
 3    having a Reference Price and a sale price of at least 50% off. The Reference Prices were
 4    displayed as substantially higher prices containing a strikethrough.
 5          92.    At no point during any of her visits to the Boohoo U.S. website did Walton
 6    see a disclosure or disclaimer explaining that the Reference Price was not intended to be
 7    the former price of the product offered on the site, what the Reference Price meant, or how
 8    Defendants came up with the Reference Price.
 9          93.    Walton purchased the products referenced above. Before doing so, she relied
10    on the Reference Price advertised on each product she purchased as representing the former
11    price of the product, meaning the price at which the product had in fact been offered for
12    sale, or previously sold, in the recent past. Walton thus relied on Boohoo’s representation
13    that each of the products referenced above was truly on sale and being sold at a substantial
14    markdown or discount, and thereby fell victim to the deception intended by Boohoo. The
15    items Walton ordered were delivered to her in Maryland.
16          94.    The truth, however, is that the products Walton purchased were not
17    substantially marked down or discounted, or at the very least, any discount she was
18    receiving had been grossly exaggerated. That is because none of the products Walton
19    bought had been offered for sale on Boohoo’s website for any reasonably substantial period
20    of time (if ever) at the full Reference Prices. Those Reference Prices were fake prices used
21    in Boohoo’s deceptive marketing scheme.
22
                          8.    Plaintiff Lisa Murphy (Massachusetts)
23
            95.    Plaintiff Lisa Murphy (“Murphy”) fell victim to Defendants’ false advertising
24
      and deceptive pricing practices.
25
            96.    On or about March 18, 2021, Murphy visited PrettyLittleThing’s U.S. website
26`
      to shop for clothing from her home in the State of Massachusetts. Murphy saw on the
27
      website that PrettyLittleThing was running an “up to 70% Off Everything” sale. Murphy
28
      browsed the site and observed that all or substantially all of the products offered had a sale
                                                   -26-
                                         CLASS ACTION COMPLAINT
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 1    price that was a substantial discount off the Reference Price. She found and selected a
 2    number of items (consisting of a Black Ditsy Floral Tie Front Bardot Jersey Bodycon
 3    Dress, Red Ditsy Floral Print Ruched Bust Shift Dress, and White Crinkle Chiffon Cami
 4    and Shorts PJ Set) and added them to her shopping cart, with the items displayed by
 5    PrettyLittleThing as having a Reference Price and a substantially lower sale price.
 6          97.    At no point during any of her visits to the PLT U.S. website did Murphy see
 7    a disclosure or disclaimer explaining that the Reference Price was not intended to be the
 8    former price of the product offered on the site, what the Reference Price meant, or how
 9    Defendants came up with the Reference Price.
10          98.    Murphy purchased the products referenced above. Before doing so, she relied
11    on the Reference Price advertised on each product she purchased as representing the former
12    price of the product, meaning the price at which the product had in fact been offered for
13    sale, or previously sold, in the recent past. Murphy thus relied on PrettyLittleThing’s
14    representation that each of the products referenced above was truly on sale and being sold
15    at a substantial markdown or discount, and thereby fell victim to the deception intended by
16    PrettyLittleThing. The items Murphy ordered were delivered to her in Massachusetts.
17          99.    The truth, however, is that the products Murphy purchased were not
18    substantially marked down or discounted, or at the very least, any discount she was
19    receiving had been grossly exaggerated. That is because none of the products Murphy
20    bought had been offered for sale on PrettyLittleThing’s website for any reasonably
21    substantial period of time (if ever) at the full Reference Prices. Those Reference Prices
22    were fake prices used in PrettyLittleThing’s deceptive marketing scheme.
23
                         9.     Plaintiff Nicole Hill (Michigan)
24
            100. Plaintiff Nicole Hill (“Hill”) fell victim to Defendants’ false advertising and
25
      deceptive pricing practices. Between June 29, 2020, and August 19, 2020, Hill placed two
26`
      (2) orders from Boohoo’s U.S. website to shop for clothing.
27
            101. On or about June 29, 2020, Hill visited Boohoo’s U.S. website to shop for
28
      clothing from her home in the State of Michigan. Hill saw on the website that Boohoo was
                                                -27-
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 1   running an up to “60% Off Everything” sale. Hill browsed the site and observed that the
 2   products offered each had a Reference Price that was crossed out and a sale price that was
 3   at least 50% off the crossed-out Reference Price. She found and selected a number of items
 4   (consisting of a High Waist Slinky Biker Shorts, Basic Solid Biker Shorts, Tall Longline
 5   Jean Shorts, Plus Slinky Biker Short, Tres Bien Graphic T-Shirt and Cap Sleeve High Neck
 6   Tie Dye Rib Top) and added them to her shopping cart, with all of the items displayed by
 7   Boohoo as having a Reference Price and a sale price with a substantial percentage off
 8   discount. The Reference Prices were displayed as substantially higher prices containing a
 9   strikethrough.
10         102. Similarly, on or about August 18, 2020, Hill visited Boohoo’s U.S. website to
11   shop for clothing from her home in the State of Michigan. Hill saw on the website that
12   Boohoo was running an up to “60% Off Everything” sale. Hill browsed the site and
13   observed that the products offered each had a Reference Price that was crossed out and a
14   sale price that was at least 50% off the crossed-out Reference Price. She found and selected
15   a number of items (consisting of a two Butterfly Print Oversized Joggers, Butterfly Print
16   Oversized Hoody, Petite Oversize Boyfriend Jogger, and 2 Pack Seamfree Dip Front
17   Thong) and added them to her shopping cart, with all of the items displayed by Boohoo as
18   having a Reference Price and a sale price with a substantial percentage off discount. The
19   Reference Prices were displayed as substantially higher prices containing a strikethrough.
20         103. At no point during any of her visits to the Boohoo U.S. website did Hill see a
21   disclosure or disclaimer explaining that the Reference Price was not intended to be the
22   former price of the product offered on the site, what the Reference Price meant, or how
23   Defendants came up with the Reference Price.
24         104. Hill purchased the products referenced above. Before doing so, she relied on
25   the Reference Price advertised on each product she purchased as representing the former
26` price of the product, meaning the price at which the product had in fact been offered for
27   sale, or previously sold, in the recent past. Hill thus relied on Boohoo’s representation that
28   each of the products referenced above was truly on sale and being sold at a substantial
                                                -28-
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 1    markdown or discount, and thereby fell victim to the deception intended by Boohoo. The
 2    items Hill ordered were delivered to her in Michigan.
 3          105. The truth, however, is that the products Hill purchased were not substantially
 4    marked down or discounted, or at the very least, any discount she was receiving had been
 5    grossly exaggerated. That is because none of the products Hill bought had been offered
 6    for sale on Boohoo’s website for any reasonably substantial period of time (if ever) at the
 7    full Reference Prices. Those Reference Prices were fake prices used in Boohoo’s deceptive
 8    marketing scheme.
 9
                          10.   Plaintiff Nicole Stewart (Ohio)
10
            106. Plaintiff Nicole Stewart (“Stewart”) fell victim to Defendants’ false
11
      advertising and deceptive pricing practices. Between December 7, 2019 and June 25, 2021,
12
      Stewart placed at least six (6) orders: two (2) from Boohoo’s U.S. website to shop for
13
      clothing, three (3) from PrettyLittleThing’s U.S. website to shop for clothing, and one (1)
14
      from Nasty Gal’s U.S. website to shop for clothing.
15
            107. On or about December 19, 2020, Stewart visited Boohoo’s U.S. website to
16
      shop for clothing from her home in the State of Ohio. Stewart saw on the website that
17
      Boohoo was running a “50% Off Everything” sale. Stewart browsed the site and observed
18
      that all or substantially all of the products offered had a Reference Price and a sale price
19
      that was significantly discounted from the Reference Price. She found and selected a Plus
20
      Check Wool Look Boyfriend Coat and added it to her shopping cart, with the item
21
      displayed by Boohoo as having a Reference Price and a sale price with a substantial
22
      percentage off discount. The Reference Price was displayed as a substantially higher price
23
      containing a strikethrough.
24
            108. On or about June 25, 2021, Stewart visited Boohoo’s U.S. website to shop for
25
      clothing from her home in the State of Ohio. Stewart saw on the website that Boohoo was
26`
      running a promotion that gave customers the choice of “60% Off Everything” or “50%
27
      Off” plus a reduced shipping price. Stewart browsed the site and observed that all or
28
      substantially all of the products offered had a Reference Price and a sale price. She browsed
                                                 -29-
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 1   the site and observed that the products offered each had a Reference Price that was crossed
 2   out and a sale price that was a significant discount off the crossed-out Reference Price. She
 3   found and selected a Floral Strappy Ruffle Wide Leg Jumpsuit and added it to her shopping
 4   cart, with the item displayed by Boohoo as having a Reference Price and a sale price of at
 5   least 50% off. The Reference Price was displayed as a substantially higher price containing
 6   a strikethrough.
 7         109. Similarly, on or about December 17, 2019, Stewart visited Nasty Gal’s U.S.
 8   website to shop for clothing from her State of Ohio. Stewart saw on the website that Nasty
 9   Gal was running an “80% Off Absolutely Everything” sale. Stewart browsed the site and
10   observed that the products offered each had a Reference Price that was crossed out and a
11   sale price that were at a substantial markdown off the Reference Price. She found and
12   selected a Woman’s World Houndstooth Longline Plus Blazer and added it to her shopping
13   cart, with the item displayed by Nasty Gal as having a Reference Price and a sale price.
14   The Reference Price was displayed as a substantially higher price containing a
15   strikethrough.
16         110. Similarly on or about December 7, 2019, Stewart visited PrettyLittleThing’s
17   U.S. website to shop for clothing from her home in the State of Ohio. Stewart saw on the
18   website that PrettyLittleThing was running an “Up to 80% off = EXTRA 10% PROMO10”
19   sale. Stewart browsed the site and observed that all or substantially all of the products had
20   a sale price that was a substantial discount off the Reference Price. She found and selected
21   a Plus Black Belt Detail Wide Leg Cargo Jumpsuit and added it to her shopping cart, with
22   the items displayed by PrettyLittleThing as having a Reference Price and a substantially
23   lower sale price.
24         111. On or about December 10, 2020, Stewart visited PrettyLittleThing’s U.S.
25   website to shop for clothing from her home in the State of Ohio. Stewart saw on the website
26` that PrettyLittleThing was running a “50% Off Everything” sale. Stewart browsed the site
27   and observed that all or substantially all of the products offered had a sale price that was a
28   substantial discount off the Reference Price. She found and selected a Stone Badge Detail
                                                -30-
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 1   Seam Front Extreme Wide Leg Joggers and added it to her shopping cart, with the item
 2   displayed by PrettyLittleThing as having a Reference Price and a substantially lower sale
 3   price.
 4            112. On or about February 25, 2021, Stewart visited PrettyLittleThing’s U.S.
 5   website to shop for clothing from her home in the State of Ohio. Stewart saw on the website
 6   that PrettyLittleThing was running an “Up to 70% Off Everything” sale. Stewart browsed
 7   the site and observed that all or substantially all of the products offered had a sale price that
 8   was a substantial discount off the Reference Price. She found and selected a pair of black
 9   sweatpants and added it to her shopping cart, with the item displayed by PrettyLittleThing
10   as having a Reference Price and a substantially lower sale price.
11            113. At no point during any of her visits to the Boohoo, PLT, or Nasty Gal U.S.
12   websites did Stewart see a disclosure or disclaimer explaining that the Reference Price was
13   not intended to be the former price of the product offered on the site, what the Reference
14   Price meant, or how Defendants came up with the Reference Price.
15            114. Stewart purchased the products referenced above. Before doing so, she relied
16   on the Reference Price advertised on each product she purchased as representing the former
17   price of the product, meaning the price at which the product had in fact been offered for
18   sale, or previously sold, in the recent past. Stewart thus relied on Boohoo, Nasty Gal, and
19   PrettyLittleThing’s representation that each of the products referenced above was truly on
20   sale and being sold at a substantial markdown or discount, and thereby fell victim to the
21   deception intended by Boohoo, Nasty Gal, and PrettyLittleThing. The items Stewart
22   ordered were delivered to her in Ohio.
23            115. The truth, however, is that the products Stewart purchased were not
24   substantially marked down or discounted, or at the very least, any discount she was
25   receiving had been grossly exaggerated. That is because none of the products Stewart
26` bought had been offered for sale on Boohoo, Nasty Gal, or PrettyLittleThing’s websites for
27   any reasonably substantial period of time (if ever) at the full Reference Prices. Those
28   Reference Prices were fake prices used in Boohoo’s deceptive marketing scheme.
                                                 -31-
                                       CLASS ACTION COMPLAINT
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 1          116. Defendants know that the Reference Prices advertised on their U.S. websites
 2    are fake and artificially inflated and intentionally use them in their deceptive pricing
 3    scheme on their websites to increase sales and profits by misleading Plaintiffs and members
 4    of the putative class to believe that they are buying products at a substantial discount.
 5    Defendants thereby induce customers to buy products they never would have bought—or
 6    at the very least, to pay more for merchandise than they otherwise would have if Defendants
 7    were simply being truthful about their “sales.”
 8          117. Therefore, Plaintiffs would not have purchased the items listed above, or at
 9    the very least, would not have paid as much as they did, had Defendants been truthful.
10    Plaintiffs were persuaded to make their purchases only because of the fake sales based on
11    Defendants’ fake Reference Prices.
12
            F.     Research Shows That the Use of Reference Price Advertising Schemes
13                 Similar to Defendants’ Deceptive Pricing Scheme Influences Consumer
                   Behavior and Affects Consumers’ Perceptions of a Product’s Value
14
            118. The effectiveness of Defendants’ deceitful pricing scheme is backed up by
15
      longstanding scholarly research.     In the seminal article entitled Comparative Price
16
      Advertising: Informative or Deceptive? (cited in Hinojos v. Kohl’s Corp., 718 F.3d 1098,
17
      1106 (9th Cir. 2013), Professors Dhruv Grewal and Larry D. Compeau write that, “[b]y
18
      creating an impression of savings, the presence of a higher reference price enhances
19
      subjects’ perceived value and willingness to buy the product.” Dhruv Grewal & Larry D.
20
      Compeau, Comparative Price Advertising: Informative or Deceptive?, 11 J. Pub. Pol’y &
21
      Mktg. 52, 55 (Spring 1992). Thus, “empirical studies indicate that, as discount size
22
      increases, consumers’ perceptions of value and their willingness to buy the product
23
      increase, while their intention to search for a lower price decreases.” Id. at 56 (emphasis
24
      added). For this reason, the Ninth Circuit in Hinojos held that a plaintiff making a claim
25
      of deceptive pricing (strikingly similar to the claim at issue here) had standing to pursue
26`
      his claim against the defendant retailer. In doing so, the Court observed that
27
      “[m]isinformation about a product’s ‘normal’ price is . . . significant to many consumers
28

                                                -32-
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 1   in the same way as a false product label would be.” Hinojos, 718 F.3d at 1106.
 2         119. Professors Compeau and Grewal reached similar conclusions in a 2002 article:
 3   “decades of research support the conclusion that advertised reference prices do indeed
 4   enhance consumers’ perceptions of the value of the deal.” Dhruv Grewal & Larry D.
 5   Compeau, Comparative Price Advertising: Believe It Or Not, J. of Consumer Affairs, Vol.
 6   36, No. 2, at 287 (Winter 2002). The professors also found that “[c]onsumers are
 7   influenced by comparison prices even when the stated reference prices are implausibly
 8   high.” Id. (emphasis added).
 9         120. In another scholarly publication, Professors Joan Lindsey-Mullikin and Ross
10   D. Petty concluded that “[r]eference price ads strongly influence consumer perceptions of
11   value . . . . Consumers often make purchases not based on price but because a retailer
12   assures them that a deal is a good bargain. This occurs when . . . the retailer highlights the
13   relative savings compared with the prices of competitors . . . [T]hese bargain assurances
14   (BAs) change consumers’ purchasing behavior and may deceive consumers.”                  Joan
15   Lindsey-Mullikin & Ross D. Petty, Marketing Tactics Discouraging Price Search:
16   Deception and Competition, 64 J. of Bus. Research 67 (January 2011).
17         121. Similarly, according to Professors Praveen K. Kopalle and Joan Lindsey-
18   Mullikin, “research has shown that retailer-supplied reference prices clearly enhance
19   buyers’ perceptions of value” and “have a significant impact on consumer purchasing
20   decisions.”   Praveen K. Kopalle & Joan Lindsey-Mullikin, The Impact of External
21   Reference Price On Consumer Price Expectations, 79 J. of Retailing 225 (2003).
22         122. The results of a 1990 study by Professors Jerry B. Gotlieb and Cyndy Thomas
23   Fitzgerald, came to the conclusion that “reference prices are important cues consumers use
24   when making the decision concerning how much they are willing to pay for the product.”
25   Jerry B. Gotlieb & Cyndy Thomas Fitzgerald, An Investigation Into the Effects of
26` Advertised Reference Prices On the Price Consumers Are Willing To Pay For the Product,
27   6 J. of App’d Bus. Res. 1 (1990). This study also concluded that “consumers are likely to
28   be misled into a willingness to pay a higher price for a product simply because the product
                                                -33-
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 1    has a higher reference price.” Id.
 2          123. The unmistakable inference to be drawn from this research and the Ninth
 3    Circuit’s opinion in Hinojos is that the deceptive advertising through the use of false
 4    reference pricing employed here by Defendants is intended to, and does in fact, influence
 5    customer behavior—as it did Plaintiffs’ purchasing decision here—by artificially inflating
 6    customer perceptions of a given item’s value and causing customers to spend money they
 7    otherwise would not have, purchase items they otherwise would not have, and/or spend
 8    more money for a product than they otherwise would have absent the deceptive advertising.
 9
      V.    CLASS ACTION ALLEGATIONS
10
            124. Plaintiffs bring this action on behalf of themselves and all persons similarly
11
      situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil
12
      Procedure and seeks certification of the following classes:
13
                   All persons in the United States of America who purchased one
14                 or more boohoo products from http://us.boohoo.com between
                   April 9, 2016, through the present at a discount from a higher
15
                   reference price and who have not received a refund or credit for
16                 their purchase(s).
17                 All persons in the United States of America who purchased one
18
                   or       more       “PrettyLittleThing”        products     from
                   https://www.prettylittlething.us between May 19, 2016, through
19                 the present at a discount from a higher reference price and who
20
                   have not received a refund or credit for their purchase(s).

21                 All persons in the United States of America who purchased one
                   or more “Nasty Gal” products from https://nastygal.com
22                 between March 1, 2017, through the present at a discount from a
23                 higher reference price and who have not received a refund or
                   credit for their purchase(s).
24
            125. The above-described classes of persons shall hereafter be referred to as the
25
      “Nationwide Class.” Excluded from the Nationwide Class are any and all past or present
26`
      officers, directors, or employees of Defendants, any judge who presides over this action,
27
      and any partner or employee of Class Counsel.
28
            126. In the alternative, Plaintiffs seek certification of the subclasses described
                                                 -34-
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 1    below.
 2          127. Plaintiffs Habberfield, Kalu, and Runnells seek certification of the following
 3    subclasses pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil
 4    Procedure:
 5                 All persons in the State of New York who purchased one or more
 6                 boohoo products from http://us.boohoo.com between April 9,
                   2016, through the present at a discount from a higher reference
 7                 price and who have not received a refund or credit for their
 8                 purchase(s).

 9                 All persons in the State of New York who purchased one or more
                   “PrettyLittleThing”                 products                from
10                 https://www.prettylittlething.us between May 19, 2016, through
11                 the present at a discount from a higher reference price and who
                   have not received a refund or credit for their purchase(s).
12
                   All persons in the State of New York who purchased one or more
13
                   “Nasty Gal” products from https://nastygal.com between March
14                 1, 2017, through the present at a discount from a higher reference
                   price and who have not received a refund or credit for their
15
                   purchase(s).
16
            128. The above-described subclasses of persons shall hereafter be referred to
17
      collectively as the “New York Subclass.” Excluded from the New York Subclass are any
18
      and all past or present officers, directors, or employees of Defendants, any judge who
19
      presides over this action, and any partner or employee of Class Counsel.
20
            129. Plaintiffs Cachadina, Huebner, and Valiente seek certification of the
21
      following subclasses pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules
22
      of Civil Procedure:
23
                   All persons in the State of Florida who purchased one or more
24                 boohoo products from http://us.boohoo.com between April 9,
                   2016, through the present at a discount from a higher reference
25
                   price and who have not received a refund or credit for their
26`                purchase(s).
27                 All persons in the State of Florida who purchased one or more
28
                   “PrettyLittleThing”                 products              from
                   https://www.prettylittlething.us between May 19, 2016, through
                                                 -35-
                                       CLASS ACTION COMPLAINT
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 1                the present at a discount from a higher reference price and who
                  have not received a refund or credit for their purchase(s).
 2
                  All persons in the State of Florida who purchased one or more
 3                “Nasty Gal” products from https://nastygal.com between March
 4                1, 2017, through the present at a discount from a higher reference
                  price and who have not received a refund or credit for their
 5                purchase(s).
 6          130. The above-described subclasses of persons shall hereafter be referred to
 7    collectively as the “Florida Subclass.” Excluded from the Florida Subclass are any and all
 8    past or present officers, directors, or employees of Defendants, any judge who presides
 9    over this action, and any partner or employee of Class Counsel.
10          131. Plaintiff Walton seeks certification of the following subclasses pursuant to
11    Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure:
12                All persons in the State of Maryland who purchased one or more
13                boohoo products from http://us.boohoo.com between April 9,
                  2016, through the present at a discount from a higher reference
14                price and who have not received a refund or credit for their
15                purchase(s).
16                All persons in the State of Maryland who purchased one or more
                  “PrettyLittleThing”                 products                from
17
                  https://www.prettylittlething.us between May 19, 2016, through
18                the present at a discount from a higher reference price and who
                  have not received a refund or credit for their purchase(s).
19
                  All persons in the State of Maryland who purchased one or more
20
                  “Nasty Gal” products from https://nastygal.com between March
21                1, 2017, through the present at a discount from a higher reference
                  price and who have not received a refund or credit for their
22
                  purchase(s).
23
            132. The above-described subclasses of persons shall hereafter be referred to
24
      collectively as the “Maryland Subclass.” Excluded from the Maryland Subclass are any
25
      and all past or present officers, directors, or employees of Defendants, any judge who
26`
      presides over this action, and any partner or employee of Class Counsel.
27
            133. Plaintiff Murphy seeks certification of the following subclasses pursuant to
28
      Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure:
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 1                 All persons in the State of Massachusetts who purchased one or
                   more boohoo products from http://us.boohoo.com between April
 2                 9, 2016, through the present at a discount from a higher reference
 3                 price and who have not received a refund or credit for their
                   purchase(s).
 4
                   All persons in the State of Massachusetts who purchased one or
 5                 more          “PrettyLittleThing”          products         from
 6                 https://www.prettylittlething.us between May 19, 2016, through
                   the present at a discount from a higher reference price and who
 7                 have not received a refund or credit for their purchase(s).
 8                 All persons in the State of Massachusetts who purchased one or
 9                 more “Nasty Gal” products from https://nastygal.com between
                   March 1, 2017, through the present at a discount from a higher
10                 reference price and who have not received a refund or credit for
11                 their purchase(s).
12          134. The above-described subclasses of persons shall hereafter be referred to
13    collectively as the “Massachusetts Subclass.” Excluded from the Massachusetts Subclass
14    are any and all past or present officers, directors, or employees of Defendants, any judge
15    who presides over this action, and any partner or employee of Class Counsel.
16          135. Plaintiff Hill seeks certification of the following subclasses pursuant to Rule
17    23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure:
18                 All persons in the State of Michigan who purchased one or more
                   boohoo products from http://us.boohoo.com between April 9,
19
                   2016, through the present at a discount from a higher reference
20                 price and who have not received a refund or credit for their
                   purchase(s).
21
                   All persons in the State of Michigan who purchased one or more
22
                   “PrettyLittleThing”                 products                from
23                 https://www.prettylittlething.us between May 19, 2016, through
                   the present at a discount from a higher reference price and who
24
                   have not received a refund or credit for their purchase(s).
25
                   All persons in the State of Michigan who purchased one or more
26`                “Nasty Gal” products from https://nastygal.com between March
27                 1, 2017, through the present at a discount from a higher reference
                   price and who have not received a refund or credit for their
28                 purchase(s).
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 1          136. The above-described subclasses of persons shall hereafter be referred to
 2    collectively as the “Michigan Subclass.” Excluded from the Michigan Subclass are any
 3    and all past or present officers, directors, or employees of Defendants, any judge who
 4    presides over this action, and any partner or employee of Class Counsel.
 5          137. Plaintiff Stewart seeks certification of the following subclasses pursuant to
 6    Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure:
 7                 All persons in the State of Ohio who purchased one or more
 8                 boohoo products from http://us.boohoo.com between April 9,
                   2016, through the present at a discount from a higher reference
 9                 price and who have not received a refund or credit for their
10                 purchase(s).

11                 All persons in the State of Ohio who purchased one or more
                   “PrettyLittleThing”                 products                from
12                 https://www.prettylittlething.us between May 19, 2016, through
13                 the present at a discount from a higher reference price and who
                   have not received a refund or credit for their purchase(s).
14
                   All persons in the State of Ohio who purchased one or more
15
                   “Nasty Gal” products from https://nastygal.com between March
16                 1, 2017, through the present at a discount from a higher reference
                   price and who have not received a refund or credit for their
17
                   purchase(s).
18
            138. The above-described subclasses of persons shall hereafter be referred to
19
      collectively as the “Ohio Subclass.” Excluded from the Ohio Subclass are any and all past
20
      or present officers, directors, or employees of Defendants, any judge who presides over
21
      this action, and any partner or employee of Class Counsel.
22
            139. For reference purposes, collectively, the Nationwide Class, New York
23
      Subclass, Florida Subclass, Maryland Subclass, Massachusetts Subclass, Michigan
24
      Subclass, and Ohio Subclass shall be referred to hereafter as the “Class.” Collectively, the
25
      New York Subclass, Florida Subclass, Maryland Subclass, Massachusetts Subclass,
26`
      Michigan Subclass, and Ohio Subclass shall be referred to hereafter as the “Subclasses.”
27
            140. For reference purposes, April 9, 2016 through the present shall be referred to
28
      hereafter as the “Boohoo Class Period.” May 19, 2016 through the present shall be referred
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 1   to hereafter as the “PLT Class Period.” March 1, 2017 through the present shall be referred
 2   to hereafter as the “Nasty Gal Class Period.” Collectively, the Boohoo Class Period, PLT
 3   Class Period, and Nasty Gal Class Period shall be referred to hereafter as the “Class
 4   Periods.”
 5         141. Plaintiffs reserve the right to expand, limit, modify, or amend the class
 6   definitions stated above, including the addition of one or more subclasses, in connection
 7   with their motion for class certification, or at any other time, based upon, among other
 8   things, changing circumstances, or new facts obtained during discovery.
 9         142. Numerosity. The putative class members who are part of the Class are so
10   numerous that joinder of all members in one action is impracticable. The exact number
11   and identities of the members of the Class is unknown to Plaintiffs at this time and can only
12   be ascertained through appropriate discovery, but on information and belief, Plaintiffs
13   allege that there are in excess of 7 million members.
14         143. Typicality. Plaintiffs’ claims are typical of those of other members of the
15   Class, all of whom have suffered similar harm due to Defendants’ course of conduct as
16   described herein.
17         144. Adequacy of Representation. Plaintiffs are adequate representatives of the
18   Class and will fairly and adequately protect the interests of the Class. Plaintiffs have
19   retained attorneys who are experienced in the handling of complex litigation and class
20   actions, and Plaintiffs and their counsel intend to prosecute this action vigorously.
21         145. Existence and Predominance of Common Questions of Law or Fact.
22   Common questions of law and fact exist as to all members of the Class that predominate
23   over any questions affecting only individual members of the Class. These common legal
24   and factual questions, which do not vary among members of the Class, and which may be
25   determined without reference to the individual circumstances of any member of the Class,
26` include, but are not limited to, the following:
27                (a)    Whether, during the Class Periods, Defendants advertised false
28                       Reference Prices on products offered on their website.

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 1             (b)   Whether, during the Class Periods, Defendants advertised price
                     discounts from false Reference Prices on products offered on their
 2                   website.
 3             (c)   Whether the products listed on Defendants’ website during the Class
 4                   Periods were offered at their Reference Prices for any reasonably
                     substantial period of time prior to being offered at prices that were
 5                   discounted from their Reference Prices.
 6             (d)   Whether Defendants’ Reference Prices on products offered on their
 7                   websites during the Class Periods are false representations.
 8             (e)   Whether and when Defendants learned that false Reference Prices on
                     products offered on their websites during the Class Periods are false
 9
                     representations.
10
               (f)   Whether Defendants disclosed to the Class during the Class Periods that
11                   the Reference Prices advertised on their websites are not based on
                     former prices.
12
13
               (g)   For the Nationwide Class, does Defendants’ deceptive pricing scheme
                     using false Reference Prices constitute “unfair, deceptive, untrue or
14                   misleading advertising” in violation of the California Unfair
15
                     Competition Law, Cal. Bus & Prof. Code § 17200, et seq.?

16             (h)   For the Nationwide Class, does Defendants’ deceptive pricing scheme
                     using false Reference Prices constitute false advertising in violation of
17                   the California False Advertising Law under Business & Professions
18                   Code section 17500, et seq.?

19             (i)   For the Nationwide Class, does Defendants’ deceptive pricing scheme
                     using false Reference Prices violate the California Consumer Legal
20                   Remedies Act under California Civil Code section 1750, et seq.?
21             (j)   For the Subclasses, does Defendants’ pricing scheme using false
22                   Reference Prices violate the consumer protection laws of the States of
                     New York, Florida, Maryland, Massachusetts, Michigan, and/or Ohio
23                   referenced in this Complaint?
24
               (k)   What did Defendants hope to gain from using a false Reference Price
25                   scheme?
26`            (l)   What did Defendants gain from their false Reference Price scheme?
27             (m)   Whether Defendants’ use of false Reference Prices on products offered
                     on their websites during the Class Periods was material.
28

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 1                 (n)    Whether Defendants had a duty to disclose to their customers that the
                          Reference prices were fake “original” prices in furtherance of sham
 2                        sales.
 3                 (o)    To what extent did Defendants’ conduct cause, and continue to cause,
 4                        harm to the Class?

 5                 (p)    Whether the members of the Class above are entitled to damages and/or
                          restitution.
 6
                   (q)    What type of injunctive relief is appropriate and necessary to enjoin
 7
                          Defendants from continuing to engage in false or misleading
 8                        advertising?
 9                 (r)    Whether Defendants’ conduct was undertaken with conscious disregard
                          of the rights of the members of the classes described above and was
10
                          done with fraud, oppression, and/or malice.
11
             146. Superiority. A class action is superior to other available methods for the fair
12
      and efficient adjudication of this controversy because individual litigation of the claims of
13
      all members of the Class described above is impracticable. Requiring each individual class
14
      member to file an individual lawsuit would unreasonably consume the amounts that may
15
      be recovered. Even if every member of the Class could afford individual litigation, the
16
      adjudication of at least tens of thousands of identical claims would be unduly burdensome
17
      to the courts. Individualized litigation would also present the potential for varying,
18
      inconsistent, or contradictory judgments and would magnify the delay and expense to all
19
      parties and to the court system resulting from multiple trials of the same factual issues. By
20
      contrast, the conduct of this action as a class action, with respect to some or all of the issues
21
      presented herein, presents no management difficulties, conserves the resources of the
22
      parties and of the court system, and protects the rights of the members of the Class. Plaintiff
23
      anticipates no difficulty in the management of this action as a class action. The prosecution
24
      of separate actions by individual members of the Class may create a risk of adjudications
25
      with respect to them that would, as a practical matter, be dispositive of the interests of the
26`
      other members of the Class who are not parties to such adjudications, or that would
27
      substantially impair or impede the ability of such non-party class members to protect their
28
      interests.
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1          147. Ascertainability. Defendants keep extensive computerized records of their
2    sales and customers through, among other things, databases storing customer orders,
3    customer order histories, customer profiles, and general marketing programs. Defendants
4    have one or more databases through which all members of the Class may be identified and
5    ascertained, and they maintain contact information, including email addresses and home
6    addresses (such as billing, mailing, and shipping addresses), through which notice of this
7    action is capable of being disseminated in accordance with due process requirements.
8
     VI.   ALTER EGO            AND      AGENCY         RELATIONSHIP           BETWEEN          THE
9          DEFENDANTS
10         A.     Boohoo Defendants.
11         148. Upon information and belief and at all times relevant to this Complaint:
12   Boohoo Group exercised substantial decision-making, discretion, and control over the
13   activities of Boohoo USA. This included the exercise of substantial decision-making,
14   discretion, and control over Boohoo USA with respect to its marketing activities relating
15   to the sale of products to all U.S. consumers on the U.S. version of Boohoo’s website:
16   http://us.boohoo.com. Likewise, Boohoo USA acted on behalf of Boohoo Group as its
17   agent within California, as well as the entire U.S., and was subject to its control with respect
18   to all of its activities, including, without limitation, its marketing activities relating to the
19   sale of products to all U.S. consumers on the U.S. version of Boohoo’s website:
20   http://us.boohoo.com.
21         149. Upon information and belief and at all times relevant to this Complaint:
22   Boohoo Limited exercised substantial decision-making, discretion, and control over the
23   activities of Boohoo USA. This included the exercise of substantial decision-making,
24   discretion, and control over Boohoo USA with respect to its marketing activities relating
25   to the sale of products to all U.S. consumers on the U.S. version of Boohoo’s website:
26` http://us.boohoo.com. Likewise, Boohoo USA acted on behalf of Boohoo Limited as its
27   agent within California, as well as the entire U.S., and was subject to its control with respect
28   to all of its activities, including, without limitation, its marketing activities relating to the

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 1   sale of products to all U.S. consumers on the U.S. version of Boohoo’s website:
 2   http://us.boohoo.com.
 3          150. Upon information and belief and at all times relevant to this Complaint:
 4   Boohoo Group exercised substantial decision-making, discretion, and control over the
 5   activities of Boohoo Limited. This included the exercise of substantial decision-making,
 6   discretion, and control over Boohoo Limited with respect to its marketing activities relating
 7   to the sale of products to all U.S. consumers on the U.S. version of Boohoo’s website:
 8   https://us.boohoo.com. Likewise, Boohoo Limited acted on behalf of Boohoo Group as its
 9   agent within California, as well as the entire U.S., and was subject to its control with respect
10   to all its activities, including, without limitation, its marketing activities relating to the sale
11   of products to all U.S. consumers, on the U.S. version of Boohoo’s website.
12          151. Upon information and belief and at all times relevant to this Complaint:
13   Boohoo Group, in actuality, was not really separate from Boohoo USA or Boohoo Limited.
14   Specifically, there is such unity of interest and ownership that separate personalities of the
15   three entities no longer exist and the failure to disregard their separate identities would
16   result in fraud or injustice.
17          152. Upon information and belief and at all times relevant to this Complaint:
18   Likewise, Boohoo Limited, in actuality, was not really separate from Boohoo USA.
19   Specifically, there is such unity of interest and ownership that separate personalities of the
20   two entities no longer exist and the failure to disregard their separate identities would result
21   in fraud or injustice.
22          153. Upon information and belief and at all times relevant to this Complaint: The
23   Boohoo Companies are all materially involved in the marketing and sale of products to
24   U.S. consumers, including California consumers, on the U.S. version of Boohoo’s website:
25   http://us.boohoo.com. This includes involvement in the false advertising and marketing,
26` deceptive pricing scheme, and other wrongdoing set forth in this Complaint.
27          154. The information forming the basis upon which Plaintiff has formed the beliefs
28   set forth in paragraphs 155 through 178 includes, but is not limited to, the information
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 1   stated in the ensuing paragraphs.
 2         155. Based on annual reports and at all times relevant to this Complaint: Boohoo
 3   Group had a controlling interest in and has 100% ownership of Boohoo Limited and
 4   Boohoo USA; and Boohoo Limited had a controlling interest in and has 100% ownership
 5   of Boohoo USA. Based upon information and belief and at all times relevant to this
 6   Complaint: The “subsidiaries” of Boohoo Group (including Boohoo Limited and Boohoo
 7   USA) operated like divisions or departments within the larger Boohoo company. Boohoo
 8   Group existed for the purpose of exercising dominion and control over the Boohoo
 9   Companies, to fund their activities, and to collect their profits. Boohoo Limited acted on
10   behalf of Boohoo Group and was substantially subject to its control. Boohoo USA acted
11   on behalf of both Boohoo Group and Boohoo Limited and was substantially subject to their
12   control.
13         156. Upon information and belief and at all times relevant to this Complaint: The
14   Boohoo Companies are all materially involved in the marketing and sale of products to
15   U.S. consumers on the U.S. version of the company’s website, which can be found at
16   http://us.boohoo.com. This includes involvement in the false advertising and marketing,
17   deceptive pricing scheme, and other wrongdoing set forth in this Second Amended
18   Complaint.
19         157. Boohoo Group itself boasts that: “We Are boohoo, the brand behind the
20   clothes helping you to #DOYOURTHING. Our brands, boohoo, boohooMAN,
21   PrettyLittleThing, Nasty Gal, Miss Pap, Karen Millen and Coast design, source, market
22   and sell clothing, shoes, accessories and beauty products. We’ve been doing our thing
23   since 2006 and we’ve gone global with offices in Manchester, Burnley, London, Leicester,
24   Paris, Los Angeles, and Sydney. We’re always bringing something new with up to 100
25   new pieces hitting site every day. And we’re 24/7 on social with millions of followers.”
26` Boohoo Group sees itself as having “grown from Manchester’s best kept fashion secret to
27   one of the fastest growing international retailers,” through the various brands Boohoo
28   Group controls, including boohoo, PrettyLittleThing, and NastyGal.
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 1         158. Boohoo Group routinely tells investors that it sells its products to customers
 2   across the globe, which includes the United States. For example, in one communication to
 3   its investors, Boohoo Group states: “Our vision is to lead the fashion e-commerce market
 4   globally, in a way that delivers for our customers, people, suppliers and stakeholders. Our
 5   brands operate along the same principles today as when boohoo was founded in 2006:
 6   through a test and repeat model that brings the latest trends and fashion inspiration in a
 7   matter of weeks to our customers across the world.” Similarly, Boohoo Group tells
 8   investors: “Our brands design, source, market and sell clothing, shoes, accessories and
 9   beauty products targeted at 16-40-year-old consumers in the UK and internationally.”
10         159. In another communication, Boohoo Group states: “we want to thank our
11   customers, our amazing teams and our wonderful suppliers for their continued support.”
12   Boohoo itself thus admits that it controls its brands and considers the customers and teams
13   of its various brands its own direct customers and teams. Boohoo Group also boasts of
14   having “5000+ colleagues working across the world,” referring to its employees across its
15   various brands and subsidiaries, including Boohoo USA and Boohoo Limited, as one big
16   collective company would.
17         160. By way of further example, Boohoo Group’s LinkedIn page states they have
18   offices around the world including “Los Angeles,” with PLT listed as one of “our brands.”
19   Boohoo Group admittedly considers the offices and headquarters of its various subsidiaries
20   as its own offices and headquarters within any given country.
21         161. The philosophy of the Boohoo Companies is that they do not open stores, they
22   open “countries” by opening a marketing hub within a country. For example, Boohoo
23   Group controls and directs sales of its boohoo products in the U.S. by controlling and
24   utilizing together Boohoo Limited (one of Boohoo Group’s international “Trading” arms)
25   and Boohoo USA (Boohoo Group’s U.S. “Marketing” hub for the sale of boohoo products
26` in the U.S.).
27         162. Boohoo Limited’s 2019 Annual Report states that its “controlling party is
28   boohoo group plc, [i.e., Boohoo Group].” Boohoo Group’s 2020 Annual Report states that
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 1   its “financial statements consolidate those of its subsidiaries and the Employee Benefit
 2   Trust. All intercompany transactions between group companies are eliminated.” Boohoo
 3   Group also boasts that: “Subsidiaries are entities controlled by the group [referring to
 4   Boohoo Group]. The group controls an entity when the group is exposed to, or has rights
 5   to, variable returns from its involvement with the entity and has the ability to affect those
 6   returns through its power over the entity.” The same report lists Boohoo Limited and
 7   Boohoo USA as “subsidiaries.”
 8         163. Upon information and belief and at all times relevant to this Complaint: In or
 9   about 2017-18, Boohoo Group, exercising its dominion and control over its various
10   subsidiaries and brands, directed its subsidiaries, including Boohoo, to leverage the over-
11   arching benefits and shared service functions of the collective Boohoo Group. As an
12   example, Boohoo Group and Boohoo Limited directed and caused Boohoo USA to
13   purchase a property at 2135 Bay Street, Los Angeles, California for $3.5 million, and then
14   to transfer that property to NastyGal USA, Inc. (another Boohoo Group subsidiary Boohoo
15   Group controls) for $3.5 million. As another example, Boohoo Group directed and caused
16   Boohoo Limited to register Boohoo’s U.S. trademarks for the collective benefit of the
17   Boohoo Companies.
18         164. In August 2019, Boohoo Group issued the following statement concerning the
19   shared supply chain for the Boohoo Companies that supplies products to the U.S., including
20   California: “The boohoo group (‘boohoo group’) is a leading online fashion retail group.
21   Our brands include boohoo, boohooMAN, PrettyLittleThing, Nasty Gal and MissPap. Our
22   brands design, source, market and sell clothing, shoes, accessories and beauty products to
23   customers in almost every country in the world. These products are distributed globally
24   from two warehouses in the UK, located in Burnley and in Sheffield.”
25         165. Indeed, the Boohoo Companies are run and controlled by a common,
26` overlapping group of individuals who hold the same or similar position(s) at each company.
27   The Boohoo Companies run at the control and direction of Mahmud Kamani (“M.
28   Kamani”). M. Kamani is an Executive Director and the Co-founder & Group Executive
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 1   Chairman of the Boohoo Group; he is also the Chief Executive Officer of Boohoo USA,
 2   with an address of “49-51 Dale Street Manchester, England M1 2HF United Kingdom of
 3   Great Britain and Northern Ireland (the),” the same address as Boohoo Group and Boohoo
 4   Limited’s headquarters. Similarly, Neil Catto (“Catto”), is an Executive Director and Chief
 5   Financial Officer of Boohoo Group; he is also the Chief Financial Officer of Boohoo USA
 6   with the same Manchester address as M. Kamani. M. Kamani, Catto, and Carol Kane
 7   (“Kane”) are also Directors of Boohoo Limited. M. Kamani and Kane controlled Boohoo
 8   Limited almost entirely until 2019 when they transferred the company to a holding
 9   company, Boohoo Holdings, and took on positions as “Directors.” Nevertheless, Kamani
10   and Kane continue to exercise significant dominance and control over Boohoo Limited
11   along with Boohoo Group; meanwhile Catto runs the finances for the Boohoo Companies.
12            166. As further proof of the absence of any meaningful separateness of Boohoo
13   Group and Boohoo Limited the companies share the same office address located at 49-51
14   Dale Street, Manchester, England M1 2HF. Boohoo Group and Boohoo Limited maintain
15   their U.S. headquarters and principal place of business at Boohoo USA’s headquarters and
16   principal place of business located at 8431 Melrose Place, Los Angeles, CA 90069.
17   Outside of these Los Angeles headquarters, there is no other place within the United States
18   where Boohoo Limited or Boohoo USA have employees, offices, facilities, or any other
19   physical presence.
20            167. Boohoo Group also shares numerous administrative functions across all of its
21   brands, including boohoo, PrettyLittleThing, and Nasty Gal. This includes, among other
22   things, financing, information technology, e-commerce, and procurement of non-stock
23   items.
24            168. Upon information and belief and at all times relevant to this Complaint: In
25   2019, Boohoo Group and Boohoo Limited directed and caused Boohoo USA to move the
26` Boohoo Companies’ collective U.S. principal place of business, office, and marketing hub
27   in the U.S. from New York to Los Angeles, California. Boohoo Group now boasts about
28   having offices in “Los Angeles.” The Boohoo Companies’ U.S. headquarters is presently
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 1   located at 8431 Melrose Place, Los Angeles, CA 90069. This is a 4,000-square-foot facility
 2   that boasts fancy offices and showrooms complete with lounge areas, an acrylic staircase,
 3   a fully stocked bar, custom furniture, neon signage, a wraparound balcony, and studio to
 4   create content for the Boohoo’s U.S. website.
 5         169. Upon information and belief and at all times relevant to this Complaint:
 6   Boohoo USA is closely involved with, and responsible in substantial part for, marketing
 7   and product direction on http://us.boohoo.com. This is the same site from which, as
 8   detailed above, certain Plaintiffs and members of the Class purchased items and which
 9   caused harm to them as a result of the false advertising and marketing, deceptive pricing
10   scheme, and other wrongdoing described in this Complaint.
11         170. In addition, Boohoo USA collects all credit card payments of U.S. sales. In
12   other words, every time a credit card sale is made in the U.S. on http://us.boohoo.com,
13   Boohoo USA receives the money. This money from U.S. sales is later remitted to Boohoo
14   Limited and/or Boohoo Group with a markup, which further demonstrates that they are all
15   in reality one big company.
16         171. Boohoo USA maintains Boohoo Group and Boohoo Limited’s U.S.
17   headquarters and marketing office for the “boohoo” brand in Los Angeles, California, so
18   that the Boohoo Companies can maximize sales to U.S. residents. For example, in its
19   annual report Boohoo Group, which owns 100% of Boohoo USA through Boohoo Limited,
20   describes Boohoo USA’s principal activity as “Marketing,” and identifies the address of
21   Boohoo USA’s Los Angeles headquarters office. Boohoo Limited, which owns 100
22   percent of Boohoo USA, also describes Boohoo USA’s “Principal activity” as
23   “Marketing.”
24         172. There are no physical “Boohoo” retail stores in the U.S. Nor is Plaintiff aware
25   of any “Boohoo” business other than the online sale of clothing, shoes, and accessories.
26` Therefore, the only “marketing” Boohoo USA is engaged in is with regards to the sale of
27   boohoo clothing, shoes, and accessories to U.S. customers on http://us.boohoo.com—the
28   same marketing that, as described below, constitutes false advertising in violation of the
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 1   law.
 2          173. Based on the foregoing upon information and belief and at all times relevant
 3   to this Complaint: In conjunction with Boohoo USA, Boohoo Group and Boohoo Limited
 4   are involved in the operation and marketing aspects of http://us.boohoo.com, and in
 5   directing the U.S. marketing activities of Boohoo USA in order to directly sell goods in the
 6   U.S. market.
 7          174. As further proof that Boohoo Group controls the “boohoo” brand through the
 8   Boohoo Companies acting as one big company, Boohoo calls the collective companies the
 9   “boohoo Family.” The Boohoo Companies operate a careers website stating that “boohoo”
10   as a brand has offices in “Manchester, Burnley, London, Leicester, Paris, and Los
11   Angeles.” When searching for jobs to “BE PART OF THE BOOHOO FAMILY,” users
12   can choose Los Angeles as a location to search. As of August 3, 2020, Boohoo was hiring
13   a permanent “Social Media Coordinator” to be based in Los Angeles as a “[f]ull time
14   employee working out of the boohoo US office in LA,” and “working with the US
15   marketing team and members of the UK social teams.” Under the overarching direction of
16   Boohoo Group, Boohoo Limited in the UK and Boohoo USA in Los Angeles together
17   coordinate the marketing and sales of boohoo products to U.S. and California residents.
18          175. Upon information and belief and at all times relevant to this Complaint: For
19   the collective benefit of the Boohoo Companies, Boohoo USA solicited a paid intern to
20   “[a]ssist on day to day project management and support for the US marketing team
21   (creating and updating proper documents, raising POs, overall marketing admin tasks)[;]
22   [a]ssist in planning and executing overall social media content and campaign strategies
23   from a US perspective for boohoo initiatives (social, paid social, email, web)[;] [a]ssist in
24   provide tracking, analytics, and reporting of performance for all US led campaigns on
25   boohoo platforms[;] [a]ssist in conceptualizing and developing US led initiatives that
26` represent the brand and are consistent with brand identity.”
27          176. Upon information and belief and at all times relevant to this Complaint: In
28   2015, Boohoo Group and Boohoo Limited directed and caused Boohoo USA to sponsor at
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 1    least one H-1B visa for a “Vice President of Marketing” for the collective benefit of the
 2    Boohoo Companies.
 3          177. Upon information and belief and at all times relevant to this Complaint:
 4    Boohoo Group, through, inter alia, M. Kamani, exercised substantial dominion and control
 5    over Boohoo Limited and Boohoo USA’s operations, disregarded the existence of these
 6    entities, failed to maintain an arm’s length relationship with these subsidiaries, used
 7    substantial assets of these subsidiaries for its own benefit, caused the assets of these
 8    subsidiaries to be transferred to itself without adequate consideration in a manner that left
 9    the subsidiaries undercapitalized to pay judgments and other such obligations.
10          178. Under the facts and circumstances of this case, adherence to the fiction of
11    separate existence of Boohoo Group, Boohoo Limited, and Boohoo USA would sanction
12    a fraud and promote injustice in that it would allow the Boohoo Companies to use their
13    corporate layering scheme to continue selling goods in the U.S. market without following
14    federal, state, and local laws, and to avoid payment of damages to U.S. residents for injuries
15    caused by the Boohoo Companies acting collectively as one big unit.
16
            B.     PLT Defendants
17
            179. Upon information and belief and at all times relevant to this Complaint:
18
      Boohoo Group exercised substantial decision-making, discretion, and control over the
19
      activities of PLT USA.      This included the exercise of substantial decision-making,
20
      discretion, and control over PLT USA with respect to its marketing activities relating to
21
      the sale of products to all U.S. consumers, including California consumers, on the U.S.
22
      version of PLT’s website: https://www.prettylittlething.us. Likewise, PLT USA acted on
23
      behalf of Boohoo Group as its agent within California, as well as the entire U.S., and was
24
      subject to its control with respect to all its activities, including, without limitation, its
25
      marketing activities relating to the sale of products to all U.S. consumers on the U.S.
26`
      version of PLT’s website: https://www.prettylittlething.us.
27
            180. Upon information and belief and at all times relevant to this Complaint: PLT
28
      Limited exercised substantial decision-making, discretion, and control over the activities
                                                 -50-
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 1   of PLT USA. This included the exercise of substantial decision-making, discretion, and
 2   control over PLT USA with respect to its marketing activities relating to the sale of
 3   products     to   all   U.S.    consumers   on   the    U.S.   version    of   PLT’s    website:
 4   https://www.prettylittlething.us. Likewise, PLT USA acted on behalf of PLT Limited as
 5   its agent within California, as well as the entire U.S., and was subject to its control with
 6   respect to all of its activities, including, without limitation, its marketing activities relating
 7   to the sale of products to all U.S. consumers on the U.S. version of PLT’s website:
 8   https://www.prettylittlething.us.
 9          181. Upon information and belief and at all times relevant to this Complaint:
10   Boohoo Group exercised substantial decision-making, discretion, and control over the
11   activities of PLT Limited. This included the exercise of substantial decision-making,
12   discretion, and control over PLT Limited with respect to its marketing activities relating to
13   the sale of products to all U.S. consumers on the U.S. version of PLT’s website:
14   https://www.prettylittlething.us. Likewise, PLT Limited acted on behalf of Boohoo Group
15   as its agent within California, as well as the entire U.S., and was subject to its control with
16   respect to all of its activities, including, without limitation, its marketing activities relating
17   to the sale of products to all U.S. consumers on the U.S. version of PLT’s website:
18   https://www.prettylittlething.us.
19          182. Upon information and belief and at all times relevant to this Complaint:
20   Boohoo Group, in actuality, was not really separate from PLT USA or PLT Limited.
21   Specifically, there is such unity of interest and ownership that separate personalities of the
22   three entities no longer exist and the failure to disregard their separate identities would
23   result in fraud or injustice.
24          183. Upon information and belief and at all times relevant to this Complaint:
25   Likewise, PLT Limited, in actuality, was not really separate from PLT USA. Specifically,
26` there is such unity of interest and ownership that separate personalities of the two entities
27   no longer exist and the failure to disregard their separate identities would result in fraud or
28   injustice.
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1          184. Upon information and belief and at all times relevant to this Complaint: The
2    Boohoo-PLT Companies are all materially involved in the marketing and sale of products
3    to U.S. consumers on the U.S. version of PLT’s website: https://www.prettylittlething.us.
4    This includes involvement in the false advertising and marketing, deceptive pricing
5    scheme, and other wrongdoing set forth in this Complaint.
6          185. The information forming the basis upon which Plaintiff has formed the beliefs
7    set forth in paragraphs 186 through 206 includes, but is not limited to, the information
8    stated in the ensuing paragraphs.
9          186. Based on annual reports and other public sources, at all times relevant to this
10   Complaint: Boohoo Group had a controlling interest in and has 100% ownership of PLT
11   Limited and 100% ownership of PLT USA both directly and through its subsidiaries; and
12   PLT Limited had a controlling interest in and has 100% ownership of PLT USA. Based
13   upon information and belief and at all times relevant to this Complaint: The “subsidiaries”
14   of Boohoo Group (including PLT Limited and PLT USA) operated like divisions or
15   departments within the larger Boohoo company. Boohoo Group existed for purpose of
16   exercising dominion and control over the Boohoo-PLT Companies, to fund their activities,
17   and to collect their profits. PLT Limited acted on behalf of Boohoo Group and was
18   substantially subject to its control. PLT USA acted on behalf of both Boohoo Group and
19   PLT Limited and was substantially subject to their control.
20         187. Upon information and belief and at all times relevant to this Complaint: The
21   Boohoo-PLT Companies are all materially involved in the marketing and sale of products
22   to U.S. consumers on the U.S. version of PLT’s website: https://www.prettylittlething.us.
23   This includes involvement in the false advertising and marketing, deceptive pricing
24   scheme, and other wrongdoing set forth in this Complaint.
25         188. As noted above, Boohoo Group itself boasts that: “We Are boohoo, the brand
26` behind the clothes helping you to #DOYOURTHING. Our brands, boohoo, boohooMAN,
27   PrettyLittleThing, Nasty Gal, Miss Pap, Karen Millen and Coast design, source, market
28   and sell clothing, shoes, accessories and beauty products. We’ve been doing our thing
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 1   since 2006 and we’ve gone global with offices in Manchester, Burnley, London, Leicester,
 2   Paris, Los Angeles, and Sydney. We’re always bringing something new with up to 100
 3   new pieces hitting site every day. And we’re 24/7 on social with millions of followers.”
 4   Boohoo Group sees itself as having “grown from Manchester’s best kept fashion secret to
 5   one of the fastest growing international retailers,” through the various brands Boohoo
 6   Group controls, including boohoo, PrettyLittleThing, and NastyGal.
 7         189. Boohoo Group routinely tells investors that it sells its products to customers
 8   across the globe, which includes the United States. For example, in one communication to
 9   its investors, Boohoo Group states: “Our vision is to lead the fashion e-commerce market
10   globally, in a way that delivers for our customers, people, suppliers and stakeholders. Our
11   brands operate along the same principles today as when boohoo was founded in 2006:
12   through a test and repeat model that brings the latest trends and fashion inspiration in a
13   matter of weeks to our customers across the world.” Similarly, Boohoo Group tells
14   investors: “Our brands design, source, market and sell clothing, shoes, accessories and
15   beauty products targeted at 16-40-year-old consumers in the UK and internationally.”
16         190. In another communication, Boohoo Group states: “we want to thank our
17   customers, our amazing teams and our wonderful suppliers for their continued support.”
18   Boohoo Group itself thus admits that it controls its brands and considers the customers and
19   teams of its various brands its own direct customers and teams. Boohoo Group also boasts
20   of having “5000+ colleagues working across the world,” referring to its employees across
21   its various brands and subsidiaries, including PLT USA and PLT Limited, as one big
22   collective company would.
23         191. By way of further example, Boohoo Group’s LinkedIn page states they have
24   offices around the world including “Los Angeles,” with PLT listed as one of “our brands.”
25   Boohoo Group admittedly considers the offices and headquarters of its various subsidiaries
26` as its own offices and headquarters within any given country.
27         192. The philosophy of the Boohoo-PLT Companies is that they do not open stores,
28   they open “countries” by opening a marketing hub within a country. Boohoo Group thus
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 1   controls and directs sales of its PLT products in the U.S. market by controlling and utilizing
 2   together PLT Limited (one of Boohoo Group’s international “Trading” arm) and PLT USA
 3   (Boohoo Group’s U.S. “Marketing” hub for the sale of PLT products in the U.S.).
 4         193. PLT Limited’s 2019 Annual Report states that “[t]he company [referring to
 5   PLT Limited] is controlled by boohoo group plc and is included in the consolidated
 6   financial statements of boohoo group plc.” Meanwhile, Boohoo Group’s 2020 Annual
 7   Report states that its “financial statements consolidate those of its subsidiaries and the
 8   Employee Benefit Trust. All intercompany transactions between group companies are
 9   eliminated.” Boohoo Group also boasts that: “Subsidiaries are entities controlled by the
10   group [referring to Boohoo Group]. The group controls an entity when the group is exposed
11   to, or has rights to, variable returns from its involvement with the entity and has the ability
12   to affect those returns through its power over the entity.” The same report lists PLT
13   Limited and PLT USA as “subsidiaries.”
14         194. Upon information and belief and at all times relevant to this Complaint: In or
15   about 2017-18, Boohoo Group, exercising its dominion and control over its various
16   subsidiaries and brands, directed its subsidiaries, including PLT, to leverage the over-
17   arching benefits and shared service functions of the collective Boohoo Group. As an
18   example, Boohoo Group and Boohoo Limited directed and caused Boohoo USA to
19   purchase a property at 2135 Bay Street, Los Angeles, California for $3.5 million, and then
20   to transfer that property to NastyGal USA, Inc. (another Boohoo Group subsidiary Boohoo
21   Group controls) for $3.5 million. As another example, Boohoo Group directed and caused
22   PLT Limited to register PLT’s U.S. trademarks for the collective benefit of the Boohoo-
23   PLT Companies.
24         195. In August 2019, Boohoo Group issued the following statement concerning the
25   shared supply chain for the Boohoo-PLT Companies that supplies products to the U.S.:
26` “The boohoo group (“boohoo group”) is a leading online fashion retail group. Our brands
27   include boohoo, boohooMAN, PrettyLittleThing, Nasty Gal and MissPap. Our brands
28   design, source, market and sell clothing, shoes, accessories and beauty products to
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1    customers in almost every country in the world. These products are distributed globally
2    from two warehouses in the UK, located in Burnley and in Sheffield.”
3             196. Indeed, the Boohoo-PLT Companies are run and controlled by a common,
4    overlapping group of individuals who hold the same or similar position(s) at each company.
5    The Boohoo-PLT Companies run at the control and direction of Mahmud Kamani. M.
6    Kamani is the co-founder of the Boohoo Group along with Carol Kane. Far from keeping
7    a hands-off approach to operating the PLT business, Boohoo Group acknowledged the
8    additional control its management would need to exert over the PLT business by increasing
9    its executive directors’ base salaries for the increased workload to “reflect the substantial
10   increase in the scale and complexity of the company following of [sic] the acquisitions of
11   Nasty Gal and PLT and the resulting increase in the responsibilities of the executive
12   directors.” The executive directors Boohoo Group was referring to were Mahmud Kamani,
13   Carol Kane, and Neil Catto—all of whom are directors of PLT Limited. Catto is also listed
14   as the “CFO” of Boohoo Group and PLT USA. Keri Devine is listed as the “Secretary”
15   for Boohoo Group, PLT Limited, and PLT USA. Meanwhile, Mahmud Kamani’s son,
16   Umar Mahmud Kamani, is the CEO of PLT USA. Based on his position at PLT USA,
17   Umar Mahmud Kamani has been reported as saying that he received a five-year U.S. work
18   visa in 2018 and plans to spend the majority of his time working out of West Hollywood,
19   California to grow the PLT brand internationally from within California working directly
20   with and at the overarching direction of PLT Limited and Boohoo Group.
21            197. As further proof of the absence of any meaningful separateness of Boohoo
22   Group and PLT Limited, the companies share the same office address located at 49-51 Dale
23   Street, Manchester, England M1 2HF.
24            198. Boohoo Group also shares numerous administrative functions across all of its
25   brands, including boohoo, PrettyLittleThing, and Nasty Gal. This includes, among other
26` things, financing, information technology, e-commerce, and procurement of non-stock
27   items.
28            199. Upon information and belief and at all times relevant to this Complaint: In
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1    2019, Boohoo Group and PLT Limited directed and caused PLT USA to open the Boohoo-
2    PLT Companies’ collective U.S. principal place of business, office, and marketing hub in
3    Los Angeles, California.     Boohoo Group now boasts about having offices in “Los
4    Angeles.” The Boohoo-PLT Companies’ U.S. headquarters is presently located at 8587
5    Melrose Avenue, Los Angeles, CA 90069. This is a large facility that boasts fancy offices
6    and showrooms complete with lounge areas, a fully stocked bar, custom furniture, neon
7    signage, and a studio to create content for the PLT’s U.S. website; the content is shared
8    among and between PLT’s various international websites. Umar Mahmud Kamani, PLT
9    USA’s CEO was quoted as saying, “There’s no brick-and-mortar in the plan. It’s more
10   profitable for me, and more beneficial for me, to open a country rather than a store.”
11         200. Upon information and belief and at all times relevant to this Complaint: PLT
12   USA is closely involved with, and responsible in substantial part for, marketing on the U.S.
13   version of PLT’s website: https://www.prettylittlething.us and leveraging the marketing
14   strategy to PLT’s international websites, as it works to grow the brand internationally from
15   within the U.S., according to CEO Umar Mahmud Kamani. The U.S. website is the same
16   site from which, as detailed above, Plaintiff and members of the class purchased items and
17   that caused harm to Plaintiff and the class because of the false advertising and marketing,
18   deceptive pricing scheme, and other wrongdoing described in this Complaint.
19         201. In addition, PLT USA collects all credit card payments of U.S. sales. In other
20   words, every time a credit card sale is made in the U.S. on https://prettylittlething.us, PLT
21   USA receives the money. This money from U.S. sales is later remitted to PLT Limited
22   and/or Boohoo Group with a markup, which further demonstrates that they are all in reality
23   one big company.
24         202. PLT USA thus maintains Boohoo Group and PLT Limited’s U.S.
25   headquarters and marketing office for the “PLT” brand in Los Angeles, California, so that
26` the Boohoo-PLT Companies can maximize sales to U.S. residents and grow the business
27   internationally. For example, in its annual report Boohoo Group, which owns and exercises
28   dominance and control over PLT USA through PLT Limited, describes PLT USA’s
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 1   principal activity as “Marketing,” and identifies the address of PLT USA’s Los Angeles
 2   headquarters office. PLT Limited, which also owns and exercises dominance and control
 3   over PLT USA, also describes PLT USA’s “Principal activity” as “Marketing.”
 4         203. There are no physical “PLT” retail stores in the U.S. Nor is Plaintiff aware of
 5   any “PLT” business other than the online sale of clothing, shoes, and accessories.
 6   Therefore, the only “marketing” PLT USA is engaged in is with regards to the sale of
 7   “PrettyLittleThing”    clothing,    shoes,   and   accessories   to   U.S.   customers    on
 8   https://www.prettylittlething.us—the same marketing that, as described herein, constitutes
 9   false advertising in violation of the law.
10         204. Based on the foregoing upon information and belief and at all times relevant
11   to this Complaint: In conjunction with PLT USA, Boohoo Group and PLT Limited are
12   involved in the operation and marketing aspects of https://www.prettylittlething.us, and in
13   directing the U.S. marketing activities of PLT USA in order to directly sell goods in the
14   U.S. and California markets.
15         205. Upon information and belief and at all times relevant to this Complaint:
16   Boohoo Group, through M. Kamani, among others, exercised substantial dominion and
17   control over PLT Limited and PLT USA’s operations, disregarded the existence of these
18   entities, failed to maintain an arm’s length relationship with these subsidiaries, used
19   substantial assets of these subsidiaries for its own benefit, caused the assets of these
20   subsidiaries to be transferred to itself without adequate consideration in a manner that left
21   the subsidiaries undercapitalized to pay judgments and other such obligations.
22         206. Under the facts and circumstances of this case, adherence to the fiction of
23   separate existence of Boohoo Group, PLT Limited, and PLT USA would sanction a fraud
24   and promote injustice in that it would allow the Boohoo Companies to use their corporate
25   layering scheme to continue selling goods in U.S. markets without following federal, state,
26` or local laws, and to avoid payment of damages to U.S. residents for injuries caused by the
27   Boohoo Companies acting collectively as one big unit.
28

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 1         C.     Nasty Gal Defendants

 2         207. Upon information and belief and at all times relevant to this Complaint:

 3   Boohoo Group exercised substantial decision-making, discretion, and control over the

 4   activities of Nasty Gal USA. This included the exercise of substantial decision-making,

 5   discretion, and control over Nasty Gal USA with respect to its marketing activities relating

 6   to the sale of products to all U.S. consumers on the U.S. version of http://nastygal.com.

 7   Likewise, Nasty Gal USA acted on behalf of Boohoo Group as its agent within California,

 8   as well as the entire U.S., and was subject to its control with respect to all of its activities,

 9   including, without limitation, its marketing activities relating to the sale of products to all

10   U.S. consumers on the U.S. version of http://nastygal.com.

11         208. Upon information and belief and at all times relevant to this Complaint: Nasty

12   Gal Limited exercised substantial decision-making, discretion, and control over the

13   activities of Nasty Gal USA. This included the exercise of substantial decision-making,

14   discretion, and control over Nasty Gal USA with respect to its marketing activities relating

15   to the sale of products to all U.S. consumers on the U.S. version of http://nastygal.com.

16   Likewise, Nasty Gal USA acted on behalf of Nasty Gal Limited as its agent within

17   California, as well as the entire U.S., and was subject to its control with respect to all of its

18   activities, including, without limitation, its marketing activities relating to the sale of

19   products to all U.S. consumers on the U.S. version of http://nastygal.com.

20         209. Upon information and belief and at all times relevant to this Complaint:

21   Boohoo Group exercised substantial decision-making, discretion, and control over the

22   activities of Nasty Gal Limited. This included the exercise of substantial decision-making,

23   discretion, and control over Nasty Gal Limited with respect to its marketing activities

24   relating to the sale of products to all U.S. consumers on the U.S. version of

25   http://nastygal.com. Likewise, Nasty Gal Limited acted on behalf of Boohoo Group as its

26` agent within California, as well as the entire U.S., and was subject to its control with respect
27   to all of its activities, including, without limitation, its marketing activities relating to the

28   sale of products to all U.S. consumers on the U.S. version of http://nastygal.com.

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 1         210. Upon information and belief and at all times relevant to this Complaint:
 2   Boohoo Group, in actuality, was not really separate from Nasty Gal USA or Nasty Gal
 3   Limited.    Specifically, there is such unity of interest and ownership that separate
 4   personalities of the three entities no longer exist and the failure to disregard their separate
 5   identities would result in fraud or injustice.
 6         211. Upon information and belief and at all times relevant to this Complaint:
 7   Likewise, Nasty Gal Limited, in actuality, was not really separate from Nasty Gal USA.
 8   Specifically, there is such unity of interest and ownership that separate personalities of the
 9   two entities no longer exist and the failure to disregard their separate identities would result
10   in fraud or injustice.
11         212. Upon information and belief and at all times relevant to this Complaint: The
12   Boohoo-NG Companies are all materially involved in the marketing and sale of products
13   to U.S. consumers, on the U.S. version of the company’s website, located at
14   http://nastygal.com. This includes involvement in the false advertising and marketing,
15   deceptive pricing scheme, and other wrongdoing set forth in this Complaint.
16         213. The information forming the basis upon which Plaintiff has formed the beliefs
17   set forth in paragraphs 214 through 245 includes, but is not limited to, the information
18   stated in the ensuing paragraphs.
19         214. Based on annual reports and other public sources at all times relevant to this
20   Complaint: Boohoo Group had a controlling interest in and has 100% ownership of Nasty
21   Gal Limited and 100% ownership in Nasty Gal USA; and Nasty Gal Limited had a
22   controlling interest in, and has 100% ownership of, Nasty Gal USA.                Based upon
23   information and belief and at all times relevant to this Complaint: The “subsidiaries” of
24   Boohoo Group (including Nasty Gal Limited and Nasty Gal USA) operated like divisions
25   or departments within the larger Boohoo company. Boohoo Group existed for purpose of
26` exercising dominion and control over the Boohoo-NG Companies, to fund their activities,
27   and to collect their profits. Nasty Gal Limited acted on behalf of Boohoo Group and was
28   substantially subject to its control. Nasty Gal USA acted on behalf of both Boohoo Group
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 1   and Nasty Gal Limited and was substantially subject to their control.
 2         215. Boohoo Group itself boasts that: “We Are boohoo, the brand behind the
 3   clothes helping you to #DOYOURTHING. Our brands, boohoo, boohooMAN,
 4   PrettyLittleThing, Nasty Gal, Miss Pap, Karen Millen and Coast design, source, market
 5   and sell clothing, shoes, accessories and beauty products. We’ve been doing our thing
 6   since 2006 and we’ve gone global with offices in Manchester, Burnley, London, Leicester,
 7   Paris, Los Angeles, and Sydney. We’re always bringing something new with up to 100
 8   new pieces hitting site every day. And we’re 24/7 on social with millions of followers.”
 9   Boohoo Group sees itself as having “grown from Manchester’s best kept fashion secret to
10   one of the fastest growing international retailers,” through the various brands Boohoo
11   Group controls, including boohoo, PrettyLittleThing, and Nasty Gal.
12         216. Boohoo Group routinely tells investors that it sells its products to customers
13   across the globe, which includes the United States and, specifically, California. For
14   example, in one communication to its investors, Boohoo Group states: “Our vision is to
15   lead the fashion e-commerce market globally, in a way that delivers for our customers,
16   people, suppliers and stakeholders. Our brands operate along the same principles today as
17   when boohoo was founded in 2006: through a test and repeat model that brings the latest
18   trends and fashion inspiration in a matter of weeks to our customers across the world.”
19   Similarly, Boohoo Group tells investors: “Our brands design, source, market and sell
20   clothing, shoes, accessories and beauty products targeted at 16-40-year-old consumers in
21   the UK and internationally.”
22         217. In another communication, Boohoo Group states: “we want to thank our
23   customers, our amazing teams and our wonderful suppliers for their continued support.”
24   Boohoo Group itself thus admits that it controls its brands and considers customers of its
25   various brands its own direct customers and teams. Boohoo Group also boasts of having
26` “5000+ colleagues working across the world,” referring to its employees across its various
27   brands and subsidiaries, including Nasty Gal USA and Nasty Gal Limited, as one big
28   collective company would.
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1          218. Boohoo Group’s own public filings and statements published in the public
2    record make it very clear that it operates in the United States—and in particular, operates
3    Nasty Gal in Los Angeles. For example, in 2018, it stated in its Annual Report: “We
4    opened new offices in Los Angeles for our US marketing team and in Manchester for the
5    expanding design, product and buying teams.” By way of further example, Boohoo
6    Group’s LinkedIn page states they have offices around the world, including “Los Angeles,”
7    with Nasty Gal listed as one of “our brands.” Boohoo Group admittedly considers the
8    offices and headquarters of its various subsidiaries as its own offices and headquarters
9    within any given country.
10         219. The philosophy of all the companies owned and controlled by Boohoo Group
11   is that they do not open stores, they open “countries” by opening a marketing hub within a
12   country. For example, Boohoo Group controls and directs sales of its Nasty Gal products
13   in the U.S. by controlling and utilizing together Nasty Gal Limited (Boohoo Group’s
14   international “Trading” arm) and Nasty Gal USA (Boohoo Group’s U.S. “Market” hub).
15         220. Nasty Gal Limited refers to Boohoo Group PLC as its “ultimate parent
16   undertaking and controlling party.”
17         221. Boohoo Group’s 2020 Annual Report states that its “financial statements
18   consolidate those of its subsidiaries and the Employee Benefit Trust. All intercompany
19   transactions between group companies are eliminated.” Boohoo Group also boasts that:
20   “Subsidiaries are entities controlled by the group [referring to Boohoo Group]. The group
21   controls an entity when the group is exposed to, or has rights to, variable returns from its
22   involvement with the entity and has the ability to affect those returns through its power
23   over the entity.”   The same report lists Nasty Gal Limited and Nasty Gal USA as
24   “subsidiaries.”
25         222. Upon information and belief and at all times relevant to this Complaint: In or
26` about 2017-18, Boohoo Group, exercising its dominion and control over its various
27   subsidiaries and brands, directed Boohoo, Nasty Gal, and PrettyLittleThing to leverage the
28   over-arching benefits and shared service functions of the collective Boohoo Group. As an
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1    example, Boohoo Group and Boohoo.com UK Limited directed and caused Boohoo.com
2    USA Inc. to purchase a property at 2135 Bay Street, Los Angeles, California for $3.5
3    million, and then to transfer that property to Nasty Gal USA for $3.5 million.
4          223. In August 2019, Boohoo Group issued the following statement concerning the
5    shared supply chain for all the companies owned and controlled by Boohoo Group which
6    supplies products to the U.S., including California: “The boohoo group (‘boohoo group’)
7    is a leading online fashion retail group. Our brands include boohoo, boohooMAN,
8    PrettyLittleThing, Nasty Gal and MissPap. Our brands design, source, market and sell
9    clothing, shoes, accessories and beauty products to customers in almost every country in
10   the world. These products are distributed globally from two warehouses in the UK, located
11   in Burnley and in Sheffield.”
12         224. Indeed, the Boohoo-NG Companies are run and controlled by a common,
13   overlapping group of individuals who hold the same or similar position(s) at each company.
14   The Boohoo-NG Companies run at the control and direction of Mahmud Kamani. M.
15   Kamani is an Executive Director and the Co-founder & Group Executive Chairman of the
16   Boohoo Group; he is also the Chief Executive Officer of Nasty Gal USA, with an address
17   of 2135 Bay Street, Los Angeles, California 90021,” the same address as Nasty Gal’s U.S.
18   headquarters. Similarly, Neil Catto, is an Executive Director and Chief Financial Officer
19   of Boohoo Group; he is also the Chief Financial Officer of Nasty Gal USA with the same
20   Los Angeles address as M. Kamani. M. Kamani and Catto also run Nasty Gal Limited as
21   Directors.
22         225. In addition to M. Kamani and Catto, Boohoo Group shares the following
23   individuals in an executive management role: Carol Kane (Co-Founder and Executive
24   Director of Boohoo Group and Director of Nasty Gal Limited), John Lyttle (CEO of
25   Boohoo Group and Director of Nasty Gal Limited), Keri Devine (Secretary of both
26` companies),
27         226. Moreover, in addition to M. Kamani and Catto, Allan Pollitt has an executive
28   management role in both Nasty Gal Limited (Director) and Nasty Gal USA (Company
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 1   Secretary).
 2            227. M. Kamani and Carol Kane are also substantial shareholders of Boohoo
 3   Group. On information and belief, they also have substantial ownership stakes in Nasty
 4   Gal Limited and Nasty Gal USA.
 5            228. As further proof of the absence of any meaningful separateness of Boohoo
 6   Group and Nasty Gal Limited, the companies share the same office address located at 49-
 7   51 Dale Street, Manchester, England M1 2HF.
 8            229. Boohoo Group also shares numerous administrative functions across all of its
 9   brands, including boohoo, PrettyLittleThing, and Nasty Gal. This includes, among other
10   things, financing, information technology, e-commerce, and procurement of non-stock
11   items.
12            230. The Boohoo-NG Companies’ U.S. headquarters is presently located at 2135
13   Bay Street, Los Angeles, CA 90021. Outside of these Los Angeles headquarters, there is
14   no other place within the United States where Nasty Gal Limited or Nasty Gal USA have
15   employees, offices, facilities, or any other physical presence.
16            231. Upon information and belief and at all times relevant to this Complaint: Nasty
17   Gal USA is closely involved with, and responsible in substantial part for, marketing on
18   http://nastygal.com. This is the same site from which, as detailed above, certain Plaintiffs
19   and members of the Class purchased items and which caused harm to them as a result of
20   the false advertising and marketing, deceptive pricing scheme, and other wrongdoing
21   described in this Complaint.
22            232. In addition, Nasty Gal USA collects all credit card payments of U.S. sales. In
23   other words, every time a credit card sale is made in the U.S. on https://nastygal.com, Nasty
24   Gal USA receives the money. This money from U.S. sales is later remitted to Nasty Gal
25   Limited and/or Boohoo Group with a markup, which further demonstrates that they are all
26` in reality one big company.
27            233. Nasty Gal USA maintains Boohoo Group and Nasty Gal Limited’s U.S.
28   headquarters and marketing office for the “Nasty Gal” brand in Los Angeles, California,
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 1   so that the Boohoo-NG Companies can maximize sales to U.S. residents. For example, in
 2   its annual report, Boohoo Group, which owns 100% of Nasty Gal USA through Nasty Gal
 3   Limited, describes Nasty Gal USA’s principal activity as “Marketing,” and identifies the
 4   address of Nasty Gal USA’s Los Angeles headquarters office. Nasty Gal Limited, which
 5   owns 100 percent of Nasty Gal USA, also describes Nasty Gal USA’s “Principal activity”
 6   as “Marketing.” Similarly, according to the most recent Statement of Information filed
 7   with the California Secretary of State for Nasty Gal USA, the company is engaged in the
 8   business of “Marketing services.”
 9         234. There are no physical “Nasty Gal” retail stores in the U.S. Nor is Plaintiff
10   aware of any “Nasty Gal” business other than the online sale of clothing, shoes, and
11   accessories. Therefore, the only “marketing” Nasty Gal USA is engaged in is with regards
12   to the sale of “Nasty Gal” clothing, shoes, and accessories to U.S. customers is on
13   http://nastygal.com—the same marketing that, as described above, constitutes false
14   advertising in violation of the law.
15         235. Based on the foregoing upon information and belief and at all times relevant
16   to this Complaint: In conjunction with Nasty Gal USA, Boohoo Group and Nasty Gal
17   Limited are involved in the operation and marketing aspects of http://nastygal.com, and in
18   directing the U.S. marketing activities of Nasty Gal USA in order to directly sell goods in
19   the U.S. and California markets.
20         236. Under the overarching direction of Boohoo Group, Nasty Gal Limited in the
21   UK and Nasty Gal USA in Los Angeles together coordinate the marketing and sales of
22   “Nasty Gal” products to U.S. and California residents.
23         237. Boohoo Group does not meaningfully distinguish between Nasty Gal Limited
24   and Nasty Gal USA. It instead describes it as one company or brand, “Nasty Gal,” which
25   in 2018, “moved into new office facilities in Los Angeles and in Manchester, adjacent to
26` the boohoo head office” and which “has its roots in Los Angeles . . .”
27         238. On Nasty Gal’s LinkedIn page, the company makes no distinction between
28   Nasty Gal USA and Nasty Gal Limited. Instead, the company is simply listed as “Nasty
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 1   Gal” with its location as “Los Angeles, CA.” On the About page, the company states:
 2   “While we're rooted in California, we live globally online. Our headquarters are based in
 3   Downtown LA and Manchester, UK.” On the same page, the company goes further to
 4   describe its unmistakable link to Los Angeles, stating it is “rooted in Los Angeles” with a
 5   “head office” in “Downtown LA.” The company underscores a fourth time on the same
 6   LinkedIn page that Nasty Gal is linked to Los Angeles, stating that its “Headquarters” are
 7   in “Los Angeles, CA.” In fact, below this, Nasty Gal includes an interactive map where
 8   visitors can see all of Nasty Gal’s “Locations,” of which, there are only two—Los Angeles
 9   and Manchester.
10         239. In various press releases and other communications intended for widespread
11   dissemination, Defendants tell the public that Nasty Gal “is based in Los Angeles.”
12         240. Boohoo.com PLC, which changed its name to Boohoo Group PLC in July
13   2018, acquired the Nasty Gal brand in 2017. Shortly after the completion of the acquisition,
14   Boohoo Group announced the company would continue to be based in Los Angeles.
15         241. Nasty Gal Limited admits it is not self-funded, but instead relies on Boohoo
16   Group, stating in its 2019 Annual Report: “[t]he company is financed by its parent
17   company which has indicted [sic] its willingness to continue to funds [sic] the company’s
18   operations.”
19         242. Similarly, in a section of the 2019 Annual Report describing its “Assessment
20   of prospects and viability,” Nasty Gal Limited admits that it “is funded by its parent
21   company, boohoo.com plc [Boohoo Group’s old name], which has substantial cash
22   resources and is fully supportive of the company.”
23         243.     Far from keeping a hands-off approach to operating the Nasty Gal business,
24   Boohoo Group acknowledged the additional control its management would need to exert
25   over the business by increasing its executive directors’ base salaries for the increased
26` workload to “reflect the substantial increase in the scale and complexity of the company
27   following of [sic] the acquisitions of Nasty Gal and PLT and the resulting increase in the
28   responsibilities of the executive directors.” The executive directors Boohoo Group was
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 1   referring to were Mahmud Kamani, Carol Kane, and Neil Catto—all of whom are directors
 2   of Nasty Gal Limited, with M. Kamani and Catto listed as the CEO and CFO, respectively,
 3   of Nasty Gal USA, Inc.
 4         244. The compensation of the Directors of Nasty Gal Limited are not paid by Nasty
 5   Gal Limited; rather, they are paid by Boohoo Group.
 6         245. Upon information and belief and at all times relevant to this Complaint:
 7   Boohoo Group, through, inter alia, M. Kamani, exercised substantial dominion and control
 8   over Nasty Gal Limited and Nasty Gal USA’s operations, disregarded the existence of these
 9   entities, failed to maintain an arm’s length relationship with these subsidiaries, used
10   substantial assets of these subsidiaries for its own benefit, caused the assets of these
11   subsidiaries to be transferred to itself without adequate consideration in a manner that left
12   the subsidiaries undercapitalized to pay judgments and other such obligations.
13         246. Upon information and belief and at all times relevant to this Complaint: each
14   of the Defendants herein was an agent, servant, employee, co-conspirator, partner, joint
15   venturer, wholly owned and controlled subsidiary and/or alter ego of each of the remaining
16   Defendants, and was at all times acting within the course and scope of said agency, service,
17   employment, conspiracy, partnership and/or joint venture.
18         247. Defendants, and each of them, aided and abetted, encouraged and rendered
19   substantial assistance in accomplishing the wrongful conduct and their wrongful goals and
20   other wrongdoing complained of herein. In taking action, as particularized herein, to aid
21   and abet and substantially assist the commission of these wrongful acts and other
22   wrongdoings complained of, each of the Defendants acted with an awareness of its primary
23   wrongdoing and realized that its conduct would substantially assist the accomplishment of
24   the wrongful conduct, wrongful goals, and wrongdoing.
25         248. Under the facts and circumstances of this case, Defendants, and each of them,
26` acted with such a unity of interest and/or ownership such that there was no individuality or
27   separateness between them.
28         249. Under the facts and circumstances of this case, adherence to the fiction of
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 1    separate existence of Boohoo Group, Nasty Gal Limited, and Nasty Gal USA would
 2    sanction a fraud and promote injustice in that it would allow the Boohoo-NG Companies
 3    to use their corporate layering scheme to continue selling goods in U.S. markets without
 4    following federal, state, or local laws, and to avoid payment of damages to U.S. residents
 5    for injuries caused by the Boohoo-NG Companies acting collectively as one big unit.
 6          250. Moreover, based on the foregoing allegations in paragraphs 179 to 249, it is
 7    clear that Boohoo USA, Boohoo Limited, Boohoo Group, PLT USA, PLT Limited, Nasty
 8    Gal USA, and Nasty Gal Limited operated as one big company to market and sell products
 9    throughout the U.S., including California. The Boohoo Group “subsidiaries” (e.g., Boohoo
10    USA and Boohoo Limited) operated like divisions or departments within the larger Boohoo
11    company. Therefore, adherence to the fiction of separate existence of Boohoo Group,
12    Boohoo USA, Boohoo Limited, PLT USA, PLT Limited, Nasty Gal USA, and Nasty Gal
13    Limited would sanction a fraud and promote injustice in that it would allow the Boohoo-
14    NG Companies to use their corporate layering scheme to continue selling goods in U.S.
15    markets without following federal, state, or local laws, and to avoid payment of damages
16    to U.S. residents for injuries caused by the Boohoo-NG Companies acting collectively as
17    one big unit
18          251. In sum, under the facts and circumstances of this case, Defendants, and each
19    of them, acted with such a unity of interest and/or ownership such that there was no
20    individuality or separateness between them. Defendants are indeed alter egos of one
21    another and any of their debts and obligations should be fully assigned to all of them.
22
      VII. CLAIMS FOR RELIEF
23
                                   FIRST CLAIM FOR RELIEF
24
       VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW (CAL. BUS. &
25
                                   PROF. CODE § 17200, et seq.)
26`
          (By All Plaintiffs Against All Defendants on Behalf of the Nationwide Class)
27
            252. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
28
      herein.
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 1          253. California Business and Professions Code section 17200 et seq., also known
 2    as the California Unfair Competition Law (“UCL”), prohibits acts of “unfair competition,”
 3    including any “unlawful, unfair or fraudulent business act or practice” as well as “unfair,
 4    deceptive, untrue or misleading advertising.”
 5          254. A cause of action may be brought under the “unlawful” prong of the UCL if
 6    a practice violates another law. Such an action borrows violations of other laws and treats
 7    these violations, when committed pursuant to business activity, as unlawful practices
 8    independently actionable under the UCL.
 9          255. Here, by engaging in false advertising, as well as the false, deceptive, and
10    misleading conduct alleged above, Defendants have engaged in unlawful business acts and
11    practices in violation of the UCL, including violations of state and federal laws and
12    regulations, such as 15 U.S.C. § 45(a)(1), 16 C.F.R. § 233.1, California Business &
13    Professions Code sections 17500 and 17501, and California Civil Code sections 1770(a)(9)
14    and 1770(a)(13).
15          256. The Federal Trade Commission Act (“FTCA”) prohibits “unfair or deceptive
16    acts or practices in or affecting commerce[.]” 15 U.S.C. § 45(a)(1). Under FTC regulations,
17    false former pricing schemes similar to the ones employed by Defendants, are deceptive
18    practices that would violate the FTCA:
19
                  (a) One of the most commonly used forms of bargain advertising is to offer
20                a reduction from the advertiser’s own former price for an article. If the former
                  price is the actual, bona fide price at which the article was offered to the public
21
                  on a regular basis for a reasonably substantial period of time, it provides a
22                legitimate basis for the advertising of a price comparison. Where the former
                  price is genuine, the bargain being advertised is a true one. If, on the other
23
                  hand, the former price being advertised is not bona fide but fictitious – for
24                example, where an artificial, inflated price was established for the purpose of
                  enabling the subsequent offer of a large reduction – the “bargain” being
25
                  advertised is a false one; the purchaser is not receiving the unusual value he
26`               expects.
27                (b) A former price is not necessarily fictitious merely because no sales at
28                the advertised price were made. The advertiser should be especially careful,
                  however, in such a case, that the price is one at which the product was openly
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 1                 and actively offered for sale, for a reasonably substantial period of time, in the
                   recent, regular course of her business, honestly and in good faith – and, of
 2                 course, not for the purpose of establishing a fictitious higher price on which a
 3                 deceptive comparison might be based.

 4                 (c) The following is an example of a price comparison based on a fictitious
                   former price. John Doe is a retailer of Brand X fountain pens, which cost him
 5
                   $5 each. His usual markup is 50 percent over cost; that is, his regular retail
 6                 price is $7.50. In order subsequently to offer an unusual “bargain,” Doe
                   begins offering Brand X at $10 per pen. He realizes that he will be able to sell
 7
                   no, or very few, pens at this inflated price. But he doesn’t care, for he
 8                 maintains that price for only a few days. Then he “cuts” the price to its usual
                   level—$7.50—and advertises: “Terrific Bargain: X Pens, Were $10, Now
 9
                   Only $7.50!” This is obviously a false claim. The advertised “bargain” is not
10                 genuine.
11                 (d) Other illustrations of fictitious price comparisons could be given. An
12                 advertiser might use a price at which he never offered the article at all; he
                   might feature a price which was not used in the regular course of business, or
13                 which was not used in the recent past but at some remote period in the past,
14                 without making disclosure of that fact; he might use a price that was not
                   openly offered to the public, or that was not maintained for a reasonable length
15                 of time, but was immediately reduced.
16          257. The FTCA also prohibits the pricing scheme employed by Defendants
17    regardless of whether the product advertisements and representations use the words
18    “regular,” “original,” or “former” price:
19
                   (e) If the former price is set forth in the advertisement, whether
20                 accompanied or not by descriptive terminology such as “Regularly,”
                   “Usually,” “Formerly,” etc., the advertiser should make certain that the former
21
                   price is not a fictitious one. If the former price, or the amount or percentage
22                 of reduction, is not stated in the advertisement, as when the ad merely states,
23
                   “Sale,” the advertiser must take care that the amount of reduction is not so
                   insignificant as to be meaningless. It should be sufficiently large that the
24                 consumer, if he knew what it was, would believe that a genuine bargain or
25
                   saving was being offered. An advertiser who claims that an item has been
                   “Reduced to $9.99,” when the former price was $10, is misleading the
26`                consumer, who will understand the claim to mean that a much greater, and not
27
                   merely nominal, reduction was being offered.

28
            258. Further, as detailed below in the Second Claim for Relief, Defendants’

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1    conduct as described herein also violates California false advertising laws. Specifically,
2    California Business & Professions Code section 17500 provides, in relevant part, that it is
3    unlawful for any corporation, with intent directly or indirectly to dispose of personal
4    property, to make or disseminate in any “manner or means whatever, including over the
5    Internet, any statement, concerning that . . . personal property . . . which is untrue or
6    misleading, and which is known, or which by the exercise of reasonable care should be
7    known, to be untrue or misleading[.]”
8          259. California law also expressly prohibits false former pricing schemes like the
9    one employed by Defendants. California Business & Professions Code section 17501,
10   entitled “Worth or value; statements as to former price,” states as follows:
11
                  For the purpose of this article the worth or value of any thing advertised is the
12                prevailing market price, wholesale if the offer is at wholesale, retail if the offer
                  is at retail, at the time of publication of such advertisement in the locality
13
                  wherein the advertisement is published.
14
                  No price shall be advertised as a former price of any advertised thing, unless
15                the alleged former price was the prevailing market price as above defined
16                within three months next immediately preceding the publication of the
                  advertisement or unless the date when the alleged former price did prevail is
17                clearly, exactly and conspicuously stated in the advertisement.
18         260. Moreover, as detailed below in the Third Claim for Relief, Defendants’
19   conduct also violates the California Consumer Legal Remedies Act (“CLRA”). See Cal.
20   Civ. Code §§ 1750, et seq. More specifically, Defendants violated the CLRA provisions
21   prohibiting businesses from “[a]dvertising goods or services with intent not to sell them as
22   advertised,” Cal. Civ. § 1770(a)(9), and “[m]aking false or misleading statements of fact
23   concerning reasons for, existence of, or amounts of price reductions[.]” Cal. Civ. Code
24   § 1770(a)(13).
25         261. A business act or practice is “unfair” under the UCL if it offends an
26` established public policy or is immoral, unethical, oppressive, unscrupulous or
27   substantially injurious to consumers, and that unfairness is determined by weighing the
28   reasons, justifications, and motives of the practice against the gravity of the harm to the
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 1    alleged victims.
 2          262. Here, Defendants’ actions constitute “unfair” business acts or practices
 3    because, as alleged above, Defendants engaged in a misleading and deceptive pricing
 4    scheme by advertising and representing false Reference Prices and thereby falsely
 5    advertising and representing markdowns or “discounts” that were false and inflated.
 6    Defendants’ deceptive marketing practice gave consumers the false impression that their
 7    products were regularly sold on the market for a substantially higher price in the recent
 8    past than they actually were and thus led to the false impression that Defendants’ products
 9    were worth more than they actually were. Defendants’ acts and practices thus offended an
10    established public policy, and they engaged in immoral, unethical, oppressive, and
11    unscrupulous activities that are substantially injurious to consumers.
12          263. The harm to Plaintiffs and members of the Class outweighs the utility of
13    Defendants’ practices. There were reasonably available alternatives to further Defendants’
14    legitimate business interests, other than the misleading and deceptive conduct described
15    herein.
16          264. A business act or practice is “fraudulent” within the meaning of the UCL if
17    members of the public are likely to be deceived.
18          265. Here, members of the public are likely to be deceived by Defendants’ conduct
19    as alleged above. Among other things, Defendants affirmatively misrepresented the
20    Reference Prices of their merchandise, which thereby misled and deceived customers into
21    believing that they were buying merchandise from Defendants at substantially marked-
22    down and discounted prices. Defendants’ deceptive marketing practice gave consumers
23    the false impression that their products were regularly sold on the market for a substantially
24    higher price in the recent past than they actually were and thus led to the false impression
25    that Defendants’ products were worth more than they actually were.
26`         266. In addition, Defendants had a duty to disclose the truth about their pricing
27    deception, including, among other things, that the Reference Prices advertised and
28    published on the U.S. Websites were not, in fact, prices at which boohoo, PrettyLittleThing,
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 1   and Nasty Gal items had sold for in the recent past for a reasonably substantial period of
 2   time, but that instead, in reality, Defendants’ products rarely (if ever) were offered at the
 3   advertised Reference Prices. Defendants also failed to disclose to Plaintiffs and the Class
 4   that the Reference Prices were not intended to be based on former prices. Defendants,
 5   however, concealed this material information from customers and the general public.
 6   Members of the public, therefore, were also likely to be deceived by Defendants’ failure to
 7   disclose material information.
 8         267. Plaintiffs and each member of the Class suffered an injury in fact and lost
 9   money or property as a result of Defendants’ unlawful, unfair, and/or fraudulent business
10   practices, and as a result of Defendants’ unfair, deceptive, untrue or misleading advertising.
11         268. Plaintiffs, on behalf of themselves and the members of the Class, seek
12   restitution and disgorgement of all moneys received by Defendants through the conduct
13   described above.
14         269. Plaintiffs, on behalf of themselves and the members of the Class, seek a
15   temporary, preliminary, and/or permanent injunction from this Court prohibiting
16   Defendants from engaging in the patterns and practices described herein, including but not
17   limited to, putting a stop to their deceptive advertisements and false Reference Prices in
18   connection with their sale of boohoo, PrettyLittleThing, and Nasty Gal products on the
19   U.S. Websites.
20         270. The Nationwide Class invokes the UCL on the grounds that Defendants do
21   business in California, Defendants have their principal offices in California for purposes of
22   their U.S. business activities, and a substantial part of marketing for the U.S. Websites
23   occurs in California. See In re Clorox Consumer Litig., 894 F. Supp. 2d 1224, 1237–38
24   (N.D. Cal. 2012).        By way of example, Defendants Boohoo.com USA Inc.,
25   PretttyLittleThing.com USA Inc., and NastyGal.com USA Inc. (collectively, the “U.S.
26` Entities”) all have their principal place of business in California. These offices are the U.S.
27   headquarters of not only the U.S. Entities, but also of Boohoo Group and the UK Limited
28   Entities. Boohoo Group considers these Los Angeles offices its own. By way of further
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1    example, the Class made all credit card payments (and possibly payments using all other
2    methods) for purchases made on the U.S. Websites to the U.S. Entities in California.
3    Plaintiffs have alleged sufficient facts in this Complaint to demonstrate that the Nationwide
4    Class may assert the UCL and other California consumer protection statutes against
5    Defendants in this action.
6                                 SECOND CLAIM FOR RELIEF
7      VIOLATION OF CALIFORNIA FALSE ADVERTISING LAW, CAL. BUS. &
8                                  PROF. CODE § 17500, et seq.
9        (By All Plaintiffs Against All Defendants on Behalf of the Nationwide Class)
10         271. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
11   herein.
12         272. The California False Advertising Law, codified at California Business &
13   Professions Code section 17500, et seq. (the “FAL”) provides, in relevant part, that it is
14   unlawful for any corporation, with intent directly or indirectly to dispose of personal
15   property, to make or disseminate in any “manner or means whatever, including over the
16   Internet, any statement, concerning that . . . personal property . . . which is untrue or
17   misleading, and which is known, or which by the exercise of reasonable care should be
18   known, to be untrue or misleading[.]” Cal. Bus. & Prof. Code § 17500. The “intent”
19   required by section 17500 is the intent to dispose of property, and not the intent to mislead
20   the public in the disposition of such property.
21         273. Similarly, another section of the FAL provides, in relevant part, that “no price
22   shall be advertised as a former price of any advertised thing, unless the alleged former price
23   was the prevailing market price . . . within three months next immediately preceding the
24   publication of the advertisement or unless the date when the alleged former price did
25   prevail is clearly, exactly, and conspicuously stated in the advertisement.” Cal. Bus. &
26` Prof. Code § 17501.
27         274. Here, Defendants routinely disseminated on their website false Reference
28   Prices for the products offered for sale on their website, including to Plaintiffs. Such
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 1   statements of Defendants were untrue, or at the very least, were misleading. Among other
 2   things, Defendants rarely, if ever, offered boohoo, PrettyLittleThing, or Nasty Gal products
 3   on the U.S. Websites at the Reference Prices displayed in connection with their products.
 4   Further, Defendants rarely, if ever, offered boohoo, PrettyLittleThing, or Nasty Gal
 5   products on the U.S. Websites at the Reference Prices within the three months immediately
 6   preceding the publication of the Reference Prices. Defendants thus misled customers,
 7   including Plaintiffs, into believing that the Reference Prices are or were genuine original,
 8   retail, or former prices and that the “sale” prices relative to the published Reference Prices,
 9   in fact, reflected real and substantial discounts. Defendants’ deceptive marketing practice
10   gave consumers the false impression that their products were regularly sold for a
11   substantially higher price in the recent past than they actually were and thus led to the false
12   impression that Defendants’ products were worth more than they actually were.
13         275. Defendants engaged in this deceptive conduct with the intent to dispose of
14   personal property—namely, with the intent to increase the sale of boohoo,
15   PrettyLittleThing, or Nasty Gal products offered by Defendants on the U.S. Websites.
16         276. Defendants knew, or by the exercise of reasonable care should have known,
17   that the Reference Prices for the boohoo, PrettyLittleThing, or Nasty Gal products sold on
18   the U.S. Websites they disseminated were untrue and/or misleading. Among other things,
19   Defendants represented the Reference Prices in connection with the boohoo,
20   PrettyLittleThing, or Nasty Gal products sold on the U.S. Websites even though they knew,
21   or in the exercise of reasonable care should have known, that such products had rarely, if
22   ever, sold at the crossed-out Reference Prices.
23         277. As a direct and proximate result of Defendants’ misleading and false
24   advertisements, Plaintiffs and members of the Class have suffered injury in fact and have
25   lost money. As such, Plaintiffs request that this Court order Defendants to restore this
26` money to Plaintiffs and all members of the Class, and to enjoin Defendants from continuing
27   their false and misleading advertising practices. Otherwise, Plaintiffs, members of the
28   Class, and the broader general public will be irreparably harmed and/or denied an effective
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 1   and complete remedy.
 2         278. The Nationwide Class invokes the FAL on the grounds that Defendants do
 3   business in California, Defendants have their principal offices in California for purposes of
 4   their U.S. business activities, and a substantial part of marketing for the U.S. Websites
 5   occurs in California. See In re Clorox Consumer Litig., 894 F. Supp. 2d 1224, 1237–38
 6   (N.D. Cal. 2012). By way of example, the U.S. Entities all have their principal place of
 7   business in California. These offices are the U.S. headquarters of not only the U.S. Entities,
 8   but also of Boohoo Group and the UK Limited Entities. Boohoo Group considers these
 9   Los Angeles offices its own. By way of further example, the Class made all credit card
10   payments (and possibly payments using all other methods) for purchases made on the U.S.
11   Websites to the U.S. Entities in California. Plaintiffs have alleged sufficient facts in this
12   Complaint to demonstrate that the Nationwide Class may assert the FAL and other
13   California consumer protection statutes against Defendants in this action.
14                                THIRD CLAIM FOR RELIEF
15    VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT,
16                                CAL. CIV. CODE § 1750, et seq.
17       (By All Plaintiffs Against All Defendants on Behalf of the Nationwide Class)
18         279. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
19   herein.
20         280. The Consumer Legal Remedies Act of 1970, Cal. Civ. Code sections 1750 et
21   seq. (the “CLRA”) is a California consumer protection statute which allows plaintiffs to
22   bring private civil actions for “unfair methods of competition and unfair or deceptive acts
23   or practices undertaken by any person in a transaction . . . which results in the sale or lease
24   of goods or services to any consumer.” Cal. Civ. Code § 1770(a). The purposes of the
25   CLRA are “to protect consumers against unfair and deceptive business practices and to
26` provide efficient and economical procedures to secure such protection.” Cal. Civ. Code
27   § 1760.
28         281. Plaintiffs and each member of the Class are “consumers” as defined by
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 1   California Civil Code section 1761(d).              Defendants’ sale of their boohoo,
 2   PrettyLittleThing, and Nasty Gal products on their website to Plaintiffs and the Class were
 3   “transactions” within the meaning of California Civil Code section 1761(e). The products
 4   purchased by Plaintiffs and the Class are “goods” within the meaning of California Civil
 5   Code section 1761(a).
 6         282. Defendants violated and continue to violate the CLRA by engaging in the
 7   following practices prohibited by California Civil Code section 1770(a) in transactions
 8   with Plaintiffs and the Class which were intended to result in, and did result in, the sale of
 9   Defendants’ branded products:
10                (a)    Advertising goods or services with intent not to sell them as advertised
11                       (Cal. Civ. Code § 1770(a)(9)); and
12                (b)    Making false or misleading statements of fact concerning reasons for,
13                       existence of, or amounts of price reductions (Cal. Civ. Code
14                       § 1770(a)(13)).
15         283. With regards to section 1770(a)(9), Defendants advertised and represented
16   their branded products on their website with the “intent not to sell” them as advertised
17   because, among other things, (a) the false Reference Prices advertised in connection with
18   products offered on the U.S. Websites misled and continue to mislead customers into
19   believing the merchandise was previously offered for sale and/or sold at the higher
20   Reference Prices for some reasonably substantial period of time, and (b) Defendants sell
21   their branded products only on their website and thus there is no other channel through
22   which the products have previously been offered for sale and/or sold at the false Reference
23   Prices.
24         284. With regards to section 1770(a)(13), Defendants made false or misleading
25   statements of fact concerning the “existence of” and the “amounts of price reductions”
26` because, among other things, (a) no true price reductions existed—or at the very least, any
27   amounts of price reductions were exaggerated—in that Defendants’ branded merchandise
28   was rarely, if ever, previously offered for sale and/or sold at the higher Reference Prices
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 1   for a reasonably substantial period of time, (b) Defendants sell their branded products only
 2   on the U.S. Websites and thus there is no other channel through which the products have
 3   previously been offered for sale and/or sold at the false Reference Price, and (c) the
 4   Reference Prices Defendants advertise in connection with their branded products
 5   necessarily cannot be former prices or prevailing market prices because Defendants sell
 6   their branded products only on the U.S. Websites and thus, the items were never sold
 7   elsewhere for any other prices besides the falsely discounted sale prices at which customers
 8   bought items from Defendants.
 9         285. Pursuant to California Civil Code section 1782(a), Plaintiffs’ counsel will
10   notify Defendants in writing by registered mail, return receipt requested, to the place where
11   the transaction occurred or to Defendants’ principal place of business within California, of
12   the particular violations of Civil Code section 1770 and demand that they rectify the
13   problems associated with the actions detailed above and give notice to all affected
14   consumers of Defendants’ intent to act. If Defendants fail to take necessary and appropriate
15   action to rectify their violations of the CLRA within thirty (30) days of Plaintiffs’ notice,
16   Plaintiffs will amend this Complaint to seek actual, punitive, and statutory damages as
17   appropriate against Defendants under the CLRA. At this time, Plaintiffs seek an injunction
18   for Defendants’ violation of the CLRA to enjoin Defendants’ methods, acts, and practices
19   of deceiving customers through their false and misleading pricing scheme as outlined
20   above.
21         286. The Nationwide Class invokes the CLRA on the grounds that Defendants do
22   business in California, Defendants have their principal offices in California for purposes of
23   their U.S. business activities, and a substantial part of marketing for the U.S. Websites
24   occurs in California. See In re Clorox Consumer Litig., 894 F. Supp. 2d 1224, 1237–38
25   (N.D. Cal. 2012). By way of example, the U.S. Entities all have their principal place of
26` business in California. These offices are the U.S. headquarters of not only the U.S. Entities,
27   but also of Boohoo Group and the UK Limited Entities. Boohoo Group considers these
28   Los Angeles offices its own. By way of further example, the Class made all credit card
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 1   payments (and possibly payments using all other methods) for purchases made on the U.S.
 2   Websites to the U.S. Entities in California. Plaintiffs have alleged sufficient facts in this
 3   Complaint to demonstrate that the Nationwide Class may assert the CLRA and other
 4   California consumer protection statutes against Defendants in this action.
 5                               FOURTH CLAIM FOR RELIEF
 6                   FRAUD (INTENTIONAL MISREPRESENTATIONS)
 7    (By All Plaintiffs Against All Defendants on Behalf of the Nationwide Class, or in
 8   the Alternative, By Plaintiffs Habberfield, Kalu, and Runnells on behalf of the New
 9   York Subclass, Plaintiffs Cachadina, Huebner, and Valiente on behalf of the Florida
10   Subclass, Plaintiff Walton on behalf of the Maryland Subclass, Plaintiff Murphy on
11       behalf of the Massachusetts Subclass, Plaintiff Hill on behalf of the Michigan
12               Subclass, and Plaintiff Stewart on behalf of the Ohio Subclass)
13         287. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
14   herein.
15         288. Defendants uniformly represented to all members of the Class during the
16   Class Periods in connection with their boohoo, PrettyLittleThing, and Nasty Gal branded
17   clothing, accessories, and other items on the U.S. Websites that each item had a Reference
18   Price. They made this uniform representation by displaying on the product description
19   page for each branded item and/or on the thumbnail displays of each product when
20   presented as a list, a Reference Price substantially higher than the offered selling price,
21   which was marked down or discounted from the Reference Price by a specified percentage
22   discount.
23         289. Defendants’ Reference Price representations are false. Among other things,
24   Defendants’ representations conveyed false information about the items Plaintiffs and the
25   Class purchased, namely that the items they purchased had sold in the recent past for a
26` reasonably substantial period of time at the higher Reference Price displayed on the U.S.
27   Websites and/or in the prevailing market. The truth is that Defendants rarely, if ever,
28   previously offered for sale and/or sold their branded products at the higher Reference Price
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 1   for any reasonably substantial period of time. Moreover, the Reference Prices Defendants
 2   represented in connection with their branded products necessarily cannot be prevailing
 3   market prices because Defendants sell their branded products only on their websites and
 4   thus, the items were never sold elsewhere for any other price besides the falsely discounted
 5   sale price at which customers bought items from Defendants.
 6         290. Defendants knew that their representations were false when they made them,
 7   or at the very least, they made the representations recklessly and without regard for their
 8   truth. In other words, Defendants knew that the items Plaintiffs and the Class purchased
 9   had rarely, if ever, sold at the substantially higher Reference Price displayed on the U.S.
10   Websites in the recent past and/or in the prevailing market.
11         291. Defendants’ representations were made with the intent that Plaintiffs and the
12   Class rely on the false representations and spend money they otherwise would not have
13   spent, purchase items they otherwise would not have purchased, and/or spend more money
14   for an item than they otherwise would have absent the deceptive marketing scheme.
15   Defendants engaged in this fraud to the Plaintiffs and the Class’s detriment in order to
16   increase Defendants’ own sales and profits.
17         292. Plaintiffs and the Class reasonably relied on Defendants’ representations.
18   Absent Defendants’ misrepresentations, Plaintiffs and the Class would not have purchased
19   the items they purchased from Defendants, or, at the very least, they would not have paid
20   as much for the items as they ultimately did. Plaintiffs and the Class’s reliance was a
21   substantial factor in causing them harm.
22         293. As a direct and proximate result of the above, Plaintiffs and the Class have
23   suffered damages in an amount to be proven at trial.
24         294. Defendants undertook the aforesaid illegal acts intentionally or with conscious
25   disregard of the rights of Plaintiffs and the Class, and did so with fraud, malice, and/or
26` oppression. Based on the allegations above, Defendants’ actions constituted fraud because
27   Defendants intended to and did deceive and injure Plaintiffs and the Class. Based on the
28   allegations above, Defendants’ actions constituted malice because Defendants acted with
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 1   the intent to and did cause injury to Plaintiffs and the Class, and also because Defendants’
 2   deceptive conduct was despicable and was done with a willful and knowing disregard of
 3   the rights of Plaintiffs and the Class. Based on the allegations above, Defendants’ actions
 4   constituted oppression because Defendants’ deceptive conduct was despicable and
 5   subjected Plaintiffs and the Class to cruel and unjust hardship in knowing disregard of their
 6   rights.
 7             295. Plaintiffs assert this common law fraud claim on behalf of the Nationwide
 8   Class. In the alternative, Plaintiffs Habberfield, Kalu, and Runnells assert this common
 9   law fraud claim on behalf of the New York Subclass under New York law, Plaintiffs
10   Cachadina, Huebner, and Valiente assert this common law fraud claim on behalf of the
11   Florida Subclass under Florida law, Plaintiff Walton asserts this common law fraud claim
12   on behalf of the Maryland Subclass under Maryland law, Plaintiff Murphy asserts this
13   common law fraud claim on behalf of the Massachusetts Subclass under Massachusetts
14   law, Plaintiff Hill asserts this common law fraud claim on behalf of the Michigan Subclass
15   under Michigan law, and Plaintiff Stewart asserts this common law fraud claim on behalf
16   of the Ohio Subclass under Ohio law.
17                                   FIFTH CLAIM FOR RELIEF
18                                FRAUDULENT CONCEALMENT
19     (By All Plaintiffs Against All Defendants on Behalf of the Nationwide Class, or in
20   the Alternative, By Plaintiffs Habberfield, Kalu, and Runnells on behalf of the New
21   York Subclass, Plaintiffs Cachadina, Huebner, and Valiente on behalf of the Florida
22   Subclass, Plaintiff Walton on behalf of the Maryland Subclass, Plaintiff Murphy on
23       behalf of the Massachusetts Subclass, Plaintiff Hill on behalf of the Michigan
24                  Subclass, and Plaintiff Stewart on behalf of the Ohio Subclass)
25             296. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
26` herein.
27             297. Defendants uniformly disclosed some facts to Plaintiffs and all members of
28   the Class during the Class Periods in connection with their boohoo, PrettyLittleThing, and
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 1   Nasty Gal branded clothing, accessories, and other items on the U.S. Websites. Namely,
 2   Defendants disclosed a Reference Price for each item by displaying on the product
 3   description page for each item, as well as the on the thumbnail displays of each product
 4   when presented as a list, a Reference Price substantially higher than the offered selling
 5   price, which is marked down or discounted from the Reference Price by a specified
 6   percentage discount.
 7         298. Defendants, however, intentionally failed to disclose other facts, making
 8   Defendants’ disclosure deceptive. Specifically, Defendants failed to disclose that
 9   Defendants rarely, if ever, previously offered for sale and/or sold their branded products at
10   the higher Reference Price for any reasonably substantial period of time. Moreover,
11   Defendants failed to disclose that the Reference Prices necessarily cannot be prevailing
12   market prices because Defendants sell their branded products only on the U.S. Websites
13   and thus, the items were never sold elsewhere for any other price besides the falsely
14   discounted sale price at which customers bought items from Defendants. Defendants also
15   failed to disclose to Plaintiffs and the Class that the Reference Prices were not intended to
16   be based on former prices. As a result, Defendants deceived Plaintiffs and the Class into
17   believing that they were purchasing items at a substantial markdown or discount when, in
18   reality, the false Reference Price and discounting practice artificially inflated the true
19   market value of the items they purchased.
20         299. As a separate basis for concealment, Defendants uniformly and intentionally
21   concealed from Plaintiff and all members of the Class that the items they purchased from
22   Defendants had rarely, if ever, been sold by Defendants in the recent past at the
23   substantially higher Reference Price displayed on Defendants’ website and/or in the
24   prevailing market. Defendants also uniformly and intentionally concealed from Plaintiffs
25   and all members of the Class that the Reference Prices were not intended to be based on
26` former prices. These were facts known only to Defendants that Plaintiffs and the Class
27   could not have discovered.
28         300. Plaintiffs and the Class did not know of the concealed facts.
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 1            301. Defendants intended to deceive Plaintiffs and the Class by concealing the facts
 2   described above.
 3            302. Had the omitted information been disclosed, Plaintiffs reasonably would have
 4   behaved differently. Among other things, Plaintiffs would not have purchased the items
 5   he purchased from Defendants, or, at the very least, they would not have paid as much for
 6   the items as they ultimately did.
 7            303. The omitted information was material and thus, reliance is presumed on a
 8   classwide basis. The omitted information related to the price of the items sold on the U.S.
 9   Websites and whether Plaintiffs were receiving a true and genuine substantial discount or
10   whether, instead, Plaintiffs were being deceived into buying products through a pricing
11   scheme utilizing fake, artificially inflated original, retail, or former prices. A reasonable
12   person would plainly attach importance to matters affecting pricing in determining his or
13   her purchasing decision.
14            304. As a direct and proximate result of the above, Plaintiffs and the Class have
15   been harmed and suffered damages in an amount to be proven at trial.
16            305. Defendants undertook the aforesaid illegal acts intentionally or with conscious
17   disregard of the rights of Plaintiffs and the Class, and did so with fraud, malice, and/or
18   oppression. Based on the allegations above, Defendants’ actions constituted fraud because
19   Defendants intended to and did deceive and injure Plaintiffs and the Class. Based on the
20   allegations above, Defendants’ actions constituted malice because Defendants acted with
21   the intent to and did cause injury to Plaintiffs and the Class, and also because Defendants’
22   deceptive conduct was despicable and was done with a willful and knowing disregard of
23   the rights of Plaintiffs and the Class. Based on the allegations above, Defendants’ actions
24   constituted oppression because Defendants’ deceptive conduct was despicable and
25   subjected Plaintiffs and the Class to cruel and unjust hardship in knowing disregard of their
26` rights.
27            306. Plaintiffs assert this common law fraudulent concealment claim on behalf of
28   the Nationwide Class. In the alternative, Plaintiffs Habberfield, Kalu, and Runnells assert
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 1   this common law fraudulent concealment claim on behalf of the New York Subclass under
 2   New York law, Plaintiffs Cachadina, Huebner, and Valiente assert this common law
 3   fraudulent concealment claim on behalf of the Florida Subclass under Florida law, Plaintiff
 4   Walton asserts this common law fraudulent concealment claim on behalf of the Maryland
 5   Subclass under Maryland law, Plaintiff Murphy asserts this common law fraudulent
 6   concealment claim on behalf of the Massachusetts Subclass under Massachusetts law,
 7   Plaintiff Hill asserts this common law fraudulent concealment claim on behalf of the
 8   Michigan Subclass under Michigan law, and Plaintiff Stewart asserts this common law
 9   fraudulent concealment claim on behalf of the Ohio Subclass under Ohio law.
10                                SIXTH CLAIM FOR RELIEF
11                      RESTITUTION FOR UNJUST ENRICHMENT
12    (By All Plaintiffs Against All Defendants on Behalf of the Nationwide Class, or in
13   the Alternative, By Plaintiffs Habberfield, Kalu, and Runnells on behalf of the New
14   York Subclass, Plaintiffs Cachadina, Huebner, and Valiente on behalf of the Florida
15   Subclass, Plaintiff Walton on behalf of the Maryland Subclass, Plaintiff Murphy on
16       behalf of the Massachusetts Subclass, Plaintiff Hill on behalf of the Michigan
17               Subclass, and Plaintiff Stewart on behalf of the Ohio Subclass)
18         307. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
19   herein.
20         308. Plaintiffs brings this restitution claim for relief based on Defendants’ unjust
21   enrichment.
22         309. Defendants actively engaged in, participated in, agreed to, aided and abetted,
23   conspired in, and/or furthered a scheme by which they were unjustly enriched to the
24   detriment of Plaintiffs and the Class.
25         310. By their wrongful acts and omissions, Defendants, and each of them, were
26` unjustly enriched at the expense of and to the detriment of Plaintiff and the Class and/or
27   while Plaintiff and the Class were unjustly deprived. That is, Defendants’ unlawful and
28   deceptive pricing scheme induced Plaintiffs and the Class to spend money they otherwise
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 1    would not have spent, purchase items they otherwise would not have purchased, and/or
 2    spend more money for a product than they otherwise would have absent the deceptive
 3    advertising.
 4          311. On behalf of the Class, Plaintiffs seek restitution from Defendants, and each
 5    of them, and seeks an order of this Court disgorging all payments, commissions, profits,
 6    benefits, and other compensation obtained by Defendants, and each of them, from their
 7    wrongful conduct.
 8          312. Plaintiffs assert this common law unjust enrichment claim on behalf of the
 9    Nationwide Class. In the alternative, Plaintiffs Habberfield, Kalu, and Runnells assert this
10    common law unjust enrichment claim on behalf of the New York Subclass under New York
11    law, Plaintiffs Cachadina, Huebner, and Valiente assert this common law unjust enrichment
12    claim on behalf of the Florida Subclass under Florida law, Plaintiff Walton asserts this
13    common law unjust enrichment claim on behalf of the Maryland Subclass under Maryland
14    law, Plaintiff Murphy asserts this common law unjust enrichment claim on behalf of the
15    Massachusetts Subclass under Massachusetts law, Plaintiff Hill asserts this common law
16    unjust enrichment claim on behalf of the Michigan Subclass under Michigan law, and
17    Plaintiff Stewart asserts this common law unjust enrichment claim on behalf of the Ohio
18    Subclass under Ohio law.
19                               SEVENTH CLAIM FOR RELIEF
20     VIOLATION OF NEW YORK STATE CONSUMER PROTECTION STATUTE,
21                             N.Y. GEN. BUS. LAW §§ 349 and 350
22    (By Plaintiffs Habberfield, Kalu, and Runnells Against All Defendants on Behalf of
23                                    the New York Subclass)
24          313. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
25    herein.
26`         314. The elements of a claim for deceptive practices under New York General
27    Business Law sections 349 and 350 are (1) that the act, practice or advertisement was
28    consumer-oriented; (2) that the act, practice or advertisement was misleading in a material
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 1   respect, and (3) that the plaintiff was injured as a result of the deceptive practice, act or
 2   advertisement.
 3         315. Defendants are online sellers of clothing, shoes, accessories to consumers on
 4   the U.S. Websites. They engaged in a misleading and deceptive pricing scheme by
 5   advertising and representing false Reference Prices and thereby falsely advertising and
 6   representing markdowns or “discounts” that were false and inflated, as alleged in detail in
 7   this Complaint.      Therefore, Defendants’ acts, practices, and advertisements were
 8   consumer-oriented.
 9         316. Defendants’ acts, practices, and advertisements were misleading in material
10   respects. As noted, Defendants engaged in a misleading and deceptive pricing scheme by
11   advertising and representing false Reference Prices and thereby falsely advertising and
12   representing markdowns or “discounts” that were false and inflated. Plaintiffs Habberfield,
13   Kalu, and Runnells each saw and relied on the false Reference Prices and false discounts,
14   as alleged above. Defendants’ deceptive marketing practices gave consumers, including
15   Plaintiffs Habberfield, Kalu, and Runnells, the false impression that their products were
16   regularly sold on the market for a substantially higher price in the recent past than they
17   actually were and thus led to the false impression that Defendants’ products were worth
18   more than they actually were.
19         317. In addition, Defendants had a duty to disclose the truth about their pricing
20   deception, including, among other things, that the Reference Prices advertised and
21   published on the U.S. Websites were not, in fact, prices at which boohoo, PrettyLittleThing,
22   and Nasty Gal items had sold for in the recent past for a reasonably substantial period of
23   time, but that instead, in reality, Defendants’ products rarely (if ever) were offered at the
24   advertised Reference Prices. Defendants also failed to disclose to Plaintiffs Habberfield,
25   Kalu, and Runnells and the New York Subclass that the Reference Prices were not intended
26` to be based on former prices. Defendants, however, concealed this material information
27   from customers and the general public, including Plaintiffs Habberfield, Kalu, and
28   Runnells.
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1          318. Plaintiffs Habberfield, Kalu, and Runnells and each member of the New York
2    Subclass suffered an injury in fact and lost money as a result of Defendants’ violations of
3    New York General Business Law sections 349 and 350. They therefore seek restitution
4    and/or damages obtained directly or indirectly by Defendants for their unlawful acts or
5    practices in an amount to be proven at trial.
6          319. Plaintiffs Habberfield, Kalu, and Runnells, on behalf of themselves and the
7    members of the New York Subclass, seek a temporary, preliminary, and/or permanent
8    injunction from this Court prohibiting Defendants from engaging in the patterns and
9    practices described herein, including but not limited to, putting a stop to their deceptive
10   advertisements and false Reference Prices in connection with their sale of boohoo,
11   PrettyLittleThing, and Nasty Gal products on the U.S. Websites.
12                               EIGHTH CLAIM FOR RELIEF
13      VIOLATION OF FLORIDA DECEPTIVE & UNFAIR TRADE PRACTICES
14                             ACT, FLA. STAT. §§ 501.201, et seq.
15    (By Plaintiffs Cachadina, Huebner, and Valiente Against All Defendants on Behalf
16                                    of the Florida Subclass)
17         320. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
18   herein.
19         321. The elements of a valid claim for violation of the Florida Deceptive and Unfair
20   Trade Practices Act (FDUTPA) claim (1) a deceptive act or unfair practice, (2) causation,
21   and (3) actual damages. A deceptive practice under the FDUTPA is one that is likely to
22   mislead consumers. A party asserting a deceptive trade practice claim need not show actual
23   reliance on the representation or omission at issue.
24         322. Defendants engaged in a deceptive act or unfair practice as alleged throughout
25   this Complaint. As noted, Defendants engaged in a misleading and deceptive pricing
26` scheme by advertising and representing false Reference Prices and thereby falsely
27   advertising and representing markdowns or “discounts” that were false and inflated.
28   Defendants’ deceptive marketing practices gave consumers, including Plaintiffs
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 1   Cachadina, Huebner, and Valiente, the false impression that their products were regularly
 2   sold on the market for a substantially higher price in the recent past than they actually were
 3   and thus led to the false impression that Defendants’ products were worth more than they
 4   actually were.
 5         323. In addition, Defendants had a duty to disclose the truth about their pricing
 6   deception, including, among other things, that the Reference Prices advertised and
 7   published on the U.S. Websites were not, in fact, prices at which boohoo, PrettyLittleThing,
 8   and Nasty Gal items had sold for in the recent past for a reasonably substantial period of
 9   time, but that instead, in reality, Defendants’ products rarely (if ever) were offered at the
10   advertised Reference Prices. Defendants also failed to disclose to Plaintiffs Cachadina,
11   Huebner, and Valiente and the Florida Subclass that the Reference Prices were not intended
12   to be based on former prices. Defendants, however, concealed this material information
13   from customers and the general public, including Plaintiffs Cachadina, Huebner, and
14   Valiente. These omissions were also deceptive acts and unfair practices.
15         324. Defendants’ deceptive acts and unfair practices caused Plaintiffs Cachadina,
16   Huebner, and Valiente, and members of the Florida Subclass, to suffer harm by falsely and
17   artificially inflating the value of the merchandise on the U.S. Websites and misleading them
18   to believe they are buying products at a substantial discount. As a result, Plaintiffs
19   Cachadina, Huebner, and Valiente, and members of the Florida Subclass bought products
20   from Defendants they never would have bought, or at the very least, paid more for products
21   than they otherwise would have if Defendants did not engage in deceptive acts and unfair
22   practices.
23         325. Plaintiffs Cachadina, Huebner, and Valiente, and each member of the Florida
24   Subclass, suffered an injury in fact and actual damages as a result of Defendants’ violations
25   of the FDUTPA. They therefore seek damages they incurred as a result of Defendants’
26` deceptive acts and unfair practices in an amount to be proven at trial. Plaintiffs Cachadina,
27   Huebner, and Valiente, and each member of the Florida Subclass, also seek an award of
28   reasonable attorneys’ fees under the FDUTPA. Fla. Stat. § 501.2105.
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 1         326. Plaintiffs Cachadina, Huebner, and Valiente, on behalf of themselves and the
 2   members of the Florida Subclass, seek a temporary, preliminary, and/or permanent
 3   injunction from this Court prohibiting Defendants from engaging in the patterns and
 4   practices described herein, including but not limited to, putting a stop to their deceptive
 5   advertisements and false Reference Prices in connection with their sale of boohoo,
 6   PrettyLittleThing, and Nasty Gal products on the U.S. Websites.
 7                                NINTH CLAIM FOR RELIEF
 8    VIOLATION OF MARYLAND CONSUMER PROTECTION ACT, MD. CODE
 9                                 COM. LAW §§ 13-101, et seq.
10    (By Plaintiff Walton Against All Defendants on Behalf of the Maryland Subclass)
11         327. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
12   herein.
13         328. The Maryland Consumer Protection Act (MCPA) prohibits unfair, abusive, or
14   deceptive trade practices, including “any [f]alse or misleading oral or written statement . .
15   . which has the capacity, tendency or effect of deceiving or misleading consumers” and
16   “any . . . [f]ailure to state a material fact if the failure deceives or tends to deceive.” Md.
17   Com. Law § 13-301. The elements of a claim under the MCPA are that the defendant’s
18   conduct was (1) an unfair or deceptive practice or misrepresentation that was (2) relied
19   upon, and (3) caused the plaintiff actual injury.
20         329. As alleged throughout this Complaint, Defendants engaged in an unfair or
21   deceptive practice, and made false representations and omissions of material fact. As
22   noted, Defendants engaged in a misleading and deceptive pricing scheme by advertising
23   and representing false Reference Prices and thereby falsely advertising and representing
24   markdowns or “discounts” that were false and inflated. Plaintiff Walton saw and relied on
25   the false Reference Prices and false discounts, as alleged above. Defendants’ deceptive
26` marketing practices gave consumers, including Plaintiff Walton, the false impression that
27   their products were regularly sold on the market for a substantially higher price in the recent
28   past than they actually were and thus led to the false impression that Defendants’ products
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1    were worth more than they actually were.
2          330. In addition, Defendants had a duty to disclose the truth about their pricing
3    deception, including, among other things, that the Reference Prices advertised and
4    published on the U.S. Websites were not, in fact, prices at which boohoo, PrettyLittleThing,
5    and Nasty Gal items had sold for in the recent past for a reasonably substantial period of
6    time, but that instead, in reality, Defendants’ products rarely (if ever) were offered at the
7    advertised Reference Prices. Defendants also failed to disclose to Plaintiff Walton and the
8    Maryland Subclass that the Reference Prices were not intended to be based on former
9    prices. Defendants, however, concealed this material information from customers and the
10   general public, including Plaintiff Walton. These omissions were also deceptive and unfair
11   trade practices.
12         331. Defendants’ deceptive acts and unfair practices caused Plaintiff Walton and
13   members of the Maryland Subclass to suffer harm by falsely and artificially inflating the
14   value of the merchandise on the U.S. Websites and misleading them to believe they are
15   buying products at a substantial discount. As a result, Plaintiff Walton and members of the
16   Maryland Subclass bought products from Defendants they never would have bought, or at
17   the very least, paid more for products than they otherwise would have if Defendants did
18   not engage in deceptive and unfair trade practices.
19         332. Plaintiff Walton and each member of the Maryland Subclass suffered an
20   injury in fact and actual damages as a result of Defendants’ violations of the MCPA. They
21   therefore seek damages they incurred as a result of Defendants’ deceptive acts and unfair
22   practices in an amount to be proven at trial. Plaintiff Walton and each member of the
23   Maryland Subclass also seek an award of reasonable attorneys’ fees under the MCPA. Md.
24   Code Com. § 13-408(b).
25         333. Plaintiff Walton, on behalf of herself and the members of the Maryland
26` Subclass, seek a temporary, preliminary, and/or permanent injunction from this Court
27   prohibiting Defendants from engaging in the patterns and practices described herein,
28   including but not limited to, putting a stop to their deceptive advertisements and false
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 1   Reference Prices in connection with their sale of boohoo, PrettyLittleThing, and Nasty Gal
 2   products on the U.S. Websites.
 3                               TENTH CLAIM FOR RELIEF
 4      VIOLATION OF MASSACHUSETTS STATE CONSUMER PROTECTION
 5                      LAW, MASS. GEN. LAWS CH. 93A, §§ 1, et seq.
 6       (By Plaintiff Murphy Against All Defendants on Behalf of the Massachusetts
 7                                           Subclass)
 8         334. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
 9   herein.
10         335. Chapter 93A of the Massachusetts General Laws prohibits “[u]nfair methods
11   of competition and unfair or deceptive acts or practices in the conduct of any trade or
12   commerce.” Mass. Gen. Laws Ann. Ch. 93A § 2(a). Under Massachusetts law, conduct is
13   unfair or deceptive if it is within at least the penumbra of some common-law, statutory, or
14   other established concept of unfairness or immoral, unethical, oppressive, or unscrupulous.
15   The claim requires a showing that a person who is engaged in trade or business committed
16   an unfair or deceptive trade practice, and that the plaintiff suffered a loss of money or
17   property as a result.
18         336. As alleged throughout this Complaint, Defendants engaged in unfair or
19   deceptive practices, and made false representations and omissions of material fact. As
20   noted, Defendants engaged in a misleading and deceptive pricing scheme by advertising
21   and representing false Reference Prices and thereby falsely advertising and representing
22   markdowns or “discounts” that were false and inflated. Defendants’ deceptive marketing
23   practices gave consumers, including Plaintiff Murphy, the false impression that their
24   products were regularly sold on the market for a substantially higher price in the recent
25   past than they actually were and thus led to the false impression that Defendants’ products
26` were worth more than they actually were.
27         337. In addition, Defendants had a duty to disclose the truth about their pricing
28   deception, including, among other things, that the Reference Prices advertised and
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1    published on the U.S. Websites were not, in fact, prices at which boohoo, PrettyLittleThing,
2    and Nasty Gal items had sold for in the recent past for a reasonably substantial period of
3    time, but that instead, in reality, Defendants’ products rarely (if ever) were offered at the
4    advertised Reference Prices. Defendants also failed to disclose to Plaintiff Murphy and the
5    Massachusetts Subclass that the Reference Prices were not intended to be based on former
6    prices. Defendants, however, concealed this material information from customers and the
7    general public, including Plaintiff Murphy. These omissions were also deceptive and
8    unfair trade practices.
9          338. Defendants’ deceptive acts and unfair practices caused Plaintiff Murphy and
10   members of the Massachusetts Subclass to suffer harm by falsely and artificially inflating
11   the value of the merchandise on the U.S. Websites and misleading them to believe they are
12   buying products at a substantial discount. As a result, Plaintiff Murphy and members of
13   the Massachusetts Subclass bought products from Defendants they never would have
14   bought, or at the very least, paid more for products than they otherwise would have if
15   Defendants did not engage in deceptive and unfair trade practices.
16         339. Plaintiff Murphy and each member of the Massachusetts Subclass suffered an
17   injury in fact and actual damages as a result of Defendants’ violations of Chapter 93A of
18   the Massachusetts General Laws. They therefore seek damages they incurred as a result of
19   Defendants’ deceptive acts and unfair practices in an amount to be proven at trial. Plaintiff
20   Murphy and each member of the Massachusetts Subclass further seek treble damages, or
21   at a minimum, double damages, for Defendants’ willful or knowing violation of Chapter
22   93A of the Massachusetts General Laws. Plaintiff Murphy and each member of the
23   Massachusetts Subclass also seek an award of reasonable attorneys’ fees. Mass. Gen. Laws
24   ch. 93A, § 9(4).
25         340. Plaintiff Murphy, on behalf of herself and the members of the Massachusetts
26` Subclass, seek a temporary, preliminary, and/or permanent injunction from this Court
27   prohibiting Defendants from engaging in the patterns and practices described herein,
28   including but not limited to, putting a stop to their deceptive advertisements and false
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 1   Reference Prices in connection with their sale of boohoo, PrettyLittleThing, and Nasty Gal
 2   products on the U.S. Websites.
 3          341. On information and belief, Plaintiffs allege that Defendants do not have a
 4   place of business or assets within the State of Massachusetts. A pre-suit demand letter
 5   under section 9(3) of Chapter 93A off the Massachusetts General Laws was therefore not
 6   required prior to the filing of this action.
 7                              ELEVENTH CLAIM FOR RELIEF
 8   VIOLATION OF MICHIGAN CONSUMER PROTECTION ACT, MICH. COMP.
 9                                     LAWS §§ 445.901, et seq.
10   (By Plaintiff Nicole Hill Against All Defendants on Behalf of the Michigan Subclass)
11          342. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
12   herein.
13          343. The Michigan Consumer Protection Act (Michigan CPA) identifies a lengthy
14   list of actionable unfair, unconscionable, or deceptive methods, acts, or practices in the
15   conduct of trade or commerce which may form the basis of an actionable claim for violation
16   of the Michigan CPA. The provisions of the Michigan CPA are virtually identical to those
17   in the CLRA. For the same reasons alleged in Plaintiffs’ third claim for relief for violation
18   of the CLRA, Plaintiff Hill and the Michigan Subclass have alleged a valid claim against
19   Defendants for violation of the Michigan CPA.
20          344. Plaintiff Hill and each member of the Michigan Subclass suffered an injury in
21   fact and actual damages as a result of Defendants’ violations of the Michigan CPA. They
22   therefore seek damages they incurred as a result of Defendants’ deceptive acts and unfair
23   practices in an amount to be proven at trial.
24          345. Plaintiff Hill, on behalf of herself and the members of the Michigan Subclass,
25   seek a temporary, preliminary, and/or permanent injunction from this Court prohibiting
26` Defendants from engaging in the patterns and practices described herein, including but not
27   limited to, putting a stop to their deceptive advertisements and false Reference Prices in
28   connection with their sale of boohoo, PrettyLittleThing, and Nasty Gal products on the
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 1   U.S. Websites.
 2                              TWELFTH CLAIM FOR RELIEF
 3     VIOLATION OF OHIO CONSUMER SALES PRACTICES ACT, OHIO REV.
 4                                    CODE §§ 1345.01, et seq.
 5   (By Plaintiff Nicole Stewart Against All Defendants on Behalf of the Ohio Subclass)
 6         346. Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth
 7   herein.
 8         347. The Ohio Consumer Sales Practices Act (OCSPA) provides a private right of
 9   action to consumers for “unfair or deceptive act[s] or practice[s] in connection with a
10   consumer transaction.” Ohio Rev. Code Ann. §§ 1345.02(A), 1345.09(A). Under the
11   OCSPA, a claim is valid where the defendant performed an act or omission that was unfair
12   or deceptive, and the alleged act impacted the plaintiff’s decision to purchase the item at
13   issue. An OCSPA claim premised on affirmative conduct generally requires that the
14   plaintiff allege she saw or was aware of the alleged misrepresentations at any time before
15   or during the purchase of the product at issue. Omissions are actionable under the OCSPA
16   if they concern a matter that is or is likely to be material to a consumer’s decision to
17   purchase the product or service involved.
18         348. As alleged throughout this Complaint, Defendants engaged in an unfair or
19   deceptive practice, and made false representations and omissions of material fact. As
20   noted, Defendants engaged in a misleading and deceptive pricing scheme by advertising
21   and representing false Reference Prices and thereby falsely advertising and representing
22   markdowns or “discounts” that were false and inflated. Plaintiff Stewart saw and relied on
23   the false Reference Prices and false discounts, as alleged above. Defendants’ deceptive
24   marketing practices gave consumers, including Plaintiff Stewart, the false impression that
25   their products were regularly sold on the market for a substantially higher price in the recent
26` past than they actually were and thus led to the false impression that Defendants’ products
27   were worth more than they actually were.
28         349. In addition, Defendants had a duty to disclose the truth about their pricing
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 1   deception, including, among other things, that the Reference Prices advertised and
 2   published on the U.S. Websites were not, in fact, prices at which boohoo, PrettyLittleThing,
 3   and Nasty Gal items had sold for in the recent past for a reasonably substantial period of
 4   time, but that instead, in reality, Defendants’ products rarely (if ever) were offered at the
 5   advertised Reference Prices. Defendants also failed to disclose to Plaintiff Stewart and the
 6   Ohio Subclass that the Reference Prices were not intended to be based on former prices.
 7   Defendants, however, concealed this material information from customers and the general
 8   public, including Plaintiff Stewart. These omissions were also deceptive and unfair trade
 9   practices.
10         350. The omitted information was material because it related to the price of the
11   items sold on the U.S. Websites and whether Plaintiffs were receiving a true and genuine
12   substantial discount or whether, instead, Plaintiffs were being deceived into buying
13   products through a pricing scheme utilizing fake, artificially inflated original, retail, or
14   former prices. A reasonable person would plainly attach importance to matters affecting
15   pricing in determining his or her purchasing decision.
16         351. Defendants’ deceptive acts and unfair practices impacted the decisions of
17   Plaintiff Stewart and members of the Ohio Subclass to purchase the falsely inflated
18   merchandise from Defendants. More specifically, Defendants’ falsely and artificially
19   inflated the value of the merchandise on the U.S. Websites by advertising false Reference
20   Prices and misleading Plaintiff Stewart and the Ohio Subclass to believe they are buying
21   products at a substantial discount. As a result, Plaintiff Stewart and members of the Ohio
22   Subclass bought products from Defendants they never would have bought, or at the very
23   least, paid more for products than they otherwise would have if Defendants did not engage
24   in deceptive and unfair trade practices.
25         352. Also relevant to the OCSPA, Defendants were on notice that their conduct as
26` alleged herein was deceptive or unconscionable by virtue of Rule 109:4-3-12 of the Ohio
27   Administrative Code, which states, in part, that “[i]t is deceptive for a supplier in its out-
28   of-store advertising to make any price comparison by the use of such terms as . . . ‘. . . . . .
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1    . . per cent off,’ ‘reduced from . . . . . . . . to . . . . . . . .,’ [or] ‘save $. . . . . . . .,’ unless: (a)
2    The comparison is to the supplier’s regular price; or (b) If the reference price is the regular
3    price of a previous season, the season and year are clearly and conspicuously disclosed; or
4    (c) There is language in the advertisement which clearly and conspicuously discloses that
5    the comparison is to another price and which discloses the nature of the reference price.”
6    Ohio Adm. Code 109:4–3–12(E)(1).
7           353. Plaintiff Stewart and each member of the Ohio Subclass suffered an injury in
8    fact and actual damages as a result of Defendants’ violations of the OCSPA. They therefore
9    seek damages they incurred as a result of Defendants’ deceptive acts and unfair practices
10   in an amount to be proven at trial. Plaintiff Stewart and each member of the Ohio Subclass
11   also seek an award of reasonable attorneys’ fees because Defendants knowingly committed
12   an act or practice that violates the OCSPA. Ohio Rev. Code Ann. § 1345.09(F).
13          354. Plaintiff Stewart, on behalf of herself and the members of the Ohio Subclass,
14   seek a temporary, preliminary, and/or permanent injunction from this Court prohibiting
15   Defendants from engaging in the patterns and practices described herein, including but not
16   limited to, putting a stop to their deceptive advertisements and false Reference Prices in
17   connection with their sale of boohoo, PrettyLittleThing, and Nasty Gal products on the
18   U.S. Websites.
19   VIII. PRAYER FOR RELIEF
20          WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them,
21   as follows:
22     ON THE FIRST CLAIM FOR RELIEF FOR VIOLATIONS OF THE UNFAIR
23            COMPETITION LAW (CAL. BUS. & PROF. CODE §§ 17200 et seq.)
24          1.      For an order certifying that the action be maintained as a class action under
25   Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
26` Plaintiffs be designated the class representatives, and that undersigned counsel be
27   designated as class counsel.
28          2.      For an injunction putting a stop to the deceptive and misleading conduct
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 1    described herein and ordering Defendants to correct their deceptive and misleading
 2    advertising and pricing practices.
 3          3.     For an award of restitution and disgorgement of moneys paid that Defendants
 4    obtained as a result of their unlawful, unfair, and fraudulent business practices, and as a
 5    result of their unfair, deceptive, untrue, and misleading advertising, all as described above,
 6    in an amount to be proven at trial.
 7          4.     For an award of equitable and declaratory relief.
 8          5.     For pre and post judgment interest and costs of suit incurred herein.
 9          6.     For attorneys’ fees incurred herein pursuant to California Code of Civil
10    Procedure section 1021.5, or to the extent otherwise permitted by law.
11          7.     For such other and further relief as the Court may deem just and proper.
12     ON THE SECOND CLAIM FOR RELIEF FOR VIOLATIONS OF THE FALSE
13            ADVERTISING LAW (CAL. BUS. & PROF. CODE §§ 17500 et seq.)
14          1.     For an order certifying that the action be maintained as a class action under
15    Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
16    Plaintiffs be designated the class representatives, and that undersigned counsel be
17    designated as class counsel.
18          2.     For an injunction putting a stop to the deceptive and misleading conduct
19    described herein and ordering Defendants to correct their deceptive and misleading
20    advertising and pricing practices.
21          3.     For an award of restitution and disgorgement of moneys paid that Defendants
22    obtained as a result of their unfair, deceptive, untrue, and misleading advertising, all as
23    described above, in an amount to be proven at trial.
24          4.     For an award of equitable and declaratory relief.
25          5.     For pre and post judgment interest and costs of suit incurred herein.
26`         6.     For attorneys’ fees incurred herein pursuant to California Code of Civil
27    Procedure section 1021.5, or to the extent otherwise permitted by law.
28          7.     For such other and further relief as the Court may deem just and proper.
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 1          ON THE THIRD CLAIM FOR RELIEF FOR VIOLATIONS OF THE
 2       CONSUMER LEGAL REMEDIES ACT (CAL. CIV. CODE §§ 1750 et seq.)
 3         1.     For an order certifying that the action be maintained as a class action under
 4   Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
 5   Plaintiffs be designated the class representatives, and that undersigned counsel be
 6   designated as class counsel.
 7         2.     For an injunction putting a stop to the deceptive and misleading conduct
 8   described herein and ordering Defendants to correct their deceptive and misleading
 9   advertising and pricing practices.
10         3.     For leave to amend the operative complaint pursuant to California Civil Code
11   section 1782(d) and/or any other basis the Court deems just and proper.
12         4.     For pre and post judgment interest and costs of suit incurred herein.
13         5.     For attorneys’ fees incurred herein pursuant to California Civil Code section
14   1780, or to the extent otherwise permitted by law.
15         6.     For such other and further relief as the Court may deem just and proper.
16       ON THE FOURTH CLAIM FOR RELIEF FOR FRAUD (AFFIRMATIVE
17                                  MISREPRESENTATIONS)
18         1.     For an order certifying that the action be maintained as a class action under
19   Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
20   Plaintiffs be designated the class representatives on behalf of the Nationwide Class, on in
21   the alternative, that Plaintiffs Habberfield, Kalu, and Runnells be designated the class
22   representatives on behalf of the New York Subclass, that Plaintiffs Cachadina, Huebner,
23   and Valiente be designated the class representatives on behalf of the Florida Subclass, that
24   Plaintiff Walton be designated the class representative on behalf of the Maryland Subclass,
25   that Plaintiff Murphy be designated the class representative on behalf of the Massachusetts
26` Subclass, that Plaintiff Hill be designated the class representative on behalf of the Michigan
27   Subclass, that Plaintiff Stewart be designated the class representative on behalf of the Ohio
28   Subclass, and that undersigned counsel be designated as class counsel.
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 1          2.     For compensatory damages in an amount to be proven at trial.
 2          3.     For punitive damages in an amount sufficient to punish Defendants and to
 3    deter them from engaging in wrongful conduct in the future.
 4          4.     For pre and post judgment interest and costs of suit incurred herein.
 5          5.     For attorneys’ fees incurred herein pursuant to California Code of Civil
 6    Procedure section 1021.5, or to the extent otherwise permitted by law.
 7          6.     For such other and further relief as the Court may deem just and proper.
 8     ON THE FIFTH CLAIM FOR RELIEF FOR FRAUDULENT CONCEALMENT
 9          1.     For an order certifying that the action be maintained as a class action under
10    Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
11    Plaintiffs be designated the class representatives on behalf of the Nationwide Class, on in
12    the alternative, that Plaintiffs Habberfield, Kalu, and Runnells be designated the class
13    representatives on behalf of the New York Subclass, that Plaintiffs Cachadina, Huebner,
14    and Valiente be designated the class representatives on behalf of the Florida Subclass, that
15    Plaintiff Walton be designated the class representative on behalf of the Maryland Subclass,
16    that Plaintiff Murphy be designated the class representative on behalf of the Massachusetts
17    Subclass, that Plaintiff Hill be designated the class representative on behalf of the Michigan
18    Subclass, that Plaintiff Stewart be designated the class representative on behalf of the Ohio
19    Subclass, and that undersigned counsel be designated as class counsel.
20          2.     For compensatory damages in an amount to be proven at trial.
21          3.     For punitive damages in an amount sufficient to punish Defendants and to
22    deter them from engaging in wrongful conduct in the future.
23          4.     For pre and post judgment interest and costs of suit incurred herein.
24          5.     For attorneys’ fees incurred herein pursuant to California Code of Civil
25    Procedure section 1021.5, or to the extent otherwise permitted by law.
26`         6.     For such other and further relief as the Court may deem just and proper.
27
28

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 1         ON THE SIXTH CLAIM FOR RELIEF FOR UNJUST ENRICHMENT
 2         1.     For an order certifying that the action be maintained as a class action under
 3   Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
 4   Plaintiffs be designated the class representatives on behalf of the Nationwide Class, on in
 5   the alternative, that Plaintiffs Habberfield, Kalu, and Runnells be designated the class
 6   representatives on behalf of the New York Subclass, that Plaintiffs Cachadina, Huebner,
 7   and Valiente be designated the class representatives on behalf of the Florida Subclass, that
 8   Plaintiff Walton be designated the class representative on behalf of the Maryland Subclass,
 9   that Plaintiff Murphy be designated the class representative on behalf of the Massachusetts
10   Subclass, that Plaintiff Hill be designated the class representative on behalf of the Michigan
11   Subclass, that Plaintiff Stewart be designated the class representative on behalf of the Ohio
12   Subclass, and that undersigned counsel be designated as class counsel.
13         2.     For an award of restitution and disgorgement of moneys paid that Defendants
14   obtained as a result of their deceptive pricing and advertising, all as described above, in an
15   amount to be proven at trial.
16         3.     For pre and post judgment interest and costs of suit incurred herein.
17         4.     For attorneys’ fees incurred herein pursuant to California Code of Civil
18   Procedure section 1021.5, or to the extent otherwise permitted by law.
19         5.     For such other and further relief as the Court may deem just and proper.
20    ON THE SEVENTH CLAIM FOR RELIEF FOR VIOLATION OF NEW YORK
21    STATE CONSUMER PROTECTION STATUTE (N.Y. GEN. BUS. LAW §§ 349
22                                            AND 350)
23         1.     For an order certifying that the action be maintained as a class action under
24   Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
25   Plaintiffs Habberfield, Kalu, and Runnells be designated the class representatives on behalf
26` of the New York Subclass, and that undersigned counsel be designated as class counsel.
27         2.     For an injunction putting a stop to the deceptive and misleading conduct
28   described herein and ordering Defendants to correct their deceptive and misleading
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 1    advertising and pricing practices.
 2          3.     For an award of damages and/or restitution of moneys paid that Defendants
 3    obtained directly or indirectly for their unlawful acts or practices, all as described above,
 4    in an amount to be proven at trial.
 5          4.     For pre and post judgment interest and costs of suit incurred herein.
 6          5.     For such other and further relief as the Court may deem just and proper.
 7       ON THE EIGHTH CLAIM FOR RELIEF FOR VIOLATION OF FLORIDA
 8    DECEPTIVE AND UNFAIR TRADE PRACTICES ACT (FLA. STAT. §§ 501.201,
 9                                              et seq.)
10          1.     For an order certifying that the action be maintained as a class action under
11    Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
12    Plaintiffs Cachadina, Valiente, and Huebner be designated the class representatives on
13    behalf of the Florida Subclass, and that undersigned counsel be designated as class counsel.
14          2.     For an injunction putting a stop to the deceptive and misleading conduct
15    described herein and ordering Defendants to correct their deceptive and misleading
16    advertising and pricing practices.
17          3.     For an award of damages incurred as a result of Defendants’ deceptive acts
18    and unfair practices in an amount to be proven at trial.
19          4.     For an award of attorneys’ fees incurred in connection with this action
20    pursuant to section 501.2105 of the Florida Statutes, or to the extent otherwise permitted
21    by law.
22          5.     For pre and post judgment interest and costs of suit incurred herein.
23          6.     For such other and further relief as the Court may deem just and proper.
24              ON THE NINTH CLAIM FOR RELIEF FOR VIOLATION OF THE
25    MARYLAND CONSUMER PROTECTION ACT (MD. CODE COM. LAW §§ 13-
26`                                           101, et seq.)
27          1.     For an order certifying that the action be maintained as a class action under
28    Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
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 1   Plaintiff Walton be designated the class representative on behalf of the Maryland Subclass,
 2   and that undersigned counsel be designated as class counsel.
 3         2.     For an injunction putting a stop to the deceptive and misleading conduct
 4   described herein and ordering Defendants to correct their deceptive and misleading
 5   advertising and pricing practices.
 6         3.     For an award of damages incurred as a result of Defendants’ deceptive acts
 7   and unfair practices in an amount to be proven at trial.
 8         4.     For an award of attorneys’ fees incurred in connection with this action
 9   pursuant to section 13-408(b) of the Maryland Code of Commercial Law, or to the extent
10   otherwise permitted by law.
11         5.     For pre and post judgment interest and costs of suit incurred herein.
12         6.     For such other and further relief as the Court may deem just and proper.
13          ON THE TENTH CLAIM FOR RELIEF FOR VIOLATION OF THE
14    MASSACHUSETTS STATE CONSUMER PROTECTION LAW (MASS. GEN.
15                                 LAWS CH. 93A, §§ 1, et seq.)
16         1.     For an order certifying that the action be maintained as a class action under
17   Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
18   Plaintiff Murphy be designated the class representative on behalf of the Massachusetts
19   Subclass, and that undersigned counsel be designated as class counsel.
20         2.     For an injunction putting a stop to the deceptive and misleading conduct
21   described herein and ordering Defendants to correct their deceptive and misleading
22   advertising and pricing practices.
23         3.     For an award of damages incurred as a result of Defendants’ deceptive acts
24   and unfair practices in an amount to be proven at trial.
25         4.     For an award of attorneys’ fees incurred in connection with this action
26` pursuant to Chapter 93A of the Massachusetts General Laws, or to the extent otherwise
27   permitted by law.
28         5.     For an award of treble damages, or at a minimum, double damages, for
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 1   Defendants’ willful or knowing violation of Chapter 93A of the Massachusetts General
 2   Laws.
 3           6.   For pre and post judgment interest and costs of suit incurred herein.
 4           7.   For such other and further relief as the Court may deem just and proper.
 5        ON THE ELEVENTH CLAIM FOR RELIEF FOR VIOLATION OF THE
 6       MICHIGAN CONSUMER PROTECTION ACT (MICH. COMP. LAWS §§
 7                                        445.901, et seq.)
 8           1.   For an order certifying that the action be maintained as a class action under
 9   Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
10   Plaintiff Hill be designated the class representative on behalf of the Michigan Subclass,
11   and that undersigned counsel be designated as class counsel.
12           2.   For an injunction putting a stop to the deceptive and misleading conduct
13   described herein and ordering Defendants to correct their deceptive and misleading
14   advertising and pricing practices.
15           3.   For an award of damages incurred as a result of Defendants’ deceptive acts
16   and unfair practices in an amount to be proven at trial.
17           4.   For pre and post judgment interest and costs of suit incurred herein.
18           5.   For such other and further relief as the Court may deem just and proper.
19     ON THE TWELTH CLAIM FOR RELIEF FOR VIOLATION OF THE OHIO
20    CONSUMER SALES PRACTICES ACT (OHIO REV. CODE §§ 1345.01, et seq.)
21           1.   For an order certifying that the action be maintained as a class action under
22   Rule 23(b)(2), 23(b)(3), and/or Rule 23(c)(4) of the Federal Rules of Civil Procedure, that
23   Plaintiff Stewart be designated the class representative on behalf of the Ohio Subclass, and
24   that undersigned counsel be designated as class counsel.
25           2.   For an injunction putting a stop to the deceptive and misleading conduct
26` described herein and ordering Defendants to correct their deceptive and misleading
27   advertising and pricing practices.
28           3.   For an award of damages incurred as a result of Defendants’ deceptive acts
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 1    and unfair practices in an amount to be proven at trial.
 2           4.     For an award of attorneys’ fees incurred in connection with this action
 3    pursuant to Ohio Revised Code section 1345.09(F), or to the extent otherwise permitted by
 4    law.
 5           5.     For pre and post judgment interest and costs of suit incurred herein.
 6           6.     For such other and further relief as the Court may deem just and proper.
 7
 8                                             JURY DEMAND
 9           Plaintiffs, on behalf of themselves and all others similarly situated, hereby demand
10    a trial by jury on all triable issues.
11
12    Dated: June 7, 2022                       ALMADANI LAW
13
                                                By:         /s/ Yasin M. Almadani
14                                                    Yasin M. Almadani, Esq.
15
                                                AI LAW, PLC
16
17                                              By:       /s/ Ahmed Ibrahim
                                                      Ahmed Ibrahim, Esq.
18

19                                                    Attorneys for Plaintiffs, Individually and
                                                      On Behalf of All Others Similarly Situated
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                                          CLASS ACTION COMPLAINT
